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                              CAUSE NO. DC-21-12258

NAOMI WISENER                            §            IN THE DISTRICT COURT
                                         §
         Plaintiff,                      §
                                         §
vs.                                      §             14TH JUDICIAL DISTRICT
                                         §
AMWAY CORP.; ET AL.                      §
                                         §
         Defendants.                     §            DALLAS COUNTY, TEXAS




                  EXHIBIT B
           STATE COURT DOCUMENTS

                              Pleadings 1
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            Case Information

            DC-21-12258 | NAOMI WISENER, et al vs. AMWAY CORP., et al

            Case Number                             Court                                 Judicial Officer
            DC-21-12258                             14th District Court                   MOYE', ERIC
            File Date                               Case Type                             Case Status
            09/01/2021                              OTHER (CIVIL)                         OPEN




            Party

            PLAINTIFF                                                                     Active Attorneys 
            WISENER, NAOMI                                                                Lead Attorney
            Address                                                                       PETERSON, HOLLY C
            SIMON GREENSTONE PANATIER, PC                                                 Retained
            1201 ELM STREET, SUITE 3400
            DALLAS TX 75270
                                                                                          Inactive Attorneys 
                                                                                          Attorney
                                                                                          MONTEMAYOR, JENNIFER
                                                                                          Retained

                                                                                          Work Phone
                                                                                          214-276-7680

                                                                                          Fax Phone
                                                                                          214-276-7699




            PLAINTIFF                                                                     Active Attorneys 
            WISENER, NAOMI                                                                Lead Attorney
            Address                                                                       PETERSON, HOLLY C
                                                                                          Retained
            1201 Elm Street, Suite 3400
            Dallas TX 75270




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                                                            Details  in TXSD Page 3 of 138
            DEFENDANT                                                                     Active Attorneys 
            AMWAY CORP.                                                                   Lead Attorney
            Address                                                                       HICKS, JAKE
                                                                                          Retained
            SERVING ITS REGISTERED AGENT, CT CORPORATION SYSTEM
            1999 BRYAN STREET, SUITE 900
            DALLAS TX 75201-3140




            DEFENDANT                                                                     Active Attorneys 
            CHARLES B. CHRYSTAL COMPANY, INC.                                             Lead Attorney
                                                                                          BARRON, BARBARA JANE
                                                                                          Retained




            DEFENDANT                                                                     Active Attorneys 
            BROOKSHIRE GROCERY COMPANY                                                    Lead Attorney
                                                                                          SPEER, AARON M.
            Address
            SERVING ITS REGISTERED AGENT, ROSEMARY JONES                                  Retained
            1600 W. SOUTHWEST LOOP 323
            TYLER TX 75701-8532




            DEFENDANT
            BRENNTAG NORTH AMERICA, INC.




            DEFENDANT
            BLOCK DRUG CORPORATION




            DEFENDANT
            BAYER CONSUMER CARE HOLDINGS LLC

              Aliases
              FKA BAYER CONSUMER CARE LLC
              FKA MSD CONSUMER CARE, INC. ) FOR ITS DR SCHOLL'S LINE
              OF PRODUCTS




            DEFENDANT
            BRENNTAG SPECIALTIES LLC

             Aliases
             FKA BRENNTAG SPECIALTIES, INC
             FKA MINERAL PIGMENT SOLUTIONS, INC,
            Address
https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation                          2/36
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            SERVING ITS REGISTERED AGEMT, CT CORPORATION SYSTEM
            1999 BRYAN STREET, SUITE 900
            DALLAS TX 75201-3140




            DEFENDANT
            BLOCK DRUG COMPANY, INC.

            Address
            SERVING ITS REGISTERED AGENT, PRENTICE-HALL CORPORATION
            SYSTEM
            211 E. 7TH STREET, SUITE 620
            AUSTIN TX 78701




            DEFENDANT
            BAYER HEALTHCARE LLC

            Address
            SERVING ITS REGISTERED AGENT, CORPORATION SERVICE
            COMPANY
            211 E. 7TH STREET, SUITE 620
            AUSTIN TX 78701




            DEFENDANT                                                                     Active Attorneys 
            BARRETTS MINERALS INC.                                                        Lead Attorney
            Address                                                                       FRAZIER, MARY E.
            SERVING ITS REGISTERED AGENT, CT CORPORATION SYSTEM                           Retained
            1999 BRYAN STREET, SUITE 900
            DALLAS TX 75201-3140




            DEFENDANT
            AVON PRODUCTS, INC.

            Address
            SERVING ITS REGISTERED AGENT, CT CORPORATION SYSTEM
            1999 BRYAN STREET, SUITE 900
            DALLAS TX 75201-3104




            DEFENDANT
            HIMMEL MANAGEMENT CO. LLC

              Aliases
              AKA HIMMEL GROUP
              MARTING HIMMEL, INC.
              DBA MARTIN HIMMEL, INC.




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            DEFENDANT                                                                     Active Attorneys 
            AVENTIS INC.                                                                  Lead Attorney
            Address                                                                       ELLISTON, GARY D
            SERVING ITS REGISTERED AGENT, COPRPORATION SERVICE                            Retained
            COMPANY
            2595 INSTERSTATE DRIVE, SUITE 103
            HARRISBURG PA 17110




            DEFENDANT                                                                     Active Attorneys 
            ARKEMA, INC.                                                                  Lead Attorney
              Aliases                                                                     HENDRYX, MICHAEL
                                                                                          Retained
              FKA PENNWALT CORPORATION
              FKA NORHT AMERICA,INC.
            Address
            SERVING ITS REGISTERED AGENT, LAWYERS INCORPORATING
            SERIVEC
            211 E. 7TH STREET, SUITE 620
            DALLAS TX 78701




            DEFENDANT
            L'OREAL USA, INC.

            Address
            SERVING ITS REGISTERED AGENT, PRENTICE-HALL COPORATION
            SYSTEM
            251 LITTLE FALLS DRIVE
            WILMINGTON DE 19808




            DEFENDANT
            H-E-B, LP

            Address
            SERVING ITS REIGISTERED AGENT, ABEL MARTINEZ
            646 S. FLORES STREET
            SAN ANTONIO TX 78204-1219




            DEFENDANT
            GSK CONSUMER HEALTH, INC.

             Aliases
             FKA NOVARTIS CONSUMER HEALTH, INC.
             FKA CIBA SELF-MEDICATION, INC., FOR ITS DESENEX LINE OF
             PRODUCTS
            Address
            SERVING ITS REGISTERED AGENT, CORPORATION SERVICE
            COMPANY
            251 LITTLE FALLS DRIVE

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation                        4/36
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            WILMINGTON DE 19808




            DEFENDANT
            GLAXOSMITHKLINE LLC

            Address
            SERVING ITS REGISTERED AGENT, CORPORATION SERVICE
            COMPANY
            211 E. 7TH STREET, SUITE 620
            AUSTIN TX 78701




            DEFENDANT                                                                     Active Attorneys 
            FISONS CORPORATION                                                            Lead Attorney
            Address                                                                       ELLISTON, GARY D
            SERVING ITS REGISTERED AGENT, CORPORATE CREATIONS                             Retained
            NETWORK INC.
            5444 WESTHEIMER ROAD, SUITE 1000
            HOUSTON TX 77056-5318




            DEFENDANT
            ELIZABETH ARDEN, INC.

            Address
            SERVING ITS REGISTERED AGENT, CORPORATE CREATIONS
            NETWORK INC.
            5444 WESTHEIMER ROAD, SUITE 1000
            HOUSTON TX 77056-5318




            DEFENDANT
            DR. SCHOLL'S LLC

            Address
            SERVING ITS REGISTERED AGENT, CORPORATION SERVICE
            COMPANY
            251 LITTLE FALLS DRIVE
            WILMINGTON DE 19808




            DEFENDANT
            CROWN LABORATORIES, INC.

            Address
            SERVING ITS REGISTERED AGENT, CORPORATION SERVICES
            COMPANY
            251 LITTLE FALLS DRIVE
            WILMINGTON TX 19808


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            DEFENDANT
            COTY, INC.

            Address
            SERVING ITS REGISTERED AGENT, CORPORATION SERVICE
            COMPANY
            251 LITTLE FALLS DRIVE
            WILMINGTON DE 19808




            DEFENDANT
            COSMETIC SPECIALTIES, INC.

            Address
            SERVING ITS REGISTERED AGENT, RONALD W. GREXA
            125 WHITE HORSE PIKE
            HADDON HEIGHTS NJ 08035




            DEFENDANT
            CONOPCO, INC.

             Aliases
             AKA UNILEVER HOME & PERSONAL CARE USA
            Address
            SERVING ITS REGISTERED AGENT, CT CORPORATION SYSTEM
            1999 BRYAN STREET, SUITE 900
            DALLAS TX 75201-3140




            DEFENDANT                                                                     Active Attorneys 
            COLGATE-PALMOLIVE COMPANY                                                     Lead Attorney
            Address                                                                       DANIEL, AUSTIN COLYER
                                                                                          Retained
            SERVING ITS REGISTERED AGENT, CT CORPORATION SYSTEM
            1999 BRYAN STREET, SUITE 900
            DALLAS TX 75201-3140




            DEFENDANT                                                                     Active Attorneys 
            CHATTEM, INC.                                                                 Lead Attorney
                                                                                          ELLISTON, GARY D
            Address
                                                                                          Retained
            SERVING ITS REGISTERED AGENT, CORPORATION SERVICE
            COMPANY
            211 E. 7TH STREE, SUITE 620
            AUSTIN TX 78701




            DEFENDANT
            REVLON CONSUMER PRODUCTS CORPORATION

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            DEFENDANT                                                                     Active Attorneys 
            PUIG USA, INC.,                                                               Lead Attorney
                                                                                          SAROKHANIAN, NICHOLAS A
                                                                                          Retained




            DEFENDANT
            PTI UNION, LLC

              Aliases
              AKA PHARMA TECH INDUSTIES




            DEFENDANT
            THE PROCTER & GAMBLE COMPANY




            DEFENDANT
            NOXELL CORPORATION




            DEFENDANT
            NOVARTIS CORPORATION




            DEFENDANT                                                                     Active Attorneys 
            NINA RICCI USA, INC.                                                          Lead Attorney
                                                                                          SAROKHANIAN, NICHOLAS A
                                                                                          Retained




            DEFENDANT
            SCHOLL'S WELLNESS COMPANY LLC




            DEFENDANT                                                                     Active Attorneys 
            SANOFI US SERVICES, INC.                                                      Lead Attorney
                                                                                          ELLISTON, GARY D

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            DEFENDANT
            MAYBELLINE LLC




            DEFENDANT
            WHITTAKER CLARK & DANIELS, INC.




            DEFENDANT
            UNILEVER UNITED STATES, INC.




            DEFENDANT                                                                     Active Attorneys 
            SPECIALTY MINERALS INC.                                                       Lead Attorney
            Address                                                                       FRAZIER, MARY E.
            SERING ITS REGISTERED AGENT, CT CORPORATION SYSTEM                            Retained
            1999 BRYAN STREET, SUITE 900
            DALLAS TX 75201-3140




            DEFENDANT                                                                     Active Attorneys 
            SANOFI-AVENTIS U.S. LLC                                                       Lead Attorney
                                                                                          ELLISTON, GARY D
            Address
                                                                                          Retained
            SERVING ITS REGISTERED AGENT, LAWYERS INCORPORATING
            SERVICE
            211 E. 7TH STREET, SUITE 620
            AUSTIN TX 78701




            DEFENDANT                                                                     Active Attorneys 
            PFIZER INC.                                                                   Lead Attorney
                                                                                          FRAZIER, MARY E.
            Address
                                                                                          Retained
            SERVING ITS REGISTERED AGENT, CT CORPORATION SYSTEM
            1999 BRYAN STREET, SUITE 900
            DALLAS TX 75201-3140




            DEFENDANT                                                                     Active Attorneys 
            MERCK & CO., INC.                                                             Lead Attorney

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            Address                                                                       EDWARDS, BRADY
            SERVING ITS REGISTERED AGENT, CT CORPORATION SYSTEM                           Retained
            1999 BRYAN STREET, SUITE 900
            DALLAS TX 75201-3140




            DEFENDANT
            AVENTIS INC., for its Desenex line of products




            DEFENDANT                                                                     Active Attorneys 
            H-E-B, LP                                                                     Lead Attorney
                                                                                          OLVERA, RUBEN
                                                                                          Retained




            Events and Hearings


               09/01/2021 NEW CASE FILED (OCA) - CIVIL


               09/01/2021 CASE FILING COVER SHEET 


               CIVIL CASE COVER SHEET


               09/01/2021 ORIGINAL PETITION 


               PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND


               09/01/2021 REQUEST FOR SERVICE 


               REQUEST LETTER


               09/01/2021 ISSUE CITATION 


               ISSUE CITATION-AMWAY CORP

               ISSUE CITATION- ARKEMA INC.

               ISSUE CITATION-AVON PRODUCTS INC.


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                                                             Details in TXSD Page 11 of 138
               ISSUE CITATION-BARRETTS MINERALS INC.

               ISSUE CITATION-BAYER HEALTHCARE LLC

               ISSUE CITATION-BLOCK DRUG COMPANY INC.

               ISSUE CITATION-BRENNTAG SPECIALTIES LLC

               ISSUE CITATION-BROOKSHIRE GROCERY COMPANY

               ISSUE CITATION-CHATTEM INC.

               ISSUE CITATION-COLGATE-PALMOLIVE COMPANY

               ISSUE CITATION-CONOPCO INC.

               ISSUE CITATION-ELIZABETH ARDEN, INC.

               ISSUE CITATION-GLAXOSMITHKLINE LLC

               ISSUE CITATION-H-E-B., LP

               ISSUE CITATION-MERCK & CO., INC.

               ISSUE CITATION-PFIZER INC,

               ISSUE CITATION-SANOFI-AVENTIS U.S., LLC

               ISSUE CITATION-SPECIALITY MINERALS INC.


               09/01/2021 JURY DEMAND


               09/01/2021 ISSUE CITATION COMM OF INS OR SOS 


               ISSUE CITATION COMM OF INS OR SOS-BAYER CONSUMER CARE HOLDINGS LLC

               ISSUE CITATION COMM OF INS OR SOS-GSK CONSUMER HEALTH, INC.

               ISSUE CITATION COMM OF INS OR SOS- HIMMEL MANAGEMENT CO LLC

               ISSUE CITATION COMM OF INS OR SOS- L'OREAL USA, INC.

               ISSUE CITATION COMM OF INS OR SOS- MAYBELLINE LLC

               ISSUE CITATION COMM OF INS OR SOS-BLOCK DRUG CORPORATION

               ISSUE CITATION COMM OF INS OR SOS-BRENNTAG NORTH AMERICA, INC.

               ISSUE CITATION COMM OF INS OR SOS-CHARLES B. CHRYSTAL COMPANY, INC.

               ISSUE CITATION COMM OF INS OR SOS-COSMETICS SPECIALTIES, INC.

               ISSUE CITATION COMM OF INS OR SOS-COTY, INC.

               ISSUE CITATION COMM OF INS OR SOS-CROWN LABORATORIES, INC.

               ISSUE CITATION COMM OF INS OR SOS-DR. SCHOLL'S LLC

               ISSUE CITATION COMM OF INS OR SOS-FISONS CORPORATION

               ISSUE CITATION COMM OF INS OR SOS-NINA RICCI USA, INC.

               ISSUE CITATION COMM OF INS OR SOS-NOVARTIS CORPORATION

               ISSUE CITATION COMM OF INS OR SOS-NOXELL CORPORATION

               ISSUE CITATION COMM OF INS OR SOS-THE PROCTER & GAMBLE COMPANY

               ISSUE CITATION COMM OF INS OR SOS-PTI UNION , LLC

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               ISSUE CITATION COMM OF INS OR SOS-PUIG USA INC.

               ISSUE CITATION COMM OF INS OR SOS-REVLON CONSUMER PRODUCTS CORPORATION

               ISSUE CITATION COMM OF INS OR SOS-SANOFI US SERVICES,INC.

               ISSUE CITATION COMM OF INS OR SOS-SCHOLL'S WELLNESS COMPANY LLC

               ISSUE CITATION COMM OF INS OR SOS-UNILEVER UNITED STATES,INC.

               ISSUE CITATION COMM OF INS OR SOS-WHITTAKER CLARK & DANIELS, INC.


               09/09/2021 REQUEST FOR SERVICE 


               PAYMENT OF ADDITIONAL FEES

                  Comment
                  PAYMENT OF ADDITIONAL FEES


               09/09/2021 CITATION 


               Served
               09/28/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               AMWAY CORP


               09/09/2021 CITATION 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               ARKEMA INC.


               09/09/2021 CITATION 


               Served
               09/28/2021

               Anticipated Server
               ESERVE

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               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               AVON PRODUCTS INC.


               09/09/2021 CITATION 


               Served
               09/28/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               BARRETTS MINERALS INC.


               09/09/2021 CITATION 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               BAYER HEALTHCARE LLC


               09/09/2021 CITATION 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               BLOCK DRUG COMPANY INC.

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               09/28/2021

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               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               BRENNTAG SPECIALTIES LLC


               09/09/2021 CITATION 


               Served
               09/24/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               BROOKSHIRE GROCERY COMPANY


               09/09/2021 CITATION 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               CHATTEM INC.


               09/09/2021 CITATION 


               Served
               09/28/2021

               Anticipated Server
               ESERVE


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               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               COLGATE-PALMOLIVE COMPANY


               09/09/2021 CITATION 


               Served
               09/28/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               CONOPCO INC.


               09/09/2021 CITATION 


               Served
               09/29/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               ELIZABETH ARDEN, INC.


               09/09/2021 CITATION 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               GLAXOSMITHKLINE LLC

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               Served
               09/27/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               H-E-B-, LP


               09/09/2021 CITATION 


               Served
               09/28/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               MERCK & CO., INC.


               09/09/2021 CITATION 


               Served
               09/28/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               PFIZER INC,


               09/09/2021 CITATION 


               Served
               09/30/2021

               Anticipated Server
               ESERVE


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               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               SANOFI-AVENTIS U.S., LLC


               09/09/2021 CITATION 


               Served
               09/28/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               SPECIALITY MINERALS INC.


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               AVENTIS INC.


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               BAYER CONSUMER CARE HOLDINGS LLC

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               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               GSK CONSUMER HEALTH, INC.


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               HIMMEL MANAGEMENT CO LLC


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               L'OREAL USA, INC.


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE


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               Anticipated Method
               Actual Server
               ESERVE

               Returned
               10/07/2021
               Comment
               MAYBELLINE LLC


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               BLOCK DRUG CORPORATION


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               BRENNTAG NORTH AMERICA, INC.


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               CHARLES B. CHRYSTAL COMPANY, INC.

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation       18/36
10/26/21, 2:20 PMCase   4:22-cv-00243 Document 1-2 Filed on 10/29/21
                                                             Details in TXSD Page 20 of 138
               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               COSMETICS SPECIALTIES, INC.


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               COTY, INC.


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               CROWN LABORATORIES, INC.


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE


https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation       19/36
10/26/21, 2:20 PMCase   4:22-cv-00243 Document 1-2 Filed on 10/29/21
                                                             Details in TXSD Page 21 of 138
               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               DR. SCHOLL'S LLC


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               OUT OF COUNTY

               Returned
               10/07/2021
               Comment
               FISONS CORPORATION


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               NINA RICCI USA, INC.


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               NOVARTIS CORPORATION

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation       20/36
10/26/21, 2:20 PMCase   4:22-cv-00243 Document 1-2 Filed on 10/29/21
                                                             Details in TXSD Page 22 of 138
               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               NOXELL CORPORATION


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               THE PROCTER & GAMBLE COMPANY


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               PTI UNION , LLC


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE


https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation       21/36
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                                                             Details in TXSD Page 23 of 138
               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               PUIG USA INC.


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               REVLON CONSUMER PRODUCTS CORPORATION


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               ESERVE

               Returned
               10/07/2021
               Comment
               SANOFI US SERVICES, INC.


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               SCHOLL'S WELLNESS COMPANY LLC

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation       22/36
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                                                             Details in TXSD Page 24 of 138
               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               UNILEVER UNITED STATES,INC.


               09/09/2021 CITATION SOS/COI/COH/HAG 


               Served
               09/30/2021

               Anticipated Server
               ESERVE

               Anticipated Method
               Actual Server
               PRIVATE PROCESS SERVER

               Returned
               10/07/2021
               Comment
               WHITTAKER CLARK & DANIELS, INC.


               09/10/2021 REQUEST FOR SERVICE 


               REQUEST FOR SERVICE


               10/07/2021 RETURN OF SERVICE 


               CITATION EXCUTED HIMMEL MANAGEMENT CO LLC

                  Comment
                  CITATION EXCUTED HIMMEL MANAGEMENT CO LLC


               10/07/2021 RETURN OF SERVICE 


               EXCUTED CITATION L'OREAL USA INC

                  Comment
                  EXCUTED CITATION L'OREAL USA INC


               10/07/2021 RETURN OF SERVICE 


               EXCUTED CITATION MAYBELLINE LLC



https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation       23/36
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                                                             Details in TXSD Page 25 of 138
                  Comment
                  EXCUTED CITATION MAYBELLINE LLC


               10/07/2021 RETURN OF SERVICE 


               EXCUTED CITATION MERCK & CO INC

                  Comment
                  EXCUTED CITATION MERCK & CO INC


               10/07/2021 RETURN OF SERVICE 


               EXCUTED CITATION NINA RICCI USA INC

                  Comment
                  EXCUTED CITATION NINA RICCI USA INC


               10/07/2021 RETURN OF SERVICE 


               EXCUTED CITATION NOVARTIS CORPORATION

                  Comment
                  EXCUTED CITATION NOVARTIS CORPORATION


               10/07/2021 RETURN OF SERVICE 


               EXCUTED CITATION NOXELL CORPORATION

                  Comment
                  EXCUTED CITATION NOXELL CORPORATION


               10/07/2021 RETURN OF SERVICE 


               EXCUTED CITATION PIFIZER INC

                  Comment
                  EXCUTED CITATION PIFIZER INC


               10/07/2021 RETURN OF SERVICE 


               EXCUTED CITATION THE PROCTER & GAMBLE COMPANY

                  Comment
                  EXCUTED CITATION THE PROCTER & GAMBLE COMPANY


               10/07/2021 RETURN OF SERVICE 


               EXCUTED CITATION PTI UNION LLC

                  Comment
                  EXCUTED CITATION PTI UNION LLC


               10/07/2021 RETURN OF SERVICE 


               EXCUTED CITATION PUIG USA INC

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation       24/36
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                                                             Details in TXSD Page 26 of 138
                  Comment
                  EXCUTED CITATION PUIG USA INC


               10/07/2021 RETURN OF SERVICE 


               EXCUTED CITATION REVLON CONSUMER PRODUCTS CORPORATION

                  Comment
                  EXCUTED CITATION REVLON CONSUMER PRODUCTS CORPORATION


               10/07/2021 RETURN OF SERVICE 


               EXCUTED CITATION SANOFI- AVENTIS US LLC

                  Comment
                  EXCUTED CITATION SANOFI- AVENTIS US LLC


               10/07/2021 RETURN OF SERVICE 


               EXCUTED CITATION SANOFI US SERVICES INC

                  Comment
                  EXCUTED CITATION SANOFI US SERVICES INC


               10/07/2021 RETURN OF SERVICE 


               Affidavit of Service-Scholls Wellness Company LLC-5164.pdf

                  Comment
                  Scholl's Wellness Company LLC


               10/07/2021 RETURN OF SERVICE 


               Affidavit of Service-Specialty Minerals Inc-5165.pdf

                  Comment
                  EXCUTED CITATION SPECIALTY MINERALS INC


               10/07/2021 RETURN OF SERVICE 


               EXCUTED CITATION UNILEVER UNITED STATES INC

                  Comment
                  EXCUTED CITATION UNILEVER UNITED STATES INC


               10/07/2021 RETURN OF SERVICE 


               EXCUTED CITATION WHITTAKER CLARK & DANIELS INC

                  Comment
                  EXCUTED CITATION WHITTAKER CLARK & DANIELS INC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED CITATION - BROOKSHIRE GROCERY COMPANY
https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation       25/36
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                                                             Details in TXSD Page 27 of 138
                  Comment
                  EXECUTED CITATION - BROOKSHIRE GROCERY COMPANY


               10/07/2021 RETURN OF SERVICE 


               EXECUTED CITATION - H-E-B, LP

                  Comment
                  EXECUTED CITATION - H-E-B, LP


               10/07/2021 RETURN OF SERVICE 


               EXECUTED CITATION - AMWAY CORP

                  Comment
                  EXECUTED CITATION - AMWAY CORP


               10/07/2021 RETURN OF SERVICE 


               EXECUTED CITATION - ARKEMA INC

                  Comment
                  EXECUTED CITATION - ARKEMA INC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED SOS CITATION - AVENTIS INC

                  Comment
                  EXECUTED SOS CITATION - AVENTIS INC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED CITATION - AVON PRODUCTS INC

                  Comment
                  EXECUTED CITATION - AVON PRODUCTS INC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED CITATION - BARRETTS MINERALS INC

                  Comment
                  EXECUTED CITATION - BARRETTS MINERALS INC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED SOS CITATION - BAYER CONSUMER CARE HOLDINGS LLC

                  Comment
                  EXECUTED SOS CITATION - BAYER CONSUMER CARE HOLDINGS LLC


               10/07/2021 RETURN OF SERVICE 



https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation       26/36
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                                                             Details in TXSD Page 28 of 138
               EXECUTED CITATION - BAYER HEALTHCARE LLC

                  Comment
                  EXECUTED CITATION - BAYER HEALTHCARE LLC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED CITATION - BLOCK DRUG COMPANY INC

                  Comment
                  EXECUTED CITATION - BLOCK DRUG COMPANY INC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED SOS CITATION - BLOCK DRUG CORPORATION

                  Comment
                  EXECUTED SOS CITATION - BLOCK DRUG CORPORATION


               10/07/2021 RETURN OF SERVICE 


               EXECUTED SOS CITATION - BRENNTAG NORTH AMERICA INC

                  Comment
                  EXECUTED SOS CITATION - BRENNTAG NORTH AMERICA INC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED CITATION - BRENNTAG SPECIALTIES LLC

                  Comment
                  EXECUTED CITATION - BRENNTAG SPECIALTIES LLC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED SOS CITATION - CHARLES B CHRYSTAL COMPANY INC

                  Comment
                  EXECUTED SOS CITATION - CHARLES B CHRYSTAL COMPANY INC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED CITATION - CHATTEM INC

                  Comment
                  EXECUTED CITATION - CHATTEM INC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED CITATION - COLGATE-PALMOLIVE COMPANY

                  Comment
                  EXECUTED CITATION - COLGATE-PALMOLIVE COMPANY


               10/07/2021 RETURN OF SERVICE 

https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation       27/36
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                                                             Details in TXSD Page 29 of 138
               EXECUTED CITATION - CONOPCO INC

                  Comment
                  EXECUTED CITATION - CONOPCO INC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED SOS CITATION - COSMETIC SPECIALTIES INC

                  Comment
                  EXECUTED SOS CITATION - COSMETIC SPECIALTIES INC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED SOS CITATION - COTY INC

                  Comment
                  EXECUTED SOS CITATION - COTY INC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED SOS CITATION - CROWN LABORATORIES INC

                  Comment
                  EXECUTED SOS CITATION - CROWN LABORATORIES INC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED SOS CITATION - DR SCHOLLS LLC

                  Comment
                  EXECUTED SOS CITATION - DR SCHOLLS LLC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED CITATION - ELIZABETH ARDEN INC

                  Comment
                  EXECUTED CITATION - ELIZABETH ARDEN INC


               10/07/2021 RETURN OF SERVICE 


               EXECUTED SOS CITATION - FISONS CORPORATION

                  Comment
                  EXECUTED SOS CITATION - FISONS CORPORATION


               10/07/2021 RETURN OF SERVICE 


               EXECUTED CITATION - GLAXOSMITHKLINE LLC

                  Comment
                  EXECUTED CITATION - GLAXOSMITHKLINE LLC


               10/07/2021 RETURN OF SERVICE 

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                                                             Details in TXSD Page 30 of 138
               EXECUTED SOS CITATION - GSK CONSUMER HEALTH INC

                  Comment
                  EXECUTED SOS CITATION - GSK CONSUMER HEALTH INC


               10/13/2021 NOTICE OF DISMISSAL FOR WANT OF PROSECUTION 


               NOTICE OF DISMISSAL FOR WANT OF PROSECUTION

                  Comment
                  MAILED


               10/18/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER/MOTION TO TRANSFER/DISMISS/SPECIAL EXCEPTIONS

                  Comment
                  SPECIAL EXCEPTIONS


               10/18/2021 MOTION - TRANSFER - CHANGE OF VENUE 


               MOTION TO TRANSFER VENUE


               10/18/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER


               10/18/2021 MOTION - TRANSFER - CHANGE OF VENUE 


               ORIGINAL ANSWER/MOTION TO TRANSFER/DISMISS/SPECIAL EXCEPTIONS

                  Comment
                  DISMISS


               10/19/2021 MISCELLANOUS EVENT 


               NOTICE OF CHANGE OF ATTORNEY OF RECORD

                  Comment
                  NOTICE OF CHANGE OF ATTORNEY OF RECORD


               10/19/2021 NON-SIGNED PROPOSED ORDER/JUDGMENT 


               PROPOSED ORDER SUBSTITUTE COUNSEL

                  Comment
                  PROPOSED ORDER CHANGE ATTORNEY OF RECORD


               10/22/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               AND MOTION TRANSFER VENUE


               10/22/2021 ORIGINAL ANSWER - GENERAL DENIAL 


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               SPECIALTY MINERALS INCL


               10/22/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               BARRETT'S MINERALS INC.


               10/22/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER - CHARLES B CHRYSAL COMPANY INC.


               10/22/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               COLGATE'S ORIGINAL ANSWER AND OTHERS

                  Comment
                  SPECIAL APPEARANCE, MOTION TO TRANSFER, MOTION TO DISMISS, SPECIAL
                  EXCEPTIONS, AND RESPONSE TO CROSS CLAIMS


               10/22/2021 MOTION - TRANSFER - CHANGE OF VENUE 


               AND MOTION TRANSFER VENUE


               10/22/2021 MOTION - TRANSFER - CHANGE OF VENUE 


               ORIGINAL ANSWER - CHARLES B CHRYSAL COMPANY INC.


               10/22/2021 MOTION - TRANSFER - CHANGE OF VENUE 


               COLGATE'S ORIGINAL ANSWER AND OTHERS


               10/22/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER - ARKEMA INC.

                  Comment
                  AND MOTION TO TRANSFER


               10/25/2021 ORDER - SUBSTITUTION OF COUNSEL 


               ORDER - SUBSTITUTION OF COUNSEL


               10/25/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER AND ANSWER TO ALL CROSS CLAIMS

                  Comment
                  AND ANSWER TO ALL CROSS CLAIMS


               10/25/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER


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                                                             Details in TXSD Page 32 of 138
                  Comment
                  AND ANSWERS TO ALL CROSS CLAIMS


               10/25/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER - FISONS


               10/25/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER

                  Comment
                  AND ANSWERS TO ALL CROSS CLAIMS


               10/25/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER/ MOTION TO TRANSFER VENUE/DISMISS


               10/25/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER


               10/25/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER - CHATTEM, INC.


               10/25/2021 MOTION - TRANSFER - CHANGE OF VENUE 


               ORIGINAL ANSWER/ MOTION TO TRANSFER VENUE/DISMISS


               10/25/2021 MOTION - DISMISS 


               ORIGINAL ANSWER/ MOTION TO TRANSFER VENUE/DISMISS


               10/25/2021 ORIGINAL ANSWER - GENERAL DENIAL 


               ORIGINAL ANSWER - MERCK AND CO., INC.


               10/26/2021 NOTICE OF TRIAL 


                  Comment
                  MAILED - LVL 3


               10/26/2021 TRIAL SETTING (JURY)


               11/15/2021 DISMISSAL FOR WANT OF PROSECUTION 


               Judicial Officer
               MOYE', ERIC



https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation       31/36
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                                                             Details in TXSD Page 33 of 138
               Hearing Time
               1:30 PM

               Cancel Reason
               BY COURT ADMINISTRATOR


               12/03/2021 Scheduling Conference 


               Judicial Officer
               MOYE', ERIC

               Hearing Time
               10:00 AM

               Comment
               NOT A HERAING - HAS S/O BEEN RECEIVED?


               08/30/2022 Jury Trial - Civil 


               Judicial Officer
               MOYE', ERIC

               Hearing Time
               9:30 AM




            Financial

            WISENER, NAOMI
                   Total Financial Assessment                                                          $788.00
                   Total Payments and Credits                                                          $788.00


              9/3/2021       Transaction Assessment                                                   $676.00

              9/3/2021       CREDIT CARD - TEXFILE           Receipt # 58492-2021-        WISENER,   ($676.00)
                             (DC)                            DCLK                         NAOMI

              9/9/2021       Transaction Assessment                                                   $100.00

              9/9/2021       CREDIT CARD - TEXFILE           Receipt # 59439-2021-        WISENER,   ($100.00)
                             (DC)                            DCLK                         NAOMI

              9/13/2021      Transaction Assessment                                                    $12.00

              9/13/2021      CREDIT CARD - TEXFILE           Receipt # 60809-2021-        WISENER,    ($12.00)
                             (DC)                            DCLK                         NAOMI
            BROOKSHIRE GROCERY COMPANY
                   Total Financial Assessment                                                           $40.00

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                   Total Payments and Credits                                                              $40.00


              10/19/2021      Transaction                                                                 $40.00
                              Assessment

              10/19/2021      CREDIT CARD -               Receipt # 69770-          BROOKSHIRE GROCERY   ($40.00)
                              TEXFILE (DC)                2021-DCLK                 COMPANY




            Documents


               CIVIL CASE COVER SHEET

               PLAINTIFF'S ORIGINAL PETITION AND JURY DEMAND
               REQUEST LETTER

               ISSUE CITATION-AMWAY CORP

               ISSUE CITATION- ARKEMA INC.
               ISSUE CITATION-AVON PRODUCTS INC.

               ISSUE CITATION-BARRETTS MINERALS INC.
               ISSUE CITATION-BAYER HEALTHCARE LLC

               ISSUE CITATION-BLOCK DRUG COMPANY INC.
               ISSUE CITATION-BRENNTAG SPECIALTIES LLC

               ISSUE CITATION-BROOKSHIRE GROCERY COMPANY

               ISSUE CITATION-CHATTEM INC.
               ISSUE CITATION-COLGATE-PALMOLIVE COMPANY

               ISSUE CITATION-CONOPCO INC.
               ISSUE CITATION-ELIZABETH ARDEN, INC.

               ISSUE CITATION-GLAXOSMITHKLINE LLC
               ISSUE CITATION-H-E-B., LP

               ISSUE CITATION-MERCK & CO., INC.

               ISSUE CITATION-PFIZER INC,
               ISSUE CITATION-SANOFI-AVENTIS U.S., LLC

               ISSUE CITATION-SPECIALITY MINERALS INC.
               PAYMENT OF ADDITIONAL FEES

               ISSUE CITATION COMM OF INS OR SOS-BAYER CONSUMER CARE HOLDINGS LLC
               ISSUE CITATION COMM OF INS OR SOS-GSK CONSUMER HEALTH, INC.

               ISSUE CITATION COMM OF INS OR SOS- HIMMEL MANAGEMENT CO LLC

               ISSUE CITATION COMM OF INS OR SOS- L'OREAL USA, INC.
https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation                             33/36
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               ISSUE CITATION COMM OF INS OR SOS- MAYBELLINE LLC
               ISSUE CITATION COMM OF INS OR SOS-BLOCK DRUG CORPORATION

               ISSUE CITATION COMM OF INS OR SOS-BRENNTAG NORTH AMERICA, INC.
               ISSUE CITATION COMM OF INS OR SOS-CHARLES B. CHRYSTAL COMPANY, INC.

               ISSUE CITATION COMM OF INS OR SOS-COSMETICS SPECIALTIES, INC.

               ISSUE CITATION COMM OF INS OR SOS-COTY, INC.
               ISSUE CITATION COMM OF INS OR SOS-CROWN LABORATORIES, INC.

               ISSUE CITATION COMM OF INS OR SOS-DR. SCHOLL'S LLC
               ISSUE CITATION COMM OF INS OR SOS-FISONS CORPORATION

               ISSUE CITATION COMM OF INS OR SOS-NINA RICCI USA, INC.
               ISSUE CITATION COMM OF INS OR SOS-NOVARTIS CORPORATION

               ISSUE CITATION COMM OF INS OR SOS-NOXELL CORPORATION

               ISSUE CITATION COMM OF INS OR SOS-THE PROCTER & GAMBLE COMPANY
               ISSUE CITATION COMM OF INS OR SOS-PTI UNION , LLC

               ISSUE CITATION COMM OF INS OR SOS-PUIG USA INC.
               ISSUE CITATION COMM OF INS OR SOS-REVLON CONSUMER PRODUCTS CORPORATION

               ISSUE CITATION COMM OF INS OR SOS-SANOFI US SERVICES,INC.
               ISSUE CITATION COMM OF INS OR SOS-SCHOLL'S WELLNESS COMPANY LLC

               ISSUE CITATION COMM OF INS OR SOS-UNILEVER UNITED STATES,INC.

               ISSUE CITATION COMM OF INS OR SOS-WHITTAKER CLARK & DANIELS, INC.
               REQUEST FOR SERVICE

               CITATION EXCUTED HIMMEL MANAGEMENT CO LLC
               EXCUTED CITATION L'OREAL USA INC

               EXCUTED CITATION MAYBELLINE LLC
               EXCUTED CITATION MERCK & CO INC

               EXCUTED CITATION NINA RICCI USA INC

               EXCUTED CITATION NOVARTIS CORPORATION
               EXCUTED CITATION NOXELL CORPORATION

               EXCUTED CITATION PIFIZER INC
               EXCUTED CITATION THE PROCTER & GAMBLE COMPANY

               EXCUTED CITATION PTI UNION LLC
               EXCUTED CITATION PUIG USA INC

               EXCUTED CITATION REVLON CONSUMER PRODUCTS CORPORATION

               EXCUTED CITATION SANOFI- AVENTIS US LLC
               EXCUTED CITATION SANOFI US SERVICES INC

               Affidavit of Service-Scholls Wellness Company LLC-5164.pdf
               Affidavit of Service-Specialty Minerals Inc-5165.pdf

               EXCUTED CITATION UNILEVER UNITED STATES INC
               EXCUTED CITATION WHITTAKER CLARK & DANIELS INC

               EXECUTED CITATION - BROOKSHIRE GROCERY COMPANY

               EXECUTED CITATION - H-E-B, LP
https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation       34/36
10/26/21, 2:20 PMCase   4:22-cv-00243 Document 1-2 Filed on 10/29/21
                                                             Details in TXSD Page 36 of 138
               EXECUTED CITATION - AMWAY CORP
               EXECUTED CITATION - ARKEMA INC

               EXECUTED SOS CITATION - AVENTIS INC

               EXECUTED CITATION - AVON PRODUCTS INC
               EXECUTED CITATION - BARRETTS MINERALS INC

               EXECUTED SOS CITATION - BAYER CONSUMER CARE HOLDINGS LLC
               EXECUTED CITATION - BAYER HEALTHCARE LLC

               EXECUTED CITATION - BLOCK DRUG COMPANY INC
               EXECUTED SOS CITATION - BLOCK DRUG CORPORATION

               EXECUTED SOS CITATION - BRENNTAG NORTH AMERICA INC

               EXECUTED CITATION - BRENNTAG SPECIALTIES LLC
               EXECUTED SOS CITATION - CHARLES B CHRYSTAL COMPANY INC

               EXECUTED CITATION - CHATTEM INC
               EXECUTED CITATION - COLGATE-PALMOLIVE COMPANY

               EXECUTED CITATION - CONOPCO INC
               EXECUTED SOS CITATION - COSMETIC SPECIALTIES INC

               EXECUTED SOS CITATION - COTY INC

               EXECUTED SOS CITATION - CROWN LABORATORIES INC
               EXECUTED SOS CITATION - DR SCHOLLS LLC

               EXECUTED CITATION - ELIZABETH ARDEN INC
               EXECUTED SOS CITATION - FISONS CORPORATION

               EXECUTED CITATION - GLAXOSMITHKLINE LLC
               EXECUTED SOS CITATION - GSK CONSUMER HEALTH INC

               NOTICE OF DISMISSAL FOR WANT OF PROSECUTION

               ORIGINAL ANSWER/MOTION TO TRANSFER/DISMISS/SPECIAL EXCEPTIONS
               MOTION TO TRANSFER VENUE

               ORIGINAL ANSWER
               NOTICE OF CHANGE OF ATTORNEY OF RECORD

               PROPOSED ORDER SUBSTITUTE COUNSEL
               AND MOTION TRANSFER VENUE

               SPECIALTY MINERALS INCL

               BARRETT'S MINERALS INC.
               ORIGINAL ANSWER - CHARLES B CHRYSAL COMPANY INC.

               COLGATE'S ORIGINAL ANSWER AND OTHERS
               ORIGINAL ANSWER - ARKEMA INC.

               ORIGINAL ANSWER AND ANSWER TO ALL CROSS CLAIMS
               ORIGINAL ANSWER

               ORIGINAL ANSWER - FISONS

               ORIGINAL ANSWER
               ORIGINAL ANSWER/ MOTION TO TRANSFER VENUE/DISMISS

               ORIGINAL ANSWER
https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0#CaseInformation       35/36
10/26/21, 2:20 PMCase   4:22-cv-00243 Document 1-2 Filed on 10/29/21
                                                             Details in TXSD Page 37 of 138
               ORIGINAL ANSWER - CHATTEM, INC.

               ORDER - SUBSTITUTION OF COUNSEL
               ORIGINAL ANSWER - MERCK AND CO., INC.




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                                                CIVIL CASE
                          Case 4:22-cv-00243 Document 1-2 Filed          SHEET
                                                                on 10/29/21
                                                           INFORMATION      in TXSD Page 38 of1 138
                                                                                                4th                                                                                         FELICIA PITRE
                                                 DC-21-12258                                                                                                                             DISTRICT CLERK
                 CAUSE NUMBER (FOR CLERK USE ONLY):                                                                     COURT (FOR CLERK USE ONLY):                                  DALLAS CO., TEXAS
                                                                                                                                                                                     Nikiya Harris DEPUTY
                    STYLEI) NAOMI WISENER V. AMWAY CORP., ET AL.
                                 (e.g., John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter of the Estate of George Jackson)
 A civil case information sheet must be completed and submitted when an original petition or application is ﬁled to initiate a new civil, family law, probate, or mental
 health case or when a post-judgment petition for modiﬁcation or motion for enforcement is ﬁled in a family law case. The information should be the best available at
 the time of ﬁling.

 1.   Contact information for person completing case information sheet:                      Names of parties in case:                                       Person or entity completing sheet is:
                                                                                                                                                          [:IAttorney for Plaintiff/Petitioner
 Name:                                         Email:                                        Plaintiff(s)/Petitioner(s):                                  [:IPro Se Plaintiff/Petitioner
                                                                                                                                                          EITitIe IV-D Agency
 Jennifer Montemayor                           jmentemayor@sgptiial.com                       Naomi Wisener                                               EIOther:

 Address:                                      Telephone:
  Simon Greenstone Panatier, PC                                                                                                                           Additional Parties in Child Support Case:
  1201 Elm Street, Suite 3400                   214-276-7680
                                                                                             Defendant(s)/Respondent(s):                                  Custodial Parent:
 City/State/Zip:                               Fax:
                                                                                              See attached list
 Dallas,    TX     75270                        214-276-7699                                                                                              Non-Custodial Parent:

 Signature:                                    State Bar No:
                                                                                                                               —                          Presumed Father:
-/              Jennifer Montemayor
                                      -
                                                24098129
                                                                                              [Attach additional page as necessary to list all parties]

 2. Indicate case type, or identify the most important issue in the case (select only 1):
                                                          Civil                                                                                               Family Law
                                                                                                                                                                         Post-judgment Actions
                  Contract                      Injury or DamagL                        Real Property                              Marriage Relationship                    (non-Title IV-D)
 Debt/Contract                            EIAssault/Battery                        DEminent Domain]                              EIAnnulment                           EIEnforcement
      EIConsumer/DTPA                     DConstruction                                  Condemnation                            EIDeclare Marriage Void               DModiﬁcation—Custody
      DDebt/ Contract                     EIDefamation                             EIPartition                                   Divorce                               DModiﬁcation—Other
      [Fraud/Misrepresentation            Malpractice                              EIQuiet Title                                    EIWith Children                              Title IV-D
      EIOther Debt/Contract:                EIAccounting                           EITrespass to Try Title                          EINo Children                     [Enforcement/Modiﬁcation
                                            EILegal                                EIOther Property:                                                                  EIPaternity
 Foreclosure                                EIMedical                                                                                                                 EIReciprocals (UIFS A)
                      _          .                                _

      [Home Equity—Expedited                DOther Professwnal                                                                                                        DSupport Order
    EIOther Foreclosure                       Liability:
 EIFranchise                                                                           Related to Criminal
 Dlnsurance                               EIMOtor Vehicle Accident                           Matters                                Other Family Law                    Parent-Child Relationship
 EILandlord/Tenant                        EIPremises                               EIExpunction                                   DEnforce Foreign                     UAdoption/Adoption with
 EINon-Competition                        Product Liability                        DJudgment NiSi                                    Judgment                            Termination
 EIPartnership                              IEIAsbestos/Silica                     DNon-Disclosure                                I:IHabeas Corpus                     EIChild Protection
 I:I0ther Contract:                         EIOther Product Liability              EISeizure/Forfeiture                           ElName change                        IIIChild SupineIt
                                                List Product:                      EIWrit of Habeas Corpus—                       EIProtective Order                   EICustody or Visitation
                                                                                         Pre-indictment                           [Removal of Disabilities             DGestational Parenting
                                          DOther Injury or Damage;                 EIOther:                                          of Minority                       EIGrandparent Access
                                                                                                                                  EIOther:                             DParentage/Paternity
                                                                                                                                                                       DTermination of Parental
                                                                                   . .
                                                                           Other CIVII                                                                                    Ri   hts
        .Employment
            .                                     .   .      .                                                                                                         [IOtlgier Parent- Child:
 DDiscrimination                           EIAdministrative Appeal                 EILawyer Discipline
 DRetaliation                              EIAntitrust/Unfair                      EIPerpetuate Testimony
 EITermination                               Competition                           DSecuiities/ Stock
 DWorkers’ Compensation                    DCode Violations                        EITortious Interference
 EIOther Employment:                       EIForeign Judgment                      EIOther:
                                           Ellntellectual Property

              Tax                                                                                      Probate & Mental Health
  EITax Appraisal                          Probate/Wills/Intestate Administration                                         EIGuardianship—Adult
  EITaX Delinquency                           DDependent Administration                                                   DGuardianship—Minor
  DOther Tax                                  Ellndependent Administration                                                DMental Health
                                              DOther Estate Proceedings                                                   DOther:

 3. Indicate procedure or remedy, if applicable (may select more than 1):
  EIAppeal from Municipal or Justice Court                DDeclaratory Judgment                                                               EIPrejudgment Remedy
  UArbitration—related                                                El Gainishment                                                          EIProtective Order
  DAttachment                                                |:Ilnteipleader                                        EIReceiver
  |:|Bill of Review                                                   I]
                                                                License                                             El Sequestration
  EICertiorari                                               |:IMandamus                                            EITemporary Restraining Order/Injunction
  DCIass Action                                                       [I
                                                                Post-judgment                                       EITurnover
 4. Indicate damages sought (do not select if it is a family law case):
  EILess than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
  EILess than $100,000 and non-monetary relief
  I:IOver $100, 000 but not more than $200,000
  EIOVer $200,000 but not more than $1,000,000
_|E|0ver $1,000,000
                                                                                                                                                                                           Rev 2/13
      Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 39 of 138




TAMIE HOGUE and LACY HOGUE,

          Plaintiffs,

vs.

AVON PRODUCTS, INC.
Via the Texas Secretary of State
CT Corporation System
28 Liberty St 42nd Floor
New York, NY 10005

BARRETTS MINERALS INC.
CT Corporation System
1999 Bryan Street, Suite 900
Dallas,   TX   75201-3140

BEAUTY 21 COSMETICS, INC., for its L.A. Colors line of products
Via the Texas Secretary of State
Chafe Yu Trinh
2021 S. Archibald Ave.
Ontario, CA 91761

BRENNTAG NORTH AMERICA, INC. (sued individually and as successor-in-interest to
MINERAL PIGMENT SOLUTIONS, INC. and as successor-in—interest to WHITTAKER
CLARK & DANIELS, INC.)
Via the Texas Secretary of State
The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

BRENNTAG SPECIALTIES, LLC f/k/a BRENNTAG SPECIALTIES, INC. f/k/a MINERAL
PIGMENT SOLUTIONS, INC. (sued individually and as successor-in—interest to WHITTAKER
CLARK & DANIELS, INC.)
CT Corporation System
1999 Bryan Street, Suite 900
Dallas, TX 75201-3140

COLOR TECHNIQUES, INC.
Via the Texas Secretary of State
Salvatore Giampapa
1202 Laurel Oak Road, Suite 205
Voorhies, NJ 08043
   Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 40 of 138




COSMETIC SPECIALTIES, INC. (sued individually     and formerly d/b/a   G&G SPECIALTY
PRODUCTS CO.)
Via the Texas Secretary of State
Ronald W. Grexa
125 White Horse Pike
Haddon Heights, NJ 08035

COTY, INC. and its subsidiary NOXELL CORPORATION, for its CoverGirl line of products
Via the Texas Secretary of State
Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

CRANE CO.
CT Corporation System
1999 Bryan Street, Suite 900
Dallas,   TX 75201-3140
ESTEE LAUDER, 1Nc., a subsidiary of THE ESTEE LAUDER COMPANIES, INC.
Via the Texas Secretary of State
The Prentice-Hall Corporation System, Inc.
251 Little Falls Drive
Wilmington, DE 19808

GENERAL ELECTRIC COMPANY
CT Corporation System
1999 Bryan Street, Suite 900
Dallas,   TX   75201-3140

KELLY MOORE PAINT CO., INC.
Via the Texas Secretary of State
Bill D. Fountain
1 Post Street, Suite 2400

San Francisco, CA 94104

MARKWINS BEAUTY BRANDS, INC. (sued individually        and as successor-in-interest to   AM
COSMETICS) for its Wet N Wild line of products
Via the Texas Secretary of State
Lena Chen
22067 Ferraro
Walnut, CA 91789-5214

MARY KAY INC.
CT Corporation System
1999 Bryan Street, Suite 900
Dallas,   TX   75201-3140
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MAYBELLINE LLC
Via the Texas Secretary of State
Corporation Service Company
80 State Street
Albany, NY 12207

NOXELL CORPORATION,              a subsidiary of COTY INC. and f/k/a   NOXZEMA CHEMICAL
COMPANY,       for its CoverGirl  line of products
Via the Texas Secretary of State
CSC Lawyers Incorporating Service Co.
7 St. Paul St., Ste. 820
Baltimore, MD 21202

PFIZER INC.
CT Corporation Service
1999 Bryan Street, Suite 900
Dallas, TX 75201

PHYSICIANS FORMULA, INC.
Via the Texas Secretary of State
CT Corporation System
28 Liberty Street
New York, NY 10005

PRESPERSE CORPORATION
Via the Texas Secretary of State
The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

PRESPERSE INTERNATIONAL CORP
Via the Texas Secretary of State
CT Corporation System
820 Bear Tavern Road
W. Trenton, NJ 08628

REVLON CONSUMER PRODUCTS CORPORATION
Via the Texas Secretary of State
Corporate Creations Network Inc.
3411 Silverside Road, Tatnall Building, Suite 104
Wilmington, DE 19810
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SPECIALTY MINERALS INC.            (sued individually and as a subsidiary   of MINERALS
TECHNOLOGIES INC.)
CT Corporation System
1999 Bryan Street, Suite 900
Dallas,   TX   75201-3140

THE PROCTER & GAMBLE COMPANY (sued individually and as successor-in-interest         to
NOXZEMA CHEMICAL COMPANY) for its CoverGirl line of products)
Via the Texas Secretary of State
CT Corporation System
4400 Easton Commons Fleet 125
Columbus Ohio 43219

UNION CARBIDE CORPOMTION
CT Corporation System
1999 Bryan Street, Suite 900
Dallas,   TX 75201-3140
WHITTAKER CLARK & DANIELS, INC.
Via the Texas Secretary of State
Joe Cobuzio
in care of Tompkins, McGuire, Wacenfeld, et al.
3 Becker Farm Road, 4th Floor
Roseland,   NJ 07068
                                                                                                            FILED
      43 CIT/
      Case    ESERVE
            4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 43 of 138                   9/1/2021 4:59 PM
                                                                                                FELICIA PITRE
                                                                                             DISTRICT CLERK
                                                                                         DALLAS CO., TEXAS
                                                                                         Nikiya Harris DEPUTY

                                                   DC-21 -1 2258
                                 CAUSE NO:

NAOMI WISENER,                                          §    IN THE DISTRICT COURT
                                                        §
         Plaintifﬁ                                      §          14th
vs.                                                     §
                                                        §          JUDICIAL DISTRICT
AMWAY CORP.;                                            §
ARKEMA, INC. f/k/a PENNWALT                             §
CORPORATION and ELF ATOCHEM                             §    DALLAS COUNTY, TEXAS
NORTH AMERICA, INC. (sued individually                  §
and as successor-by-merger to WALLACE &                 §
TIERNAN d/b/a WTS PHARMACRAFT) for                      §
its Desenex line of products;                           §
AVENTIS INC., for its Desenex line of                   §
products;                                               §
AVON PRODUCTS, INC.;                                    §
BARRETTS MINERALS IN C.;                                §
BAYER CONSUMER CARE HOLDINGS                            §
LLC f/k/a BAYER CONSUMER CARE LLC                       §
f/k/a MSD CONSIHVIER CARE, INC.) for its                §
Dr Scholl's line of products;                           §
BAYER HEALTHCARE LLC, a subsidiary                      §
of BAYER AG. for its Dr. Scholl's line of               §
products;                                               §
BLOCK DRUG COMPANY, INC. (sued                          §
individually and as successor-in-interest to            §
THE GOLD BOND STERILIZING                               §
POWDER COMPANY a/k/a THE GOLD                           §
BOND COMPANY);                                          §
BLOCK DRUG CORPORATION (sued                            §
individually and as successor-in-interest to            §
THE GOLD BOND STERILIZING                               §
POWDER COMPANY a/k/a THE GOLD                           §
BOND COMPANY);                                          §
BRENN TAG NORTH AMERICA, INC.                           §
(sued individually and as successor-in-interest         §
to MINERAL PIGMENT SOLUTIONS, INC.                      §
and as successor-in-interest to WHITTAKER               §
CLARK & DANIELS, INC);                                  §
BRENNTAG SPECIALTIES LLC                   f/k/a        §
BRENNTAG SPECIALTIES,               INC. f/k/a          §
MINERAL PIGMENT SOLUTIONS, INC.                         §
(sued individually and as successor-in-interest         §
toWHITTAKER CLARK & DANIELS,                            §
INC);                                                   §




 Plaintiff’s Original Petition and Jury Demand                                         Page   1
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BROOKSHIRE GROCERY COMPANY;




                                                 §§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§
CHARLES B. CHRYSTAL COMPANY,
INC.;
CHATTEM, INC. a subsidiary of SANOFI—
AVENTIS U.S. LLC (sued individually and as
successor-in-interest to BLOCK DRUG
CORPORATION, successor-in-interest to
THE GOLD BOND STERILIZING
POWDER COMPANY a/k/a THE GOLD
BOND COMPANY);
COLGATE-PALMOLIVE COMPANY, for
its Cashmere Bouquet line of products;
CONOPCO, INC. d/b/a UNILEVER HOME
& PERSONAL CARE USA (sued
individually and as successor-in-interest to
ELIZABETH ARDEN, INC.) for its White
Shoulders, White Diamonds, and Elizabeth
Arden lines of products;
COSMETIC SPECIALTIES, INC. (sued
individually and formerly d/b/a G&G
SPECIALTY PRODUCTS C0,);
COTY, INC. (sued individually and for its
subsidiary NOXELL CORPORATION) for its
Coty and CoverGirl line of products;
CROWN LABORATORIES, INC.; for its
Desenex line of products;
DR. SCHOLL'S LLC;
ELIZABETH ARDEN, INC., a division of
REVLON, IN C., for its White Shoulders and
White Diamonds lines of products;
FISONS CORPORATION, for its Desenex
line of products;
GLAXOSMITHKLINE LLC             (sued
individually and as successor-in-interest to
BLOCK DRUG CORPORATION, successor-
in-interest to THE GOLD BOND
STERILIZING POWDER COMPANY a/k/a
THE GOLD BOND COMPANY);
GSK CONSUMER HEALTH, INC. f/k/a
NOVARTIS CONSUMER HEALTH, INC.
f/k/a CIBA SELF -MEDICATION, INC., for
its Desenex line of products;
H-E-B, LP;
HIMMEL MANAGEMENT CO. LLC a/k/a
HIMMEL GROUP formerly d/b/a MARTIN
HIMMEL, INC. (sued individually and as




 Plaintiff’s Original Petition and Jury Demand                                                    Page 2
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successor-in-interest to BLOCK DRUG




                                                    §§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§§
CORPORATION, successor-in-interest to
THE GOLD BOND STERILIZING
POWDER COMPANY a/k/a THE GOLD
BOND COMPANY);
L'OREAL USA, INC.;
MAYBELLINE LLC;
MERCK & CO., INC., for its Dr.           Scholl‘s
line of products;
NINA RICCI USA, INC. for its Nina Ricci
L'Air du Temps line of products;
NOVARTIS CORPORATION (sued
individually and as a successor-in-interest to
CIBA-GEIGY CORPORATION and its
subsidiaries CIBA CONSUMER
PHARMACEUTICALS and CIBA SELF-
MEDICATION, INC.) for its Desenex line of
products;
NOXELL CORPORATION, a subsidiary of
COTY INC. and f/k/a NOXZEMA
CHEMICAL COMPANY, for its CoverGirl
line of products;
PFIZER INC.;
THE PROCTER & GAMBLE COMPANY
(sued individually and as successor-in-interest
to NOXZEMA CHEMICAL COMPANY) for
its CoverGirl line of products;
PTI UNION, LLC a/k/a PHARMA TECH
INDUSTRIES, for its Desenex and Gold Bond
lines of products;
PUIG USA, INC., for its Nina Ricci L’Air du
Temps line of products;
REVLON CONSUMER PRODUCTS
CORPORATION for its White Shoulders,
White Diamonds, and Revlon lines of
products;
SANOFI-AVENTIS U.S. LLC          (sued
individually and as successor by merger to
AVENTIS PHARMACEUTICALS INC.) for
its Desenex line of products;
SANOFI US SERVICES, INC. for its
Desenex line of products;
SCHOLL‘S WELLNESS COMPANY LLC;
SPECIALTY MINERALS INC. (sued
individually and as a subsidiary of
MINERALS TECHNOLOGIES INC.);




 Plaintiff’s Original Petition and Jury Demand                                                       Page   3
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UNILEVER UNITED STATES, INC. (sued




                                                         §§§§§§§§§§
individually and as successor-in-interest to
CHESEBROUGH MANUFACTURING
COMPANY a/k/a CHESEBROUGH-PONDS)
for its White Shoulders and White Diamonds
lines of products; and
WI-IITTAKER CLARK & DANIELS,
INC.,

        Defendants.

         PLAINTIFF’S ORIGINAL PETITION AND JURY DEMAND
TO THE HONORABLE JUDGE OF SAID COURT:
        COMES NOW Plaintiff, NAOMI WISENER, who complains of the various Defendants
listed below and for cause of action would show the Court and Jury as follows:
                                                    I.

        1.       Pursuant to T.R.C.P. 190.1, Discovery will be conducted under Level 3 (T.R.C.P.

190.4). Certain Defendants named herein reside in this County, and/or maintain ofﬁces in this
County, and/or have their principal place of business in this County, and/or all or a substantial part of
the acts or omissions that form the basis        of this lawsuit occurred in this County, and/or are
incorporated in the State of Texas, and therefore venue properly lies in this County. Certain acts or
omissions, which were a proximate or producing cause of Plaintiff NAOMI WISENER’S asbestos-
related injuries, occurred in Texas.

        2.       The damages Plaintiff seeks are within the jurisdictional limits of this Court. As

required by Texas Rule of Civil Procedure 47(0), Plaintiff states that she seeks monetary relief over
$1,000,000.00 for the injuries alleged in this Petition. Plaintiff further seeks any relief in equity to
which she is justly entitled.
        3.       Plaintiff NAOMI WISENER resides at 515 Dublin Avenue, Tyler,           TX 75703.
        4.       Defendant AMWAY CORP. may be served through its registered agent for service
of process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3140. This
Defendant is being sued as a manufacturer of asbestos-containing Amway eyeshadows.
        5.       Defendant     ARKEMA, INC.        f/k/a              PENNWALT CORPORATION    and    ELF
ATOCHEM NORTH AMERICA, INC. (sued individually and as successor-by-merger to
WALLACE & TIERNAN d/b/a WTS PHARMACRAFT) for its Desenex line of products, may be
served through its registered agent for service of process, Corporation Service Company d/b/a CSC-




 Plaintiff’s Original Petition and Jury Demand                                                      Page 4
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Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin,             TX 78701.    This
Defendant is being sued as a manufacturer of asbestos-containing Desenex Foot Powder.
        6.       Although Defendant       AVENTIS INC.,     for its Desenex line of products, has at all
times relevant to this litigation conducted business in this State and is required to maintain a

registered agent for service of process, it has not designated such an agent. Therefore, said

corporation may be served with process at its registered agent in Pennsylvania, Corporation Service
Company, 2595 Interstate Drive, Suite 103, Harrisburg, PA 17110. Defendant AVENTIS INC., for
its Desenex line of products, may be served through the Secretary of State for the State        of Texas.
This Defendant is being sued as a manufacturer of asbestos-containing Desenex Foot Powder.
        7.       Defendant AVON PRODUCTS, INC. may be served through its registered agent for
service of process,   CT Corporation System,     1999 Bryan Street, Suite 900, Dallas,   TX 75201 -3 140.
This Defendant is being sued as a manufacturer of asbestos-containing Avon talcum powders.
        8.       Defendant    BARRETTS MINERALS INC.              may be served through its registered
agent for service of process,    CT Corporation System,     1999 Bryan Street, Suite 900, Dallas, Texas

75201-3140. This Defendant is being sued as a supplier of asbestos-containing talc.
        9.       Although Defendant        BAYER CONSUMER CARE HOLDINGS LLC                           f/k/a
BAYER CONSUMER CARE LLC f/k/a MSD CONSUMER CARE, INC.) for its Dr Scholl's line of
products, has at all times relevant to this litigation conducted business in this State and is required to
maintain a registered agent for service of process, it has not designated such an agent. Therefore,
said limited liability company may be served with process at its registered agent in Delaware,

Corporation Service Company, 251 Little Falls Drive, Wilmington, DE 19808. Defendant BAYER
CONSUMER CARE HOLDINGS LLC                       f/k/a   BAYER CONSUMER CARE LLC              f/k/a MSD

CONSUMER CARE, INC.) for its Dr Scholl's line of products, may be served through the Secretary
of State for the State of Texas. This Defendant is being sued          as a manufacturer     of asbestos-
containing Dr. Scholl’s Foot Powder.
        10.      Defendant BAYER         HEALTHCARE LLC, a subsidiary of BAYER AG, for its Dr.
Scholl's line of products, may be served through its registered agent for service of process,

Corporation Service Company d/b/a Lawyers Incorporating Service Company, 211 E. 7th Street,
Suite 620, Austin, TX 78701. This Defendant is being sued as a manufacturer of asbestos-containing
Dr. Scholl’s Foot Powder.




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        1 1 .      Defendant BLOCK DRUG COMPANY, INC. (sued individually and as successor-
in-interest to THE GOLD BOND STERILIZING POWDER COMPANY a/k/a THE GOLD BOND

COMPANY) may           be served through its registered agent for service     of process, Prentice-Hall
Corporation System, 211 E. 7th Street, Suite 620, Austin,      TX 78701. This Defendant is being sued
as a manufacturer     of asbestos-containing Gold Bond Foot Powder.
        12.        Although Defendant BLOCK DRUG CORPORATION (sued individually and as
successor-in-interest to    THE GOLD BOND STERILIZING POWDER COMPANY                          a/k/a   THE
GOLD BOND COMPANY)                has at all times relevant to this litigation conducted business in this

State and is required to maintain a registered agent for service of process, it has not designated such

an agent. Therefore, said corporation may be served with process at its registered agent in New

Jersey, Corporation Service Company, Princeton South Corporate Center, Suite 160, 100 Charles
Ewing Boulevard, Ewing, NJ 08628.                Defendant   BLOCK DRUG CORPORATION                   (sued
individually and as successor-in-interest to THE GOLD BOND STERILIZIN G POWDER
COMPANY a/k/a THE GOLD BOND COMPANY) may be served through the Secretary of State
for the State of Texas. This Defendant is being sued as a manufacturer of asbestos-containing Gold
Bond Foot Powder.
        13.        Although Defendant BRENNTAG NORTH AMERICA, INC. (sued individually
                             MINERAL PIGMENT SOLUTIONS, INC. and as successor-in-
and as successor-in-interest to

interest to     WHITTAKER CLARK & DANIELS, INC.) has at all times relevant to this litigation
conducted business in this State and is required to maintain a registered agent for service of process,

it has not designated such an agent. Therefore, said corporation may be served with process at its

registered agent in Delaware, The Corporation Trust Company, Corporation Trust Center, 1209
Orange Street, Wilmington, DE 19801. Defendant BRENNTAG NORTH AMERICA, INC. (sued
individually and as successor-in-interest to MINERAL PIGMENT SOLUTIONS, INC. and as
successor-in-interest to   WHITTAKER CLARK & DANIELS, INC.)                 may be served through the
Secretary of State for the State of Texas. This Defendant is being sued as a supplier of asbestos-
containing talc.
        14.        Defendant BRENNTAG SPECIALTIES LLC f/k/a BRENNTAG SPECIALTIES,
1NC. f/k/a  MINERAL PIGMENT SOLUTIONS, INC. (sued individually and as successor-in-
interest to WHITTAKER CLARK & DANIELS, INC.) may be served through its registered agent




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for service of process,   CT Corporation         System, 1999 Bryan Street, Suite 900, Dallas,    TX 75201-
3140. This Defendant is being sued as a supplier of asbestos-containing talc.
        15.      Defendant    BROOKSHIRE GROCERY COMPANY may be served through its
registered agent for service of process, Rosemary Jones, 1600 W. Southwest Loop 323, Tyler,               TX
75 701-85 32. This Defendant is being sued as a supplier        of asbestos-containing talcum powder and
cosmetic products. This Defendant is a resident of the State of Texas.
        16.      Although Defendant       CHARLES B. CHRYSTAL COMPANY, INC.                         has at all

times relevant to this litigation conducted business in this State and is required to maintain a

registered agent for service of process, it has not designated such an agent. Therefore, said

corporation may be served with process at its principal place of business in Connecticut, 89
Coachlight Circle, Prospect,      CT   06712. Defendant       CHARLES B. CHRYSTAL COMPANY,
INC. may be served through the Secretary of State for the State of Texas. This Defendant is being
sued as a supplier    of asbestos-containing talc.
        l7.      Defendant CHATTEM, INC. a subsidiary of SANOFI-AVENTIS U.S.                      LLC (sued
individually and as successor-in-interest to BLOCK DRUG CORPORATION, successor-in-interest
to   THE GOLD BOND STERILIZING POWDER COMPANY                                 a/k/a   THE GOLD BOND
COMPANY) may be served through its registered agent for service of process, Corporation Service
Company d/b/a CSC-Lawyers Incorporating Service Company, 21 l E. 7th Street, Suite 620, Austin,
TX 78701. This Defendant is being sued as a manufacturer of asbestos-containing Gold Bond Foot
Powder.
        18.      Defendant COLGATE-PALMOLIVE COMPANY, for its Cashmere Bouquet line
of products, may be served through its registered agent for service of process, CT Corporation
System, 1999 Bryan Street, Suite 900, Dallas,          TX   75201-3140. This Defendant is being sued as a
manufacturer of asbestos-containing Cashmere Bouquet talcum powder.

        19.      Defendant CONOPCO, INC. d/b/a UNILEVER HOME & PERSONAL CARE USA

(sued individually and as successor-in-interest to           ELIZABETH ARDEN, INC.)            for its White
Shoulders and White Diamonds lines of products, may be served through its registered agent for
service of process,   CT Corporation System,         1999 Bryan Street, Suite 900, Dallas,   TX 75201 -3 140.
This Defendant is being sued as a manufacturer of asbestos-containing White Shoulders talcum

powder and White Diamonds talcum powder.




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        20.      Although Defendant       COSMETIC SPECIALTIES, INC.             (sued individually and
formerly d/b/a G&G       SPECIALTY PRODUCTS CO.)             has at all times relevant to this litigation

conducted business in this State and is required to maintain a registered agent for service of process,

it has not designated such an agent. Therefore, said corporation may be served with process at its

registered agent in New Jersey, Ronald W. Grexa, 125 White Horse Pike, Haddon Heights,                NJ
08035. Defendant COSMETIC SPECIALTIES, INC. (sued individually and formerly d/b/a G&G
SPECIALTY PRODUCTS CO.) may be served through the Secretary of State for the State of Texas.
This Defendant is being sued as a supplier of asbestos-containing talc.
        21 .     Although Defendant COTY, INC. (sued individually and for its subsidiary NOXELL
CORPORATION) for its Coty            and CoverGirl line   of products, has at all times relevant to this
litigation conducted business in this State and is required to maintain a registered agent for service of
process, it has not designated such an agent. Therefore, said corporation may be served with process
at its registered agent in Delaware, Corporation Service Company, 251 Little Falls Drive,

Wilmington, DE 19808. Defendant COTY, INC. (sued individually and for its subsidiary NOXELL
CORPORATION) for its Coty and CoverGirl line of products, may be served through the Secretary
of State for the State of Texas. This Defendant is being sued as a manufacturer of asbestos-
containing Coty Airspun Face Powder, CoverGirl pressed face powders, CoverGirl blushes, and
CoverGirl eyeshadows.
        22.      Although Defendant CROWN         LABORATORIES, INC.,            for its Desenex line of

products, has at all times relevant to this litigation conducted business in this State and is required to
maintain a registered agent for service of process, it has not designated such an agent. Therefore, said

corporation may be served with process at its registered agent in Delaware, Corporation Service
Company, 251 Little Falls Drive, Wilmington, DE 19808. Defendant CROWN LABORATORIES,
INC., for its Desenex line of products, may be served through the Secretary of State for the State of
Texas. This Defendant is being sued as a manufacturer of asbestos-containing Desenex Foot Powder.
        23.      Although Defendant DR. SCHOLL'S LLC has at all times relevant to this litigation
conducted business in this State and is required to maintain a registered agent for service of process,

it has not designated such an agent. Therefore, said limited liability company may be served with

process at its registered agent in Delaware, Corporation Service Company, 251 Little Falls Drive,

Wilmington, DE 19808. Defendant DR. SCHOLL'S LLC may be served through the Secretary of




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State for the State of Texas. This Defendant is being sued as a manufacturer of asbestos-containing

Dr. Scholl’s Foot Powder.
        24.      Defendant          ELIZABETH ARDEN, INC.,         a division   of REVLON, INC., for its
White Shoulders and White Diamonds lines of products, may be served through its registered agent
for service of process, Corporate Creations Network Inc., 5444 Westheimer Road, Suite 1000,

Houston,   TX 7705 6-53    1   8.   This Defendant is being sued as a manufacturer of asbestos-containing
White Shoulders talcum powder and White Diamonds talcum powder.
        25.      Although Defendant FISONS CORPORATION, for its Desenex line of products,
has at all times relevant to this litigation conducted business in this State and is required to maintain

a registered agent for service          of process, it has not designated such an agent. Therefore, said
corporation may be served with process at its registered agent in Massachusetts, Corporation Service

Company, 84 State Street, Boston,            MA 02109. Defendant FISONS CORPORATION, for               its

Desenex line of products, may be served through the Secretary of State for the State of Texas. This
Defendant is being sued as a manufacturer of asbestos-containing Desenex Foot Powder.
        26.      Defendant          GLAXOSMITHKLINE LLC           (sued individually and as successor-in-
         BLOCK DRUG CORPORATION, successor-in-interest to THE GOLD BOND
interest to

STERILIZING POWDER COMPANY a/k/a THE GOLD BOND COMPANY) may be served
through its registered agent for service of process, Corporation Service Company d/b/a               CSC-
Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin,             TX    78701. This
Defendant is being sued as a manufacturer of asbestos-containing Gold Bond Foot Powder.
        27.      Although Defendant           GSK CONSUMER HEALTH, INC.                f/k/a   NOVARTIS
CONSUMER HEALTH, INC. f/k/a CIBA SELF-MEDICATION, 1NC., for its Desenex line of
products, has at all times relevant to this litigation conducted business in this State and is required to
maintain a registered agent for service of process, it has not designated such an agent. Therefore,
said corporation may be served with process at its registered agent in Delaware, Corporation Service

Company, 251 Little Falls Drive, Wilmington, DE 19808.                   Defendant   GSK CONSUMER
HEALTH, INC.           f/k/a        NOVARTIS CONSUMER HEALTH, INC. f/k/a CIBA SELF-
MEDICATION, INC., for its Desenex line of products, may be served through the Secretary of State
for the State of Texas. This Defendant is being sued as a manufacturer of asbestos-containing
Desenex Foot Powder.




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        28.      Defendant    H-E-B, LP may         be served through its registered agent for service   of
process, Abel Martinez, 646 S. Flores Street, San Antonio,       TX 78204-1219. This Defendant is being
sued as a supplier of asbestos-containing talcum powder and cosmetic products. This Defendant is a

resident of the State of Texas.

        29.      Although Defendant        HIMMEL MANAGEMENT CO. LLC                     a/k/a   HIMMEL
GROUP formerly d/b/a MARTIN HIMMEL, INC. (sued individually and as successor-in-interest to
BLOCK DRUG CORPORATION, successor-in-interest to THE GOLD BOND STERILIZING
POWDER COMPANY a/k/a THE GOLD BOND COMPANY) has at all times relevant to this
litigation conducted business in this State and is required to maintain a registered agent for service of
process, it has not designated such an agent. Therefore, said limited liability company may be served
with process at its registered agent in Florida, Jeffrey S. Himmel, c/o Violetas, 221 Miracle Mile,
Coral Gables,    FL   33134. Defendant          HIMMEL MANAGEMENT CO. LLC                a/k/a   HIMMEL
GROUP formerly d/b/a MARTIN HIMMEL, INC. (sued individually and as successor-in-interest to
BLOCK DRUG CORPORATION, successor-in-interest to THE GOLD BOND STERILIZING
POWDER COMPANY a/k/a THE GOLD BOND COMPANY) may be served through the Secretary
of State for the State of Texas. This Defendant is being sued            as a manufacturer   of asbestos-
containing Gold Bond Foot Powder.
        30.      Although Defendant L'OREAL USA, INC. has at all times relevant to this litigation
conducted business in this State and is required to maintain a registered agent for service of process,

it has not designated such an agent. Therefore, said corporation may be served with process at its

registered agent in Delaware, The Prentice-Hall Corporation System, 251 Little Falls Drive,

Wilmington, DE 19808. Defendant L'OREAL USA, INC. may be served through the Secretary of
State for the State of Texas. This Defendant is being sued as a manufacturer of asbestos-containing

L’Oreal pressed face powder, L’Oréal blushes, and L’Oréal eyeshadows.
        31.      Although Defendant MAYBELLINE LLC has at all times relevant to this litigation
conducted business in this State and is required to maintain a registered agent for service of process,

it has not designated such an agent. Therefore, said limited liability company may be served with

process at its registered agent in New York, Corporation Service Company, 80 State Street, Albany,
NY 12207.     Defendant MAYBELLINE               LLC may be served through the Secretary of State for the
State of Texas. This Defendant is being sued as a manufacturer of asbestos-containing Maybelline

pressed face powder, Maybelline blushes, and Maybelline eyeshadows.




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         32.     Defendant MERCK & CO., INC., for its Dr. Scholl's line of products, may be served

through its registered agent for service of process,   CT Corporation System,   1999 Bryan Street, Suite

900, Dallas,   TX 75201 -3 140. This Defendant is being sued as a manufacturer of asbestos-containing
Dr. Scholl’s Foot Powder.
         33.     Although Defendant NINA RICCI USA, INC., for its Nina Ricci L'Air du Temps
line of products, has at all times relevant to this litigation conducted business in this State and is

required to maintain a registered agent for service of process, it has not designated such an agent.
Therefore, said corporation may be served with process at its registered agent in New York,
Corporation Service Company, 80 State Street, Albany, NY 12207. Defendant NINA RICCI USA,
INC., for its Nina Ricci L'Air du Temps line of products, may be served through the Secretary of
State for the State of Texas. This Defendant is being sued as a manufacturer of asbestos-containing

Nina Ricci     L’Air du Temps talcum powder.
         34.      Although Defendant NOVARTIS CORPORATION                    (sued individually and as a
successor-in-interest to   CIBA-GEIGY CORPORATION and its subsidiaries CIBA CONSUMER
PHARMACEUTICALS and CIBA SELF-MEDICATION, INC.) for its Desenex line of products,
has at all times relevant to this litigation conducted business in this State and is required to maintain

a registered agent for service      of process, it has not designated such an agent. Therefore, said
corporation may be served with process at its registered agent in New York, The Prentice Hall
Corporation      System,    80    State   Street,   Albany, NY     12207.     Defendant    NOVARTIS
CORPORATION             (sued    individually and as a successor-in-interest to CIBA-GEIGY
CORPORATION          and its subsidiaries       CIBA CONSUMER PHARMACEUTICALS                 and   CIBA
SELF-MEDICATION, INC.) for its Desenex line of products, may be served through the Secretary
of State for the State of Texas. This Defendant is being sued as a manufacturer of asbestos-
containing Desenex Foot Powder.
         35.     Although Defendant NOXELL CORPORATION, a subsidiary of COTY INC. and
f/k/a   NOXZEMA CHEMICAL COMPANY,                    for its CoverGirl line of products, has at all times
relevant to this litigation conducted business in this State and is required to maintain a registered

agent for service of process, it has not designated such an agent. Therefore, said corporation may be
served with process at its registered agent in Maryland,     CSC Lawyers Incorporating Service Co., 7
Street Paul Street, Ste. 820, Baltimore, MD 21202. Defendant           NOXELL CORPORATION,                 a

subsidiary of COTY INC. and f/k/a NOXZEMA CHEMICAL COMPANY, for its CoverGirl line of




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products, may be served through the Secretary of State for the State       of Texas. This Defendant is
being sued as a manufacturer of asbestos-containing CoverGirl pressed face powder, CoverGirl
blushes and CoverGirl eyeshadows.

        36.      DefendantPFIZER INC. may be served through its registered agent for service of
process,   CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201 -3 140. This
Defendant is being sued as a supplier of asbestos-containing talc.
        37.      Although Defendant THE PROCTER & GAMBLE COMPANY (sued individually
and as successor-in-interest to     NOXZEMA CHEMICAL COMPANY) for                  its CoverGirl line of

products, has at all times relevant to this litigation conducted business in this State and is required to
maintain a registered agent for service of process, it has not designated such an agent. Therefore,
said corporation may be served with process at its registered agent in Ohio,    CT Corporation System,
4400 Easton Commons Fleet 125, Columbus Ohio 43219.                  Defendant    THE PROCTER &
GAMBLE COMPANY (sued individually and as successor-in-interest to NOXZEMA CHEMICAL
COMPANY) for its CoverGirl line of products, may be served through the Secretary of State for the
State of Texas. This Defendant is being sued as a manufacturer of asbestos-containing CoverGirl

pressed face powder, CoverGirl blushes and CoverGirl eyeshadows.
        38.      Although Defendant PTI UNION, LLC a/k/a PHARMA TECH INDUSTRIES, for
its Desenex and Gold Bond lines of products, has at all times relevant to this litigation conducted

business in this State and is required to maintain a registered agent for service of process, it has not

designated such an agent. Therefore, said limited liability company may be served with process at its

registered agent in Delaware, The Corporation Trust Company, Corporation Trust Center, 1209

Orange Street, Wilmington,        DE   19801. Defendant   PTI UNION, LLC        a/k/a   PHARMA TECH
INDUSTRIES, for its Desenex            and Gold Bond lines of products, may be served through the

Secretary of State for the State of Texas. This Defendant is being sued as a manufacturer of asbestos-
containing Desenex Foot Powder and Gold Bond Foot Powder.
        39.      Although Defendant PUIG USA, INC., for its Nina Ricci          L’Air du Temps line of
products, has at all times relevant to this litigation conducted business in this State and is required to
maintain a registered agent for service of process, it has not designated such an agent. Therefore,
said corporation may be served with process at its corporate headquarters in New York, Puig USA,

Inc.,l 83 Madison Avenue, 19th Floor, New York, NY 10016. Defendant PUIG USA, INC., for its
Nina Ricci    L’Air du Temps line of products, may be served through the Secretary of State for the



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State of Texas. This Defendant is being sued as a manufacturer of asbestos-containing Nina Ricci

L’Air du Temps talcum powder.
        40.      Although Defendant REVLON CONSUMER PRODUCTS CORPORATION, for
its White Shoulders, White Diamonds, and Revlon lines of products, has at all times relevant to this

litigation conducted business in this State and is required to maintain a registered agent for service of
process, it has not designated such an agent. Therefore, said corporation may be served with process
at its registered agent in Delaware, Corporate Creations Network, Inc., 341    1   Silverside Road, Tatnall

Building, Suite 104, Wilmington, DE 19810. Defendant REVLON CONSUMER PRODUCTS
CORPORATION, for its White Shoulders, White Diamonds, and Revlon lines of products, may be
served through the Secretary       of State for the State of Texas. This Defendant is being sued      as a

manufacturer of asbestos-containing White Shoulders talcum powder, White Diamonds talcum

powder, Revlon pressed face powders, Revlon blushes, and Revlon eyeshadows.
        41.      Defendant    SANOFI-AVENTIS U.S. LLC           (sued individually and as successor by

merger to AVENTIS PHARMACEUTICALS INC.) for its Desenex line of products, may be served
through its registered agent for service of process, Corporation Service Company d/b/a               CSC-
Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin,              TX   78701. This
Defendant is being sued as a manufacturer of asbestos-containing Desenex Foot Powder.
        42.      Although Defendant SANOFI US           SERVICES, INC.,        for its Desenex line of

products, has at all times relevant to this litigation conducted business in this State and is required to
maintain a registered agent for service of process, it has not designated such an agent. Therefore,
said corporation may be served with process at its registered agent in Delaware, Corporation Service

Company, 251 Little Falls Drive, Wilmington, DE 19808. Defendant            SANOFI US SERVICES,
INC., for its Desenex line of products, may be served through the Secretary of State for the State of
Texas. This Defendant is being sued as a manufacturer of asbestos-containing Desenex Foot Powder.
        43.      Although Defendant SCHOLL'S         WELLNESS COMPANY LLC has at all times
relevant to this litigation conducted business in this State and is required to maintain a registered

agent for service of process, it has not designated such an agent. Therefore, said limited liability

company may be served with process at its registered agent in Delaware, The Corporation Trust
Company, Corporation Trust Center, 1209 Orange Street, Wilmington,                 DE   19801. Defendant

SCHOLL'S WELLNESS COMPANY LLC may be served through the Secretary of State for the




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State of Texas. This Defendant is being sued as a manufacturer of asbestos-containing Dr. Scholl’s

Foot Powder.
        44.      Defendant SPECIALTY MINERALS INC. (sued individually and as a subsidiary
of MINERALS TECHNOLOGIES INC.) may be served through its registered agent for service of
process,   CT   Corporation System, 1999 Bryan Street, Suite 900, Dallas,    TX   75201-3140. This
Defendant is being sued as a supplier of asbestos-containing talc.
        45.      Although Defendant UNILEVER UNITED STATES, INC. (sued individually and
as    successor-in-interest     to   CHESEBROUGH MANUFACTURING                   COMPANY        a/k/a

CHESEBROUGH-PONDS) for its White Shoulders and White Diamonds lines of products, has at
all times relevant to this litigation conducted business in this State and is required to maintain a

registered agent for service of process, it has not designated such an agent. Therefore, said
corporation may be served with process at its registered agent in Delaware, The Corporation Trust
Company, Corporation Trust Center, 1209 Orange Street, Wilmington,          DE    19801. Defendant

UNILEVER UNITED STATES, INC.                    (sued individually and as successor-in-interest to
CHESEBROUGH MANUFACTURING COMPANY                         a/k/a CHESEBROUGH-PONDS) for its
White Shoulders and White Diamonds lines of products, may be served through the Secretary of
State for the State of Texas. This Defendant is being sued as a manufacturer of asbestos-containing

White Shoulders talcum powder and White Diamonds talcum powder.
        46.      Although Defendant WHITTAKER CLARK & DANIELS, INC. has at all times
relevant to this litigation conducted business in this State and is required to maintain a registered

agent for service of process, it has not designated such an agent. Therefore, said corporation may be
served with process at its attorney ofﬁces in New Jersey, Joe Cobuzio, c/o Tompkins, McGuire,

Wacenfeld, et al.,   3   Becker Farm Road, 4th Floor, Roseland, NJ 07068. Defendant WHITTAKER
CLARK & DANIELS, INC. may be served through the Secretary of State for the State of Texas.
This Defendant is being sued as a supplier of asbestos-containing talc.
        47.      This action is brought and these allegations are made pursuant to Tex. Civ. Prac. &
Rem. Code § 71.031.
                                         FACTUAL SUMMARY
        48.      Plaintiff NAOMI WISENER alleges she was wrongfully exposed to and inhaled,
ingested, or otherwise absorbed asbestos ﬁbers, an inherently dangerous toxic substance, as follows:




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                 a.)      From approximately 1955 to 1979, Plaintiff NAOMI WISENER alleges she

        experienced exposure to asbestos through her late husband, C. E. Wisener, who worked as a
        carpenter building residential sites in various cities in Texas and New Mexico including, but
        not limited to, Burnet, Texas. His duties included, but were not limited to, working with and

                                                J
        around other tradesmen applying ohns-Manville insulation products. While Plaintiff Naomi

        Wisener’s late husband used, handled, and/or was in the Vicinity of others using or handling
        asbestos or asbestos-containing products, dangerously high levels        of asbestos ﬁbers were
        released into the air at his work places. These ﬁbers were carried home on his clothing and

        were frequently inhaled and ingested by Plaintiff NAOMI WISENER through direct contact
        with her late husband and washing his work clothes.

                 b.)      Plaintiff alleges she experienced exposure to asbestos through her regular and
        frequent personal use of the following asbestos-containing products: Coty Airspun loose face

        powder from approximately the 1950s to the 1970s; Johnson’s Baby Powder from
        approximately 1950 to the 1990s; Avon talcum powders ﬁom approximately the 1950s to the
        early 20003; Maybelline pressed face powder, CoverGirl pressed face powder, Revlon
        pressed face powder, Maybelline blushes, CoverGirl blushes, Revlon blushes, Maybelline

        eyeshadows, CoverGirl eyeshadows, and Revlon eyeshadows ﬁom approximately the 1960s
        to the 19803; Cashmere Bouquet talcum powder and Shower-to-Shower talcum powder ﬁom

        approximately the 19703 to the 19803; White Shoulders talcum powder from approximately
        the 19703 to the 19903; Nina Ricci L’Air du Temps talcum powder from approximately 1975

        to 1989;   L’Oréal pressed face powder, L’Oréal blushes and L’Oréal eyeshadows from
        approximately the 19803 to the 20003; White Diamonds talcum powder in the 19903; and
        Amway eyeshadows from approximately 1978 to 1982. Plaintiff was also exposed to
                                                                            J
        asbestos through her regular and daily use of asbestos-containing ohnson’s Baby Powder on

        her infant children from approximately 1950 to 1953, 1955 to 1957, and 1966 to 1968, and

        on her infant grandchildren from approximately 1972 to 1974, 1977 to 1981, 1986 to 1988,

        1991 to 1993, and 1995 to 1997, intermittently. Additionally,           Plaintiff was exposed to
        asbestos through her late husband, Clyde Wisener’s, regular and frequent use        of asbestos-
        containing Gold Bond foot powder, Dr. Scholl’ s foot powder, and Desenex foot powder from
        approximately the 19603 to the 20003, all while in close proximity to Plaintiff. Plaintiff was
        also exposed to asbestos through her daughters’, Jonna Robinson’s and Roseanna




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        McCreary’s, regular and frequent use of Nina Ricci      L’Air du Temps talcum powder from
        approximately 1975 to 1989, all while in close proximity to Plaintiff. During these time
        periods, Plaintiff was also exposed to asbestos-containing talc supplied by Barretts Minerals
        Inc., Brenntag North America, Inc. (sued individually and as successor-in-interest to Mineral
        Pigment Solutions, Inc. and as successor-in—interest to Whittaker Clark & Daniels, Inc.),
        Brenntag Specialties LLC f/k/a Brenntag Specialties, Inc. f/k/a Mineral Pigment Solutions,
        Inc. (sued individually and as successor-in-interest to Whittaker Clark & Daniels, Inc.),
        Charles B. Chrystal Company, Inc., Cosmetic Specialties, Inc. (sued individually and

        formerly d/b/a G&G Specialty Products Co.), Pﬁzer Inc., Specialty Minerals Inc. (sued
        individually and as a subsidiary of Minerals Technologies Inc.) and Whittaker Clark &
        Daniels, Inc., and asbestos-containing talcum powder and cosmetic products supplied by
        Brookshire Grocery Company and H-E-B, LP. These exposures occurred While Plaintiﬁ and
        her family members resided in the following locations:          Ackerly, Denver City, and
        Sweetwater, Texas, from approximately 1950 to 1957; Hobbs, New Mexico, from

        approximately 1957 to 1959; Lovington, New Mexico, from approximately 1959 to 1966;
        Coahoma, Texas, from approximately 1966 to 1969; Austin, Texas, from approximately
        1969 to 1970; Euless, Texas, from approximately 1970 to 1971; Dallas and Houston, Texas,

        in approximately 1971; Danville and Abilene, Texas, in approximately 1972; Big Spring,

        Texas, from approximately 1972 to 1973; Carrollton, Texas, in approximately 1973; San
        Antonio, Texas, from approximately 1973 to 1975; Burnet, Texas, from approximately 1975
        to 2010; and Tyler, Texas, from approximately 2010 to the present. Plaintiff        NAOMI
        WISENER’S regular          and frequent personal use of Coty Airspun loose face powder,

        Johnson’s Baby Powder, Avon talcum powders, Maybelline pressed face powder, CoverGirl

        pressed face powder, Revlon pressed face powder, Maybelline blushes, CoverGirl blushes,
        Revlon blushes, Maybelline eyeshadows, CoverGirl eyeshadows, Revlon eyeshadows,
        Cashmere Bouquet talcum powder, Shower-to-Shower talcum powder, White Shoulders
        talcum powder, Nina Ricci        L’Air du Temps talcum powder, L’Oréal pressed face powder,
        L’Oreal blushes, L’Oréal eyeshadows, White Diamonds talcum powder and Amway
        eyeshadows, Plaintiffs regular and frequent use of Johnson’s Baby Powder on her infant
        children, Plaintiff s intermittent use of Johnson’s Baby Powder on her infant grandchildren,
        Plaintiff” s late husband’s use of asbestos-containing Gold Bond foot powder, Dr. Scholl’s




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        foot powder, and Desenex foot powder, and Plaintiffs daughters’ regular and frequent use of
        Nina Ricci    L’Air   du Temps talcum powder, all while in close proximity to Plaintiff,

        generated asbestos-containing dust and exposed Plaintiff NAOMI WISENER to respirable
        asbestos ﬁbers.


                ALLEGATIONS AGAINST MANUFACTURING AND E UIPMENT
                                  DEFENDANTS

        49.      Plaintiff NAOMI WISENER alleges she was exposed to asbestos-containing
products, and/or asbestos-containing talc, and/or other finished and unfinished asbestos-containing
talcum powder products, and/or asbestos-containing cosmetic, and/or raw asbestos ﬁber of various
kinds and grades through Plaintiffs late husband’s use of asbestos-containing products, through
Plaintiffs personal use of talcum powder and cosmetic products, Plaintiffs use of talcum powder on
her infant children and grandchildren, and Plaintiffs late husband’s and daughters’ use of talcum

powder products While in close proximity to Plaintiff.          Each Defendant corporation or its

predecessor-in-interest is, or at times material hereto, has been engaged in the mining, processing
and/or manufacturing, sale and distribution      of asbestos-containing products, and/or asbestos-
containing talc, and/or other ﬁnished and unﬁnished asbestos-containing talcum powder products,
and/or asbestos-containing cosmetics, and/or raw asbestos ﬁber of various kinds and grades

(hereinafter collectively referred to as “Defendants’ Products”). Plaintiff NAOMI WISENER was

exposed, on numerous occasions, to Defendants’ Products which were produced and/or sold by
Defendants and in so doing, inhaled great quantities of asbestos ﬁbers. Further, Plaintiff alleges as
more speciﬁcally set out below, that she has suffered injuries, illnesses, and disabilities proximately

caused by her exposure to Defendants’ Products which were designed, manufactured and sold by

Defendants.    In that each exposure to Defendants’ Products caused or contributed to Plaintiff

NAOMI WISENER’S injuries, illnesses and disabilities, Plaintiff says that the doctrine ofjoint and
several liabilities should be extended to apply to each Defendant herein.

        50.      Plaintiff NAOMI WISENER was exposed to Defendants’ Products that were
manufactured, designed and/or distributed by the Defendants and/or their predecessors-in-interest

through Plaintiffs late husband’s use, Plaintiffs personal use, Plaintiff s use on her infant children
and grandchildren, and     Plaintiffs family members’ use of Defendants’ Products while in close
proximity to Plaintiff. Plaintiff would show that the defective design and condition of Defendants’




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Products rendered said Products unreasonably dangerous, and that Defendants’ Products were in this

defective condition at the time they were designed by and/or left the hands of Defendants. Plaintiff
would show that Defendants’ Products were defective in the manner in which they were marketed
for their failure to contain or include adequate warnings regarding potential asbestos health hazards
associated with the use of or the exposure to Defendants’ Products, defectively designed because

they were more dangerous than would be contemplated by an ordinary user, the risks of Defendants’
Products outweighed their beneﬁts, and defectively manufactured as they failed to comply with
Defendants’ own speciﬁcations and protect against asbestos exposure. Plaintiff would show that this
market defect rendered Defendants’ Products unreasonably dangerous at the time they were designed
or left the hands   of the Defendants. Plaintiff would show      that Defendants are liable in product

liability including, but not limited to, strict product liability for the above-described defects.
        51.      The Defendants are or were engaged in the business of selling, manufacturing,

producing, designing and/or otherwise putting into the stream of commerce Defendants’ Products,
and those Products, without substantial change in the condition in which they were sold,

manufactured, produced, designed and/or otherwise put into the stream of commerce, were a

proximate and/or producing cause of the injuries, illnesses and disabilities of Plaintiff NAOMI
WISENER.
        52.      Defendants knew that Defendants’ Products would be used without inspection for
defects and, by placing them on the market, represented that they would safely do the job for which

they were intended, which must necessarily include safe manipulation, installation, operation,
maintenance, repair, personal use, and/or handling, and/or adequately protect the consumer against
asbestos ﬁbers liberated in the air during the manipulation    of Defendants’ Products.
        53.      Plaintiff NAOMI WISENER and her family members were unaware of the hazards
and defects in Defendants’ Products which made them unsafe for purposes                of manipulation,
installation, personal use and/or handling.
        54.      During the periods that Plaintiff NAOMI WISENER was exposed to Defendants’
Products which were manufactured and sold by various Defendants, those Products were being
utilized in a manner which was intended by Defendants.
        55.      In the event that Plaintiff is unable to identify each injurious exposure to Defendants’

Products, Plaintiff would show the Court that the Defendants named herein represent and/or

represented a substantial share of the relevant market of Defendants’ Products at all times material to




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this cause of action. Consequently, each Defendant should be held jointly and severally liable under
the doctrines of enterprise liability, market-share liability, concert of action and alternative liability,

among others.
        56.      The injuries, illnesses and disabilities of Plaintiff NAOMI WISENER are a direct and

proximate result of the negligence of each Defendant and/or its predecessor-in-interest in that said
entities produced, designed, sold and/or otherwise put into the stream of commerce Defendants’
Products which the Defendants knew, or in the exercise of ordinary care should have known, were
deleterious and highly harmﬁil to Plaintiffs health and well-being. Certain Defendants created

hazardous and deadly conditions to which Plaintiff was exposed and which caused Plaintiff to be

exposed to a large amount of asbestos ﬁbers. The Defendants were negligent in one, some and/or all
of the following respects, among others, same being the proximate cause of Plaintiff’s injuries,
illnesses, and disabilities:
                 (a)      in failing to timely and adequately warn Plaintiff NAOMI WISENER, her

                          family members, and others of the dangerous characteristics and serious
                          health hazards associated with exposure to Defendants’ Products;

                 (b)      in failing to provide Plaintiff NAOMI WISENER, her family members, and
                          others with information as to what would be reasonably safe and sufﬁcient

                          wearing apparel and proper protective equipment,      if in truth there were any,
                          to protect Plaintiff NAOMI      WISENER and others from being harmed and
                          disabled by exposure to Defendants’ Products;

                 (c)      in failing to place timely and adequate warnings on the containers of
                          Defendants’ Products or on Defendants’ Products themselves to warn of the

                          dangers to health     of coming into contact with Defendants’ Products;
                 (d)      in failing to take reasonable precautions or exercise reasonable care to

                          publish, adopt and enforce a safety plan and/or safe method of handling,
                          utilizing and using Defendants’ Products in a safe manner;
                 (e)      in failing to develop and utilize a substitute material or design to eliminate
                          asbestos ﬁbers in Defendants’ Products;

                 (f)      in failing to properly design and manufacture Defendants’ Products for safe
                          use under conditions     of use that were reasonably anticipated;




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                 (g)      in failing to properly test Defendants’ Products before they were released for
                          consumer use; and

                 (h)      in failing to recall and/or remove Defendants’ Products from the stream of
                          commerce despite knowledge        of   the unsafe and dangerous nature       of
                          Defendants’ Products.
                                       COUNT TWO
                         ALLEGATIONS AGAINST SUPPLIER DEFENDAN TS

        5 7.     All of the allegations contained in the previous paragraphs are realleged herein.
        58.      For all pertinent times, BARRETTS MINERALS INC, BRENNTAG NORTH

AMERICA, INC. (SUED INDIVIDUALLY AND AS SUCCESSOR-IN-INTEREST TO
MINERAL PIGMENT SOLUTIONS, INC. AND AS SUCCESSOR-IN-INTEREST TO
WHITTAKER CLARK & DANIELS, INC.), BRENNTAG SPECIALTIES LLC F/K/A
BRENNTAG SPECIALTIES, INC. F/K/A MINERAL PIGMENT SOLUTIONS, INC. (SUED
INDIVIDUALLY AND AS SUCCESSOR—IN-INTEREST TO WHITTAKER CLARK &
DANIELS, INC.), BROOKSHIRE GROCERY COMPANY, CHARLES B. CHRYSTAL
COMPANY, INC., COSMETIC SPECIALTIES, INC. (SUED INDIVIDUALLY AND
FORMERLY D/B/A G&G SPECIALTY PRODUCTS C0,), H-E-B, LP, PFIZER INC.,
SPECIALTY MINERALS INC. (SUED INDIVIDUALLY AND AS A SUBSIDIARY OF
MINERALS TECHNOLOGIES INC.) and WHITTAKER CLARK & DANIELS, INC. (hereinafter
collectively referred to as “Supplier Defendants”) individually sold, distributed, and supplied
asbestos-containing talc, and/or asbestos-containing products, and/or asbestos-containing cosmetics
(hereinafter “Supplier Defendants’ Products”) that Plaintiff NAOMI         WISENER came in contact
with and inhaled, thereby causing her injuries, illnesses and disabilities.
        59.      Supplier Defendants as manufacturers, miners, shippers, distributors, and suppliers of
Supplier Defendants’ Products, and/or owned and/or operated by asbestos product manufacturers are
liable to Plaintiff for their failure to warn of the health hazards of exposure to asbestos and failure to

design and package their products so as to adequately protect and warn users and bystanders of the
dangers of exposure to asbestos.
        60.      Further, Supplier Defendants are liable to Plaintiff NAOMI               WISENER      as

professional vendors of Supplier Defendants’ Products, and as such, because of the Defendants’ size,
volume of business and merchandising practices, knew or should have known of the defects of the




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Supplier Defendants’ Products they sold and/or supplied, and are strictly liable and negligent for
failing to warn users and bystanders of potential health hazards from the use of said products.
        61.      Further, Supplier Defendants made misrepresentations regarding the safety of
asbestos to the asbestos-product manufacturers, thereby fraudulently inducing other sophisticated

users to use Supplier Defendants’ asbestos-containing talc, and/or asbestos-containing products,

and/or raw asbestos ﬁbers of various kinds and grades instead of other types.      As such, Supplier
Defendants are liable to Plaintiff NAOMI        WISENER for her suffering and injuries from a disease
caused by exposure to Supplier Defendants’ Products because Supplier Defendants’ fraudulent

misrepresentations were detrimentally relied upon            (l)   by asbestos-product manufacturers
incorporating Supplier Defendants’ asbestos-containing talc and/or raw asbestos ﬁbers of various
kinds and grades into their ﬁnished products and (2) by Plaintiff NAOMI          WISENER who was
exposed to Supplier Defendants’ Products.
        62.      Finally, Supplier Defendants are liable to Plaintiff because they knew or should have
known that the Supplier Defendants’ Products which they sold and supplied were unreasonably

dangerous in normal use, and their failure to communicate this information constitutes negligence.
This negligence was the cause of Plaintiff NAOMI WISENER’S illnesses, injuries and disabilities

including, but not limited to, asbestos-related mesothelioma and other ill health effects.

                   CONSPIRACY ALLEGATIONS AGAINST ALL DEFENDANTS

        63.      All of the allegations contained in the previous paragraphs are realleged herein.
        64.      Plaintiff further alleges that Defendants and/or their predecessors-in-interest
knowingly agreed, contrived, combined, confederated and conspired among themselves and with
other entities to cause Plaintiff NAOMI WISENER’ S illnesses, injuries and disabilities by exposing

her to harmful and dangerous Defendants’ Products.             Defendants and other entities ﬁirther

knowingly agreed, contrived, combined, confederated and conspired to deprive Plaintiff NAOMI
WISENER and her family members of the opportunity of informed free choice as to whether to use
Defendants’ Products or to expose themselves to said dangers. Defendants committed the above-
described wrongs by Willﬁilly misrepresenting and suppressing the truth as to the risks and dangers

associated with the use of and exposure to Defendants' Products.
        65.      In furtherance of said conspiracies, Defendants performed the following overt acts:




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                 (a)      for many decades, Defendants individually, jointly, and in conspiracy with
                          each other and other entities have been in possession of medical and

                          scientiﬁc data, literature and test reports, which clearly indicated that the
                          inhalation of asbestos dust and ﬁbers resulting from the ordinary and
                          foreseeable use of Defendants’ Products was unreasonably dangerous,

                          hazardous, deleterious to human health, carcinogenic, and potentially deadly;

                  (b)     despite the medical and scientiﬁc data, literature and test reports possessed by
                          and available to Defendants, Defendants individually, jointly, and in

                          conspiracy with each other and other entities fraudulently, willfully, and
                          maliciously:
                          (1)      withheld, concealed, and suppressed said medical and scientiﬁc data,
                                   literature and test reports regarding the risks of cancer, mesothelioma

                                   and other illnesses and diseases from Plaintiff NAOMI      WISENER
                                   and her family members who were using and being exposed to

                                   Defendants' Products;

                          (2)      caused to be released, published and disseminated medical and

                                   scientiﬁc data, literature and test reports containing information and
                                   statements regarding the risks of cancer, mesothelioma and other

                                   illnesses and diseases which Defendants knew were incorrect,

                                   incomplete, outdated and misleading; and
                          (3)      distorted the results of medical examinations conducted upon

                                   individuals such as Plaintiff NAOMI WISENER, who were using or
                                   in close proximity to Defendants’ Products and being exposed to the
                                   inhalation of asbestos dust and ﬁbers, by falsely stating and/or

                                   concealing the nature and extent of the harm to which Plaintiff and
                                   others such as Plaintiff have suffered.

                  (c)     Other conspirators participating in the conspiracy, or in ongoing or

                          subsequent conspiracies (hereinafter called the “conspirators”), were member

                          companies in the Quebec Asbestos Mining Association, and/or Asbestos
                          Textile Institute, and/or the Industrial Hygiene Foundation, and/or the
                          Cosmetic Toiletry and Fragrance Association (now Personal Care Products




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                          Council). Acting in concert, the conspirators fraudulently misrepresented to
                          the public and public ofﬁcials, inter alia, that asbestos did not cause cancer

                          and that the disease asbestosis had no association with pleural and pulmonary

                          cancer and affirmatively suppressed information concerning the carcinogenic

                          and other adverse effects of asbestos exposure on the human respiratory and

                          digestive systems.
                  (d)     In addition, Defendants contrived, combined, confederated and conspired

                          through a series of industry trade meetings and the creation of organizations
                          such as the Air Hygiene Foundation (later the Industrial Hygiene Foundation)

                          to establish authoritative standards for the control   of industrial dusts which
                          would act as a defense in personal injury lawsuits, despite knowing that

                          compliance with such standards would not protect individuals such as
                          Plaintiff NAOMI WISENER from contracting an asbestos-related disease or
                          cancer.

                  (e)     In furtherance of said conspiracies, Defendants and/or their co-conspirators

                          contributed to cause the establishment of a Threshold Limit Value for

                          asbestos exposure, and contributed to the maintenance        of such Threshold
                          Limit Value despite evidence that this supposed “safe” level of exposure to
                          asbestos would not protect the health of individuals such as Plaintiff NAOMI

                          WISENER even if complied with.
                  (f)     As the direct and proximate result of the false and fraudulent representations,
                          omissions and concealments set forth above, Defendants individually, jointly,
                          and in conspiracy with each other intended to induce Plaintiff         NAOMI
                          WISENER and her family members to rely upon            said false and fraudulent

                          representations, omissions and concealments, to continue to expose
                          themselves to the dangers inherent in the use of and exposure to Defendants'

                          Products, which caused the release of respirable asbestos ﬁbers.
        66.      Plaintiff NAOMI WISENER and her family members reasonably and in good faith
relied upon the false and fraudulent representations, omissions and concealments made by
Defendants regarding the nature of Defendants’ Products.




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        67.      As a direct and proximate result of Plaintiff NAOMI WISENER’s and her family
members reliance on Defendants‘ false and fraudulent representations, omissions and concealments,

Plaintiff NAOMI WISENER sustained damages including injuries, illnesses and disabilities and was
deprived of the opportunity of informed free choice in connection with the use of and exposure to
Defendants‘ Products.
                                               COUNT FOUR
   GROSS NEGLIGENCE/NIALICE ALLEGATIONS AGAINST ALL DEFENDANTS

        68.      All of the allegations contained in the previous paragraphs are realleged herein.
        69.      The actions and inactions of Defendants and their predecessors—in-interest, as

speciﬁcally alleged hereinabove, whether taken separately or together, were of such a character as to
constitute a pattern or practice of gross negligence, intentional wrongful conduct and/or malice

resulting in damages and injuries to Plaintiff NAOMI WISENER.              Defendants’ conduct was

speciﬁcally intended by Defendants to cause substantial injury to Plaintiff, or was carried out by
Defendants with a conscious and ﬂagrant disregard for the rights, safety and welfare of others and
with actual awareness on the part of Defendants that the conduct would, in reasonable probability,
result in human deaths and/or great bodily harm. More speciﬁcally, Defendants and their

predecessors-in-interest consciously and/or deliberately engaged in oppression, fraud, willfulness,
wantonness and/or malice with regard to Plaintiff NAOMI      WISENER and should be held liable in
punitive and exemplary damages to Plaintiff.


       AIDING AND ABETTING ALLEGATIONS AGAINST ALL DEFENDANTS

        70.      All of the allegations contained in the previous paragraphs are realleged herein.
        71.      The actions of all Defendants aided, abetted, encouraged, induced or directed the

negligent and/or intentional acts of each and every other Defendant.
        72.      Each of the Defendants knew or should have known that its individual actions would
combine to cause the injuries, illnesses and disabilities of Plaintiff NAOMI    WISENER.
        73.      The actions of each of the Defendants is a proximate cause of Plaintiff NAOMI
WISENER’ S injuries, illnesses and disabilities. As a result, all Defendants are jointly liable for the
damage caused by their combined actions.




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         NEGLIGENCE PER SE ALLEGATIONS AGAINST ALL DEFENDANTS

        74.      A11   of the allegations contained in the previous paragraphs are realleged herein.
        75.      The actions of all Defendants also constituted negligence per-se.
        76.      Each Defendant violated federal and state regulations relating to asbestos exposure.
Such Violations constitute negligence per-se or negligence as a matter of law. Further, each such
Violation resulted in dangerous and unlawful exposures to asbestos for Plaintiff NAOMI WISENER.
Plaintiff is not making any claims under federal law; instead, Plaintiff is simply using the Violation
of federal standards as proof of liability on her state-law theories. Further, the reference to Federal
regulations does not create a Federal question.          See Merrell Dow Pharmaceuticals, Inc. v.

Thompson, 478 U.S. 804 (1986). Any removal on this basis will be met with an immediate motion
for remand and for sanctions.
        77.      The negligence per-se of each Defendant was a proximate cause of Plaintiff NAOMI
WISENER’S injuries, illnesses and disabilities.
                                            COUNT SEVEN
                                              FRAUD

        78.      All of the allegations contained in the previous paragraphs are realleged herein.
        79.      Fraudulent Misrepresentation: All Defendants are liable for their fraudulent
misrepresentations:

                 (a)      First, each of these Defendants, Via its employees, agents, advertisements, or
                          any other authorized person or document, represented that certain facts were
                          true when they were not, and made material representations that were false.

                          The speciﬁc identities of these employees, agents, advertisements, or any
                          other authorized person or document are maintained in Defendants' records.

                          Such records remain in the exclusive control of Defendants pursuant to
                          Defendants' respective document-retention policies. While Plaintiff does not

                          currently know all of the speciﬁc advertisements, or the names of all of the
                          employees, agents, or any other authorized person who made the
                          representations, Plaintiff will have access to this information once discovery
                          has commenced and will be able to speciﬁcally name the advertisements as

                          well as the employees, agents, or any other authorized persons.




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                 (b)      Second, Defendants represented that the asbestos-containing products they
                          manufactured, supplied, or speciﬁed for use were not hazardous to humans.
                          These representations, including material misrepresentations, were made
                          before and during the years that Plaintiff NAOMI WISENER and her family

                          members purchased, used, and Plaintiff was exposed to asbestos from

                          Defendants' Products. Such representations were made either directly to

                          Plaintiff, her family members, or to a third party intending and reasonably
                          expecting that the substance of those representations would be repeated to
                          Plaintiff and her family members.
                 (C)      Third, Defendants knew that the representations were false when they made
                          them, or they made the representations recklessly and without regard for their
                          truth. Defendants representations and conduct were false statements and

                          representations       of fact.
                 (d)      Fourth, Defendants intended that PlaintiffNAOMI WISENER and her family

                          members, and/or the same class of persons as Plaintiff and her family

                          members, rely and act on the representations or their substance.

                 (e)      Fifth, Plaintiff NAOMI WI SENER and her family members reasonably relied
                          on Defendants' material and false representations or the substance of those

                          representations.

                 (f)      Sixth, Plaintiff NAOMI WISENER developed mesothelioma.
                 (g)      Seventh, Plaintiff NAOMI WISENER’ s justiﬁable reliance on those material

                          representations was a substantial factor in causing Plaintiff s mesothelioma.
        80.      Conspiracy to Commit Fraudulent Misrepresentation: Plaintiff hereby
incorporates by reference the allegations of Paragraph 79 as if fully stated herein. All Defendants are
liable for their conspiracy to commit fraudulent misrepresentation.

                 (a)      First, Defendants were aware that their conspirators, which included all co-
                          Defendants and others, planned to commit fraudulent misrepresentation

                          against Plaintiff and her family members, and/or the same class of persons as
                          Plaintiff and her family members.




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                 (b)      Second, Defendants agreed with their conspirators and intended that the false
                          and fraudulent misrepresentation, including material misrepresentations    of
                          fact, be committed.

                 (c)      Third, Plaintiff NAOMI WISENER developed mesothelioma.
                 (d)      Fourth, each Defendant's participation in the conspiracy was a substantial
                          factor in causing Plaintiff’s mesothelioma.
        81.      Knowledge of Hazards: At all times pertinent hereto, all Defendants owed Plaintiff
NAOMI WISENER a duty, as provided for in Restatement (Second) of Torts §525-551, to abstain
from injuring her person, property, or rights. In Violation of that duty, these Defendants, and each of

them, did do the acts and omissions, when a duty to act was imposed, as set forth herein, thereby

proximately causing injury to Plaintiff. Such acts and omissions consisted of acts falling within
Restatement (Second) of Torts §525-551, and more speciﬁcally were (i) suggestions of fact which
were not true and which the Defendants did not believe to be true, (ii) assertions of fact of that which
were not true, which the Defendants had no reasonable ground for believing it to be true, and (iii) the

suppression of facts when a duty existed to disclose it, all as are more fully set forth herein, and the
violation of which as to any one such item gave rise to a cause of action for violation of Plaintiffs

rights as provided for in the aforementioned Restatement (Second) of Torts §525-551.
        82.      Since 1924, all of the Defendants have known and possessed of the true facts

(consisting of medical and scientiﬁc data and other knowledge) which clearly indicated that
Defendants’ Products referred to herein were and are hazardous to the health and safety of Plaintiff
NAOMI WISENER and others similarly situated. Defendants engaged in the following acts and
omissions:

                 (a)      Did not label any of the aforementioned Defendants’ Products as to the
                          hazards   of said Products   to the health and safety   of Plaintiff NAOMI
                          WISENER, and others in Plaintiff s and her family members’ positions using
                          Defendants’ Products when the knowledge of such hazards was existing and
                          known to Defendants, and each of them, since 1924. By not labeling
                          Defendants’ Products as to their said hazards, Defendants, and each of them,
                          caused to be suggested as a fact to Plaintiff and her family members that it

                          was safe for them to use said Products, when in fact these things were not
                          true and Defendants did not believe them to be true.




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                 (b)      Suppressed information relating to the danger of using Defendants’ Products

                          by requesting the suppression of information to Plaintiff NAOMI WISENER
                          and her family members, Plaintiff‘s and her family members’ class          of
                          persons, and the general public concerning the dangerous nature of the
                          Defendants’ Products to all persons, including users, bystanders and
                          household members, by not allowing such information to be disseminated in

                          a manner which would give general notice to the public and knowledge of the

                          hazardous nature thereof when Defendants were bound to disclose such

                          information.

                 (c)      Sold Defendants’ Products to the public, including Plaintiff NAOMI
                          WISENER       and her family members, and others in Texas and other states

                          without advising them of the dangers of using and otherwise being exposed
                          to Defendants’ Products, and the dangers to those persons' family members,

                          when Defendants knew of such dangers as set forth herein and above, and
                          had a duty to disclose such dangers. Thus, Defendants caused to be positively

                          asserted to Plaintiff, her family members, and the public that which was not

                          true and which Defendants had no reasonable ground for believing to be true,

                          in a manner not warranted by the information possessed by Defendants and
                          each of them, of that which was and is not true, to wit, that it was safe for

                          Plaintiff and her family members to use Defendants’ Products and that they
                          did not pose a risk of harm.

                 (d)      Suppressed and continue to suppress from everyone, including Plaintiff
                          NAOMI WISENER and her family members, medical, scientiﬁc            data, and

                          knowledge of the accurate results of studies including, but not limited to,
                          Waldemar C. Dreesen of the United States Public Health Service's 1933

                          report to the National Safety Council, the results of a study conducted among
                          tremolite, talc and slate workers. The study indicated that talc was a hydrous
                          calcium magnesium silicate, being 45% talc and 45% tremolite, and the
                          National Safety Council stated "The results of the study seemed to indicate a

                          relationship between the amount of dust inhaled and the effect of this dust on
                          the lungs of the workers." As early as 1934, the National Safety Council was




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                          publishing information stating that "a cause of severe pulmonary injury is
                          asbestos, a silicéte of magnesium." In the September 1935 issue of National

                          Safety News, an article entitled N0 Halfway Measures in Dust Control by
                          Arthur S. Johnson reported lowered lung capacity resulting from "asbestosis"
                          and "similar conditions" that developed "from exposure to excess of many

                          mineral dusts relatively low in free silica content." The article further noted
                          that claims for disabilities from workers who alleged exposure to "clay, talc,

                          emery, and carborundum dusts" had "claims prosecuted successfully." The
                          article concluded that "[i]n the absence of adequate diagnoses, occupational
                          histories and a more satisfactory method of adjudicating claims than

                          prosecution at common law, we must conclude that it is necessary to ﬁnd a
                          practical method for controlling all mineral dusts."
                 (e)      Belonged to, participated in, and ﬁnancially supported the Industrial Hygiene
                          Foundation, Asbestos Information Association, the Asbestos Textile Institute

                          (AT1), and other industry organizations, including the Cosmetic, Toiletry,
                          and Fragrance Association (now known as the Personal Care Products

                          Council), which actively promoted the suppression of information of danger
                          to users of Defendants’ Products for and on behalf of Defendants, and each of

                          them, thereby misleading Plaintiff     NAOMI WISENER and her family
                          members to their prejudice through the suggestions and deceptions set forth

                          above in this cause of action. ATI's Dust Control Committee, which changed
                          its name to the Air Hygiene Committee of ATI, was speciﬁcally enjoined to

                          study the subject of dust control; discussions in such committee were held
                          many times of (i) the dangers inherent in asbestos and the dangers which
                          arise from the lack of control    of dust and (ii)   the suppression   of such
                          information from 1946 to a date unknown to Plaintiff at this time.

                 (f)      Knew and possessed medical and scientiﬁc information of the connection
                          between inhalation of asbestos ﬁbers and asbestosis in 1930 with the study of

                          mine and mill workers at the Thetford asbestos mines in Quebec, Canada,
                          and the study    of workers at Raybestos-Manhattan plants in Manheim and
                          Charleston, South Carolina. This information was disseminated through the




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                          ATI   and other industry organizations to all other Defendants, and each         of
                          them herein. Between 1942 and 1950, Defendants, and each of them, knew

                          and possessed medical and scientiﬁc information of the connection between

                          inhalation of asbestos ﬁbers and cancer, which information was disseminated

                          through the    ATI    and other industry organizations to all other Defendants

                          herein. Thereby, Defendants suggested as fact that which is not true and

                          disseminated other facts likely to and which did mislead Plaintiff NAOMI
                          WISENER and her family members for want of communication of true facts,
                          which consisted of the previously described medical and scientiﬁc data and
                          other knowledge by not giving Plaintiff and her family members the true

                          facts concerning such knowledge of danger, when Defendants were bound to
                          disclose this information.

                 (g)      Failed to warn Plaintiff NAOMI WISENER and her family members, and
                          others similarly situated regarding the nature     of Defendants' Products. In
                          1968, a study presented at the American Industrial Hygiene Conference and

                          published in the American Industrial Hygiene Association Journal concluded
                          that "[all] of the 22 talcum products analyzed have a..      .   ﬁber content.   .   .



                          averaging 19%. The ﬁbrous-material was predominantly talc but contained
                          minor amounts of tremolite, anthophyllite, and chrysotile as these are often

                          present in ﬁbrous talc mineral deposits. Unknown signiﬁcant amounts              of
                          such materials in products that may be used without precautions may create

                          an unsuspected problem." [Cralley,     L.J., et al.; Fibrous and Mineral Content
                          0f Cosmetic Talcum Products,        29 Ant Ind. Hyg. Assoc.       J .350   (1968).]
                          Defendants failed to warn Plaintiff and others similarly situated that their
                          Products are, among other things, dangerous when breathed and cause

                          pathological effects without noticeable trauma, although Defendants
                          possessed knowledge that such products were dangerous and a threat to the
                          health of persons coming into contact therewith and under a duty to disclose

                          this information.

                 (h)      Concealed from Plaintiff NAOMI        WISENER and others similarly         situated

                          the true nature of their exposure, the fact that Defendants knew that exposure




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                          to respirable asbestos meant that Plaintiff would inhale this asbestos,

                          signiﬁcantly increasing her risk of developing asbestosis, lung cancer, and
                          mesothelioma; that Plaintiff had in fact been exposed to respirable asbestos;
                          that the materials to which Plaintiff was exposed would cause pathological

                          effects in the human body without noticeable or perceptible trauma to warn
                          her   of injury;   and Defendants engaged in these acts and omissions while

                          under a duty to and bound to disclose this information.

                 (i)      Failed to provide information to the public at large and buyers, users and

                          physicians of Plaintiff NAOMI WISENER for the purpose of conducting
                          physical examinations of anyone who came in contact with asbestos as to the
                          true nature    of the hazards of asbestos, in order for such physicians     to

                          diagnose and treat individuals coming into contact with asbestos, in that the
                          materials to which Plaintiff had been exposed would cause pathological
                          effects without noticeable trauma, even though Defendants were under a duty
                          to supply such information and such failure was and is likely to mislead

                          persons, including Plaintiff, as to the dangers and risk of harm to which they
                          were exposed.

                 (i)      Afﬁrmatively misrepresented that Defendants’ Products were safe to use and
                          handle, when Defendants knew such statements were false when made, or
                          made said false statements recklessly and without regard for whether the

                          statements were true.

        83.      Each of the foregoing acts, suggestions, assertions, and forbearances to act when a

duty existed to act, the said Defendants and each of them, having such knowledge, knowing Plaintiff
NAOMI WISENER did not have such knowledge                   and Plaintiff would breathe such material

innocently, was done falsely and fraudulently and with full intent to induce Plaintiff to be in a
dangerous environment and to cause her to remain unaware of the true facts, all in violation of
Restatement (Second) of Torts §525-55 1.
                                          COUNT EIGHT
                                  BASIS FOR PUNITIVE DAMAGES

        84.      All of the allegations contained in the previous paragraphs are realleged herein.




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         85.     Malice, Oppression, and Fraud: Plaintiff hereby incorporates by reference the
allegations of all causes of action as      if fully stated herein.   A11 Defendants are   liable for punitive

damages because they engaged in the conduct that caused Plaintiff harm with malice, oppression, or
fraud.

                 (a)      First, Defendants committed malice in that they acted with intent to harm
                          when they caused Plaintiffs NAOMI           WISENER’s asbestos exposures, and
                          because their conduct was despicable and was done with a willful and

                          knowing disregard of the rights and safety of others.
                 (b)      Second, these Defendants committed oppression in that their conduct was

                          despicable and subjected Plaintiff NAOMI          WISENER to cruel       and unjust

                          hardship and knowingly disregarded her rights.

                 (c)      Third, the Defendants committed fraud in that they intentionally and
                          fraudulently concealed and misrepresented material facts and did so
                          intending to harm Plaintiff, or with reckless disregard for whether their fraud
                          would harm Plaintiff.
         86.     These Defendants' conduct constituting malice, oppression, and fraud was committed

by, authorized by, and adopted by one or more ofﬁcers, directors, and managing agents within the
corporate hierarchy of each Defendant, who acted on behalf of each Defendant.
         87.     As a direct and proximate result of such intentional conduct by Defendants, their
“alternate entities”, and each of them, Plaintiff NAOMI WISENER sustained the injuries, illnesses,

disabilities, and damages alleged herein.
                                                 DAMAGES
         88.     The conduct of Defendants, as alleged hereinabove, was a direct, proximate and

producing cause of the damages resulting from the asbestos-related disease of Plaintiff NAOMI
WISENER,       and   of the following general and special damages including:
                 (a)      Damages to punish Defendants for proximately causing Plaintiff NAOMI
                          WISENER’S untimely injuries, illnesses, and disabilities;
                 (b)      Physical pain and mental anguish sustained by Plaintiff NAOMI WISENER
                          in the past;

                 (c)      Physical pain and mental anguish that Plaintiff NAOMI WISENER, in
                          reasonable probability, will sustain in the future;




Plaintiff’s Original Petition and Jury Demand                                                          Page 32
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                 (d)     The past disﬁgurement suffered by Plaintiff NAOMI WISENER;

                 (e)     The future disﬁgurement that Plaintiff NAOMI WISENER will, in
                         reasonable probability, sustain in the future;

                 (f)     The physical impairment sustained by Plaintiff NAOMI WISENER in the

                         past;

                 (g)     The physical impairment that Plaintiff NAOMI WISENER will, in
                         reasonable probability, sustain in the future;

                 (h)     The medical expenses that Plaintiff NAOMI WISENER will, in reasonable

                         probability, sustain in the future;
                 (i)     Medical expenses incurred by Plaintiff NAOMI WISENER in the past;

                 (i)     Plaintiff NAOMI WISENER’s lost earning capacity sustained in the past;
                 (k)     Plaintiff seeks punitive and exemplary damages.
                 (1)     Any and all other recoverable personal injury, survival, and/or wrongful
                         death damages for Plaintiff and    Plaintiffs heirs.
        89.    By their acts and omissions described herein, Defendants intentionally, knowingly
and/or recklessly caused serious bodily injury to Plaintiff NAOMI WISENER within the meaning of

Tex.Civ.Prac.& Rem. Code §41.008(c)(7) and Tex. Penal Code §22.04.
        90.      Plaintiff ﬁled suit within two (2) years of Defendants’ wrongdoing, which Defendants
had and continue to wrongfully conceal.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff                      demands judgment against the

Defendants, and each of them, jointly and severally, for general damages, for their costs expended
herein, for interest on said judgment from the date this action accrued until paid, at the legal rate, and
for such other and further relief, both at law and in equity, to which Plaintiff may show herselfjustly
entitled.

                                               JURV DEMAND
        Plaintiff demands that all issues of fact in this case be tried to a properly impaneled jury.
                                  Respectfully submitted,
                                  SIMON GREENSTONE PANATIER, PC
                                  /s/ Jenn iZer Montemayor
                                  Jennifer Montemayor
                                  State Bar No. 24098129
                                  1201 Elm Street, Suite 3400




Plaintiffs Original Petition and Jury Demand                                                      Page 33
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                                  Dallas, Texas 75270
                                  214-276-7680 Telephone
                                  214-276-7699 Facsimile
                                  imontemavor@sgptrial.com

                                  And

                                  MAUNE RAICHLE HARTLEY FRENCH & MUDD, LLC

                                  C. William Margrabe (Pro Hac Vice Pending)
                                  New Jersey ID No. 221042017
                                  150 West 30th Street, Suite 201
                                  New York, NY 10001
                                  Telephone: (314) 241-2003
                                  Fax: (314) 241-4838
                                  Email: wmargrabeéﬂmrhfmlawcom

                                  ATTORNEYS FOR PLAINTIFF




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                                                                                                                                             FILED
                                                   DC-21-12258                                                              9/1/2021 4:59 PM
                      Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 77 of 138                                 FELICIA PITRE
                                                            14th
JEFFREY B. SIMON (CA, NY, TX)                                                                                       CHRISTIBMRIGWDDERK

                                                                                                                    mman
DAVID C. GREENSTONE (CA, NY, TX)
CHRJSTOPHER J. PANATIER (CA, PA, TX)
                                                                                                                                                 XAS
                                                                                                                  JENNIEW
                                          SIMON G RE EN STON E PANATI ER
STUART J . PURDY (CA)
LISA M. BARLEY (CA)
LEAH C. KAGAN (CA, NJ, NY)
CHARLES E. SOECHTING, JR (PA, TX)                                                                                      MARY T. RAHMES (CA)
                                                                                                                          MICHAEL REID (CA)
ASSOCIATES                                                    TRIAL       LAWYERS                                  IYMAN STRAWDER (TX, CA)
DEBBIE BRYANT (TX)                                                                                                 JASMINE N. THOMPSON (TX)
TYSON B. GAMBLE (CA, 0R, WA)                                                                                          ORLANDO VERA, JR. (TX)
ANDREW M. GROUS (NJ, NY, PA)                                                                                           FRANK J . WATI-IEN (TX)
JACEY L. HORNECKER (TX)                                 ATTORNEYS & COUNSELORS AT LAW
SEAN KERLEY (NY, SC)
                                                             A Professional Corporation
                                                             www.SGPTRIAL.com


                                                       PLEASE RESPOND TO THE TEXAS OFFICE


                                                                September 1, 2021

                      VIA E-FILING
                      Hon. Felicia Pitre
                      Dallas County District Clerk
                      George Allen Courts Building
                      600 Commerce Street, Suite 103
                      Dallas, TX 75202

                                    Re:    REQUEST FOR CITATIONS:
                                           Naomi Wisener V. Amway Corp., et a1.

                      Dear Ms. Pitre:

                               Please issue 43 citations (18 to be served Via the Texas Secretary of State) for the
                      list of defendants attached to this letter for the above-referenced matter.

                              Please email the citations to me at mjaminet@sgptrial.com and I will attach the
                      citations to the appropriate number of copies of the ﬁle-stamped Original Complaint and
                      Jury Demand.

                             Thank you very much for your assistance in this regard. Please do not hesitate to
                      call me at 214-687-3231 if you have any questions.

                                                                Sincerely,

                                                                /s/Mar_y Jaminet
                                                                Paralegal




 LOS ANGELES:                                               DALLAS (Primm Ofﬁce        )2

 37 80 Kilroy Airport Way, Suite 540                         1201 Elm St, Suite 3400                        5 Penn Plaza, Suite 2308
 Long Beach, California 90806                                   Dallas, Texas 75270                      New York, New York 10001
 562-590-3400 (T)                                                214-276-7680 (T)                                  212—634-1690        (T)
 562-590-3412 (F)                                                214-276-7699 (F)                                  214-320-0526 (F)
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AMWAY CORP.
CT Corporation System
1999 Bryan Street, Suite 900
Dallas,   TX   75201-3140

ARKEMA, INC. f/k/a PENNWALT CORPORATION and ELF ATOCHEM NORTH
AMERICA, INC. (sued individually and as successor-by—merger to WALLACE & TIERNAN
d/b/a WTS PHARMACRAFT) for its Desenex line of products
Corporation Service Company d/b/a CSC-Lawyers Incorporating Service Company
211 E. 7th Street, Suite 620
Austin, TX 78701

AVENTIS INC., for its Desenex line of products
Via the Texas Secretary of State
Corporation Service Company
2595 Interstate Drive, Suite 103
Harrisburg, PA 171 10

AVON PRODUCTS, INC.
CT Corporation System
1999 Bryan Street, Suite 900
Dallas,   TX   75201-3140

BARRETTS MINERALS INC.
CT Corporation System
1999 Bryan Street, Suite 900
Dallas,   TX 75201-3140
BAYER CONSUMER CARE HOLDINGS LLC f/k/a BAYER CONSUMER CARE LLC f/k/a
MSD CONSUMER CARE, INC.) for its Dr Scholl's line of products
Via the Texas Secretary of State
Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

BAYER HEALTHCARE LLC, a subsidiary of BAYER AG, for its Dr.        Scholl's line of products
Corporation Service Company d/b/a Lawyers Incorporating Service Company
211 E. 7th St., Suite 620
Austin, TX 78701

BLOCK DRUG COMPANY, INC. (sued individually and as successor-in-interest to THE
GOLD BOND STERILIZING POWDER COMPANY a/k/a THE GOLD BOND COMPANY)
Prentice-Hall Corporation System
211 E. 7th St., Suite 620
Austin, TX 78701
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BLOCK DRUG CORPORATION (sued individually and as successor-in-interest to THE GOLD
BOND STERILIZING POWDER COMPANY a/k/a THE GOLD BOND COMPANY)
Via the Texas Secretary of State
Corporation Service Company
Princeton South Corporate Center, Suite 160
100 Charles Ewing Boulevard
Ewing, NJ 08628

BRENNTAG NORTH AMERICA, INC. (sued individually and as successor-in-interest to
MINERAL PIGMENT SOLUTIONS, INC. and as successor-in-interest to WHITTAKER
CLARK & DANIELS, INC.)
Via the Texas Secretary of State
The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

BRENNTAG SPECIALTIES LLC f/k/a BRENNTAG SPECIALTIES, INC. f/k/a MINERAL
PIGMENT SOLUTIONS, INC. (sued individually and as successor-in-interest to WHITTAKER
CLARK & DANIELS, INC.)
CT Corporation System
1999 Bryan Street, Suite 900
Dallas,   TX   75201-3140

BROOKSHIRE GROCERY COMPANY
Rosemary Jones
1600 W. Southwest Loop 323
Tyler, TX 75701-8532

CHARLES B. CHRYSTAL COMPANY, INC.
Via the Texas Secretary of State
89 Coachlight Circle
Prospect,   CT 06712

CHATTEM, INC. a subsidiary of SAN OFI-AVENTIS U.S. LLC (sued individually and as
successor-in-interest to BLOCK DRUG CORPORATION, successor-in-interest to THE GOLD
BOND STERILIZING POWDER COMPANY a/k/a THE GOLD BOND COMPANY)
Corporation Service Company d/b/a CSC-Lawyers Incorporating Service Company
211 E. 7th Street, Suite 620
Austin, TX 78701

COLGATE-PALMOLIVE COMPANY, for its Cashmere Bouquet line of products
CT Corporation System
1999 Bryan Street, Suite 900
Dallas,   TX 75201-3140
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CONOPCO, INC. d/b/a UNILEVER HOME & PERSONAL CARE USA (sued individually and
as successor-in-interest to ELIZABETH ARDEN, INC.) for its White Shoulders, White
Diamonds, and Elizabeth Arden lines of products
CT Corporation System
1999 Bryan Street, Suite 900
Dallas,   TX 75201-3140
COSMETIC SPECIALTIES, INC. (sued individually and formerly d/b/a G&G SPECIALTY
PRODUCTS CO.)
Via the Texas Secretary of State
Ronald W. Grexa
125 White Horse Pike
Haddon Heights, NJ 08035

COTY, INC.   (sued individually and for its subsidiary NOXELL   CORPORATION) for its Coty
and CoverGirl line of products
Via the Texas Secretary of State
Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

CROWN LABORATORIES, INC., for its Desenex line of products
Via the Texas Secretary of State
Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

DR. SCHOLL'S LLC
Via the Texas Secretary of State
Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

ELIZABETH ARDEN, INC., a division of REVLON, INC., for its White Shoulders and White
Diamonds lines of products
Corporate Creations Network Inc.
5444 Westheimer Rd., Suite 1000
Houston, TX 77056-5318

FISONS CORPORATION, for its Desenex line of products
Via the Texas Secretary of State
Corporation Service Company
84 State Street
Boston, MA 02109
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GLAXOSMITHKLINE LLC (sued individually and as successor-in—interest to BLOCK DRUG
CORPORATION, successor-in-interest to THE GOLD BOND STERILIZING POWDER
COMPANY a/k/a THE GOLD BOND COMPANY)
Corporation Service Company d/b/a CSC-Lawyers Incorporating Service Company
211 E. 7th Street, Suite 620
Austin, TX 78701

GSK CONSUMER HEALTH, INC. f/k/a NOVARTIS CONSUMER HEALTH, INC.                f/k/a
CIBA SELF-MEDICATION, INC., for its Desenex line of products
Via the Texas Secretary of State
Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

H-E-B, LP
Abel Martinez
646 S. Flores Street
San Antonio, TX 78204-1219

HIMMEL MANAGEMENT CO. LLC a/k/a HIMMEL GROUP formerly d/b/a MARTIN
HIMMEL, INC. (sued individually and as successor-in—interest to BLOCK DRUG
CORPORATION, successor-in-interest to THE GOLD BOND STERILIZING POWDER
COMPANY a/k/a THE GOLD BOND COMPANY)
Via the Texas Secretary of State
Jeffrey S. Himmel
c/o Violetas
221 Miracle Mile
Coral Gables, FL 33134

L'OREAL USA, INC.
Via the Texas Secretary of State
The Prentice-Hall Corporation System
251 Little Falls Drive
Wilmington, DE 19808

MAYBELLINE LLC
Via the Texas Secretary of State
Corporation Service Company
80 State Street
Albany, NY 12207

MERCK & CO., 1NC., for its Dr. Scholl's line of products
CT Corporation System
1999 Bryan Street, Suite 900
Dallas,   TX 75201-3140
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NINA RICCI USA, INC., for its Nina Ricci L'Air du Temps line of products
Via the Texas Secretary of State
Corporation Service Company
80 State Street
Albany, NY 12207

NOVARTIS CORPORATION (sued individually and as a successor-in—interest to CIBA-GEIGY
CORPORATION and its subsidiaries CIBA CONSUMER PHARMACEUTICALS and CIBA
SELF-MEDICATION, INC.) for its Desenex line of products
Via the Texas Secretary of State
The Prentice Hall Corporation System
80 State Street
Albany, NY 12207

NOXELL CORPORATION, a subsidiary of COTY INC.          and f/k/a NOXZEMA   CHEMICAL
COMPANY, for its CoverGirl line of products
Via the Texas Secretary of State
CSC Lawyers Incorporating Service Company
7 St. Paul Street, Suite 820
Baltimore, MD 21202

PFIZER INC.
CT Corporation System
1999 Bryan Street, Suite 900
Dallas, TX 75201

THE PROCTER & GAMBLE COMPANY (sued individually and as successor-in-interest to
NOXZEMA CHEMICAL COMPANY) for its CoverGirl line of products
Via the Texas Secretary of State
CT Corporation System
4400 Easton Commons Fleet 125
Columbus Ohio 43219

PTI UNION, LLC a/k/a PHARMA TECH INDUSTRIES, for its Desenex and Gold Bond lines
of products
Via the Texas Secretary of State
The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

PUIG USA, INC., for its Nina Ricci L’Air du Temps line of products
Via the Texas Secretary of State
Puig USA, Inc.
183 Madison Avenue, 19th Floor
New York, NY 10016
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REVLON CONSUMER PRODUCTS CORPORATION, for its White Shoulders, White
Diamonds, and Revlon lines of products
Via the Texas Secretary of State
Corporate Creations Network, Inc.
3411 Silverside Road
Tatnall Building, Suite 104
Wilmington, DE 19810

SAN OFI-AVENTIS U.S. LLC (sued individually and as successor by merger to AVENTIS
PHARMACEUTICALS INC.) for its Desenex line of products
Corporation Service Company d/b/a CSC-Lawyers Incorporating Service Company
211 E. 7th Street, Suite 620
Austin, TX 78701

SANOFI US SERVICES, INC., for its Desenex line of products
Via the Texas Secretary of State
Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808

SCHOLL'S WELLNESS COMPANY LLC
Via the Texas Secretary of State
The Corporation Trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

SPECIALTY MINERALS INC. (sued individually and as a subsidiary of MINERALS
TECHNOLOGIES INC.)
CT Corporation System
1999 Bryan Street, Suite 900
Dallas,   TX 75201-3140
UNILEVER UNITED STATES, INC. (sued individually and as successor-in-interest to
CHESEBROUGH MANUFACTURING COMPANY a/k/a CHESEBROUGH-PONDS) for its
White Shoulders and White Diamonds lines of products
Via the Texas Secretary of State
The Corporation Trust Company
Corporation Trust Center
1209 Orange Street, Wilmington, DE 19801
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WHITTAKER CLARK & DANIELS, INC.
Via the Texas Secretary of State
Joe Cobuzio,
Tompkins, McGuire, Wacenfeld & Barry
3 Becker Farm Road, 4th Floor
Roseland,   NJ 07068
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FORM NO. 353-3 - CITATION                                                                                                               ESERVE
THE STATE OF TEXAS
                                                                                                                                      CITATION

To:     AMWAY CORP.
        BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM                                                                         DC-21-12258
        1999 BRYAN STREET SUITE 900
        DALLAS TX 75201-3140
                                                                                                                                    NAOMI WISENER
GREETINGS:                                                                                                                                  vs.
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                                       AMWAY CORP., et al
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
                                                                                                                                     ISSUED THIS
against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days               9th day of September, 2021
after you ﬁle your answer with the clerk. Find out more at TexasLawHelporg. Your answer should be
addressed to the clerk of the 14th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                    FELICIA PITRE
Said Plaintiff being NAOMI WISENER                                                                                                Clerk District Courts,
                                                                                                                                  Dallas County, Texas
Filed in said Court lst day of September, 2021 against

AMWAY CORR, et a1                                                                                                             By:    GAY LANE, Deputy

For Suit, said suit being numbered DC—21-12258, the nature of which demand is as follows:                                         Attorney for Plaintiff
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If                         JENNIFER MONTEMAYOR
this citation is not served, it shall be returned unexecuted.                                                              1201   ELM STREET SUITE 3400
                                                                                                                                  DALLAS TX 75270
WITNESS: FELICLA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                     214-276-7680
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.                                    jmontemayor@sgptrial.com

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                      DALLAS COUNTY
                                                                                                                                   SERVICE FEES
                                 Walla,                                                      ﬁmmm,
                                                                                                                                      NOT PAID
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                          By         I
                                                                       ,Deputy
                                GAY LANE                                               531M143,
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                                   Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 86 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORP.,        et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                           Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 87 of 138




FORM NO. 353-3 - CITATION                                                                                                                 ESERVE
THE STATE OF TEXAS
                                                                                                                                        CITATION

T0:    ARKEMA, INC F/K/A PENNWALT CORPORATION AND ELF ATOCHEM NORTH AMERICA,
       INC., INDIVIDUALLY AND AS SUCCESSOR—BY—MERGER T0 WALLACE & TIERNAN D/B/A                                                         DC-21-12258
       WTS PHARMACRAFT
       BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY D/B/A CSCLAWYERS
       INCORPORATING SERVICE COMPANY
       211 E. 7TH STREET, SUITE 620                                                                                                   NAOMI WISENER
       AUSTIN, TX 78701
                                                                                                                                              vs.
                                                                                                                                     AMWAY CORP., et al
GREETINGS:
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of
                                                                                                                                       ISSUED THIS
twenty days after you were served this citation and petition, a default judgment may be taken against you. In addition
to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other parties of this        9th day of September, 2021
suit. These disclosures generally must be made no later than 30 days aﬁer you ﬁle your answer with the clerk. Find
out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.                                                                                       FELICIA PITRE
                                                                                                                                    Clerk District Courts,
Said Plaintiff being NAOMI WISENER                                                                                                  Dallas County, Texas

Filed in said Court 1st day of September, 2021 against

AMWAY CORP., et a1                                                                                                              By:    GAY LANE, Deputy

For Suit, said suit being numbered DC-21-12258, the nature of which demand is as follows:                                           Attorney for Plaintiff
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If this citation is          JENNIFER MONTEMAYOR
not served, it shall be returned unexecuted.                                                                                 1201   ELM STREET SUITE 3400
                                                                                                                                    DALLAS TX 75270
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                       214-276-7680
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.                                      jmontemayor@sgptrial.com
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas
                                                                                                                                    DALLAS COUNTY
                           By      WM   I




                                  GAY LANE
                                                                             ,Deputy
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                                   Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 88 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORR,         et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                         Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 89 of 138




FORM NO. 353-3 - CITATION                                                                                                              ESERVE
THE STATE OF TEXAS
                                                                                                                                     CITATION

To:     AVON PRODUTS, INC.
        BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM                                                                        DC-21-12258
        1999 BRYAN STREET SUITE 900
        DALLAS TX        75201-3140
                                                                                                                                   NAOMI WISENER
GREETINGS:                                                                                                                                 vs.
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                                      AMWAY CORP., et al
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
                                                                                                                                    ISSUED THIS
against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days              9th day of September, 2021
after you ﬁle your answer with the clerk. Find out more at TexasLawHelporg. Your answer should be
addressed to the clerk of the 14th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                   FELICIA PITRE
Said Plaintiff being NAOMI WISENER                                                                                               Clerk District Courts,
                                                                                                                                 Dallas County, Texas
Filed in said Court lst day of September, 2021 against

AMWAY CORR, et a1                                                                                                            By:    GAY LANE, Deputy

For Suit, said suit being numbered DC—21-12258, the nature of which demand is as follows:                                        Attorney for Plaintiff
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If                        JENNIFER MONTEMAYOR
this citation is not served, it shall be returned unexecuted.                                                             1201   ELM STREET SUITE 3400
                                                                                                                                 DALLAS TX 75270
WITNESS: FELICLA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                    214-276-7680
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.                                   jmontemayor@sgptrial.com

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                     DALLAS COUNTY
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                                   Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 90 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORP.,        et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                         Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 91 of 138




FORM NO. 353-3 - CITATION                                                                                                              ESERVE
THE STATE OF TEXAS
                                                                                                                                     CITATION

To:     BARRETTS MINERALS INC.
        BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM                                                                        DC-21-12258
        1999 BRYAN STREET SUITE 900
        DALLAS TX 75201-3140
                                                                                                                                   NAOMI WISENER
GREETINGS:                                                                                                                                 vs.
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                                      AMWAY CORP., et al
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
                                                                                                                                    ISSUED THIS
against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days              9th day of September, 2021
after you ﬁle your answer with the clerk. Find out more at TexasLawHelporg. Your answer should be
addressed to the clerk of the 14th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                   FELICIA PITRE
Said Plaintiff being NAOMI WISENER                                                                                               Clerk District Courts,
                                                                                                                                 Dallas County, Texas
Filed in said Court lst day of September, 2021 against

AMWAY CORR, et a1                                                                                                            By:    GAY LANE, Deputy

For Suit, said suit being numbered DC—21-12258, the nature of which demand is as follows:                                        Attorney for Plaintiff
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If                        JENNIFER MONTEMAYOR
this citation is not served, it shall be returned unexecuted.                                                             1201   ELM STREET SUITE 3400
                                                                                                                                 DALLAS TX 75270
WITNESS: FELICLA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                    214-276-7680
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.                                   jmontemayor@sgptrial.com

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                     DALLAS COUNTY
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                                   Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 92 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORP.,        et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                         Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 93 of 138




FORM NO. 353-3 - CITATION                                                                                                    ESERVE
THE STATE OF TEXAS
                                                                                                                           CITATION

To:     BAYER HEALTHCARE LLC, A SUBSIDIARY OF BAYER AG
        BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY D/B/A CSC-                                             DC-21-12258
        LAWYERS INCORPORATING SERVICE COMPANY
        211 E. 7TH STREET, SUITE 620
        AUSTIN, TX 78701                                                                                                 NAOMI WISENER
                                                                                                                                 vs.
GREETINGS:                                                                                                              AMWAY CORP., et al
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken               ISSUED THIS
against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial           9th day of September, 2021
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days
after you ﬁle your answer with the clerk. Find out more at TexasLawHelporg. Your answer should be
addressed to the clerk of the 14th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.                 FELICIA PITRE
                                                                                                                       Clerk District Courts,
Said Plaintiff being NAOMI WISENER                                                                                     Dallas County, Texas

Filed in said Court 1st day of September, 2021 against
                                                                                                                   By:    GAY LANE, Deputy
AMWAY CORR, et al
                                                                                                                       Attorney for Plaintiff
For Suit, said suit being numbered DC-21-12258, the nature of which demand is as follows:                        JENNIFER MONTEMAYOR
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If             1201   ELM STREET SUITE 3400
this citation is not served, it shall be returned unexecuted.                                                          DALLAS TX 75270
                                                                                                                       214-276-7680
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                    jmontemayor@sgptrial.com
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                           DALLAS COUNTY
                                                                                                                        SERVICE FEES
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                                   Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 94 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORP.,        et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                           Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 95 of 138




FORM NO. 353-3 - CITATION                                                                                                             ESERVE
THE STATE OF TEXAS
                                                                                                                                    CITATION

T0:    BLOCK DRUG COMPANY INC., INDIVIDUALLY AND AS SUCCESSOR—IN—INTEREST TO THE
        GOLD BOND STERILIZING POWDER COMPANY A/K/A THE GOLD BOND COMPANY                                                            DC-21-12258
        BY SERVING ITS REGISTERED AGENT PRENTICE-HALL CORPORATION SYSTEM
       211 E. 7TH STREET, SUITE 620
       AUSTIN, TX 78701
                                                                                                                                  NAOMI WISENER
GREETINGS:                                                                                                                                vs.
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                                     AMWAY CORP., et al
answer with the clerk who issued this citation by lO o'clock am. of the Monday next following the expiration of
twenty days after you were served this citation and petition, a default judgment may be taken against you. In addition
to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other parties of this             ISSUED THIS
suit. These disclosures generally must be made no later than 30 days aﬁer you ﬁle your answer with the clerk. Find        9th day of September, 2021
out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being NAOMI WISENER
                                                                                                                                  FELICIA PITRE
                                                                                                                                Clerk District Courts,
Filed in said Court 1st day of September, 2021 against                                                                          Dallas County, Texas

AMWAY CORP., et a1
                                                                                                                            By:    GAY LANE, Deputy
For Suit, said suit being numbered DC-21-12258, the nature of which demand is as follows:
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If this citation is
                                                                                                                                Attorney for Plaintiff
not served, it shall be returned unexecuted.                                                                              JENNIFER MONTEMAYOR
                                                                                                                         1201   ELM STREET SUITE 3400
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.
                                                                                                                                DALLAS TX 75270
                                                                                                                                214-276-7680
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                              jmontemayor@sgptrial.com


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                                   Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 96 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORR,         et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                         Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 97 of 138




FORM NO. 353-3 - CITATION                                                                                                    ESERVE
THE STATE OF TEXAS
                                                                                                                           CITATION

T0:     BRENNTAG SPECIALTIES LLC F/K/A BRENNTAG SPECIALTIES, INC. F/K/A
        MINERAL PIGMENT SOLUTIONS, INC, INDIVIDUALLY AND                                                                   DC-21-12258
        AS SUCCESSOR—IN—INTEREST T0 WHITTAKER CLARK & DANIELS, INC.
        BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM
        1999 BRYAN STREET SUITE 900
        DALLAS TX   75201-3140                                                                                           NAOMI WISENER
                                                                                                                                 vs.
GREETINGS:                                                                                                              AMWAY CORP., et al
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken               ISSUED THIS
against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial           9th day of September, 2021
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days
after you ﬁle your answer with the clerk. Find out more at TexasLawHelporg. Your answer should be
addressed to the clerk of the 14th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.                 FELICIA PITRE
                                                                                                                       Clerk District Courts,
Said Plaintiff being NAOMI WISENER                                                                                     Dallas County, Texas

Filed in said Court 1st day of September, 2021 against
                                                                                                                   By:    GAY LANE, Deputy
AMWAY CORR, et al
                                                                                                                       Attorney for Plaintiff
For Suit, said suit being numbered DC-21-12258, the nature of which demand is as follows:                        JENNIFER MONTEMAYOR
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If             1201   ELM STREET SUITE 3400
this citation is not served, it shall be returned unexecuted.                                                          DALLAS TX 75270
                                                                                                                       214-276-7680
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                    jmontemayor@sgptrial.com
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                           DALLAS COUNTY
                                                                                                                        SERVICE FEES
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                                   Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 98 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORP.,        et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                         Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 99 of 138




FORM NO. 353-3 - CITATION                                                                                                    ESERVE
THE STATE OF TEXAS
                                                                                                                           CITATION

To:     BROOKSHIRE GROCERY COMPANY
        BY SERVING ROSEMARY JONES                                                                                          DC-21-12258
        1600   W. SOUTHWEST LOOP 323
        TYLER TX 75701-8532
                                                                                                                         NAOMI WISENER
GREETINGS:                                                                                                                       vs.
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                            AMWAY CORP., et al
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial                    ISSUED THIS
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days    9th day of September, 2021
after you ﬁle your answer with the clerk. Find out more at TexasLawHelporg. Your answer should be
addressed to the clerk of the 14th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                         FELICIA PITRE
Said Plaintiff being NAOMI WISENER                                                                                     Clerk District Courts,
                                                                                                                       Dallas County, Texas
Filed in said Court 1st day of September, 2021 against

AMWAY CORR, et a1                                                                                                  By:    GAY LANE, Deputy
For Suit, said suit being numbered DC-21-12258, the nature of which demand is as follows:                              Attorney for Plaintiff
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If              JENNIFER MONTEMAYOR
this citation is not served, it shall be returned unexecuted.                                                   1201   ELM STREET SUITE 3400
                                                                                                                       DALLAS TX 75270
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                          214-276-7680
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.                         jmontemayor@sgptrial.com

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas
                                                                                                                       DALLAS COUNTY

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                                  Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 100 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORP.,        et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                          Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 101 of 138




FORM NO. 353-3 - CITATION                                                                                                                         ESERVE
THE STATE OF TEXAS
                                                                                                                                                CITATION

T0:     CHATTEM, INC., A SUBSIDIARY 0F SANOFI—AVENTIS U.S. LLC, INDIVIDUALLY AND
       AS SUCCESSOR-IN-INTEREST T0 BLOCK DRUG CORPORATION, SUCCESSOR—IN-                                                                        DC-21-12258
       INTEREST TO THE GOLD BOND STERILIZING POWDER COMPANY A/K/A THE GOLD
       BOND COMPANY
       BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY D/B/A CSC—
       LAWYERS INCORPORATING SERVICE COMPANY                                                                                                  NAOMI WISENER
       211 E. 7TH STREET, SUITE 620
                                                                                                                                                      vs.
       AUSTIN, TX 78701
GREETINGS:                                                                                                                                   AMWAY CORP., et al
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of
twenty days after you were served this citation and petition, a default judgment may be taken against you. In addition                         ISSUED THIS
to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other parties of this                9th day of September, 2021
suit. These disclosures generally must be made no later than 30 days aﬁer you ﬁle your answer with the clerk. Find
out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.                                                                                               FELICIA PITRE
                                                                                                                                            Clerk District Courts,
Said Plaintiff being NAOMI WISENER
                                                                                                                                            Dallas County, Texas
Filed in said Court 1st day of September, 2021 against

AMWAY CORP., et al                                                                                                                      By:    GAY LANE, Deputy

For Suit, said suit being numbered DC-21-12258, the nature of which demand is as follows:                                                   Attorney for Plaintiff
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If this citation is                  JENNIFER MONTEMAYOR
not served, it shall be returned unexecuted.                                                                                         1201   ELM STREET SUITE 3400
                                                                                                                                            DALLAS TX 75270
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                               214-276-7680
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.
                                                                                                                                      jmontemayor@sgptrial.com
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas
                                                                                                                                            DALLAS COUNTY
                           By      WM   '


                                  GAY LANE
                                                                             ,   Deputy
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                                  Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 102 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORR,         et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                        Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 103 of 138




FORM NO. 353-3 - CITATION                                                                                                            ESERVE
THE STATE OF TEXAS
                                                                                                                                   CITATION

To:     COLGATE-PALMOLIVE COMPANY
        BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM                                                                      DC-21-12258
        1999 BRYAN STREET SUITE 900
        DALLAS TX 75201-3140
                                                                                                                                 NAOMI WISENER
GREETINGS:                                                                                                                               vs.
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                                    AMWAY CORP., et al
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
                                                                                                                                  ISSUED THIS
against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days            9th day of September, 2021
after you ﬁle your answer with the clerk. Find out more at TexasLawHelporg. Your answer should be
addressed to the clerk of the 14th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                 FELICIA PITRE
Said Plaintiff being NAOMI WISENER                                                                                             Clerk District Courts,
                                                                                                                               Dallas County, Texas
Filed in said Court lst day of September, 2021 against

AMWAY CORR, et a1                                                                                                          By:    GAY LANE, Deputy

For Suit, said suit being numbered DC—21-12258, the nature of which demand is as follows:                                      Attorney for Plaintiff
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If                      JENNIFER MONTEMAYOR
this citation is not served, it shall be returned unexecuted.                                                           1201   ELM STREET SUITE 3400
                                                                                                                               DALLAS TX 75270
WITNESS: FELICLA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                  214-276-7680
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.                                 jmontemayor@sgptrial.com

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                   DALLAS COUNTY
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                                  Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 104 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORP.,        et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                          Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 105 of 138




FORM NO. 353-3 - CITATION                                                                                                               ESERVE
THE STATE OF TEXAS
                                                                                                                                      CITATION

To: CONOPCO, INC. D/B/A UNILEVER HOME & PERSONAL CARE USA
    INDIVIDUALLY AND AS SUCCESSOR—IN—INTEREST TO ELIZABETH ARDEN, INC.                                                                DC-21-12258
    BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM
    1999 BRYAN STREET SUITE 900
    DALLAS TX 75201-3140                                                                                                            NAOMI WISENER
                                                                                                                                            vs.
GREETINGS:                                                                                                                         AMWAY CORP., et al
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of
twenty days after you were served this citation and petition, a default judgment may be taken against you. In addition               ISSUED THIS
to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other parties of this
                                                                                                                            9th day of September, 2021
suit. These disclosures generally must be made no later than 30 days aﬁer you ﬁle your answer with the clerk. Find
out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                    FELICIA PITRE
Said Plaintiff being NAOMI WISENER                                                                                                Clerk District Courts,
                                                                                                                                  Dallas County, Texas
Filed in said Court 1st day of September, 2021 against

AMWAY CORP., et al                                                                                                            By:    GAY LANE, Deputy
For Suit, said suit being numbered DC-21-12258, the nature of which demand is as follows:
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If this citation is              Attorney for Plaintiff
not served, it shall be returned unexecuted.
                                                                                                                            JENNIFER MONTEMAYOR
                                                                                                                           1201   ELM STREET SUITE 3400
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                     DALLAS TX 75270
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.                                          214-276-7680
                                                                                                                            jmontemayor@sgptrial.com
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas
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                                  Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 106 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORR,         et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                        Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 107 of 138




FORM NO. 353-3 - CITATION                                                                                                    ESERVE
THE STATE OF TEXAS
                                                                                                                           CITATION

To:     ELIZABETH ARDEN, INC., A DIVISION OF REVLON, INC.
       BY SERVING ITS REGISTERED AGENT CORPORATE CREATIONS                                                                 DC-21-12258
       NETWORK INC.
       5444 WESTHEIMER RD., SUITE 1000
       HOUSTON TX 77056-5318                                                                                             NAOMI WISENER
                                                                                                                                 vs.
GREETINGS:                                                                                                              AMWAY CORP., et al
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken               ISSUED THIS
against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial           9th day of September, 2021
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days
after you ﬁle your answer with the clerk. Find out more at TexasLawHelporg. Your answer should be
addressed to the clerk of the 14th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.                 FELICIA PITRE
                                                                                                                       Clerk District Courts,
Said Plaintiff being NAOMI WISENER                                                                                     Dallas County, Texas

Filed in said Court 1st day of September, 2021 against
                                                                                                                   By:    GAY LANE, Deputy
AMWAY CORR, et al
                                                                                                                       Attorney for Plaintiff
For Suit, said suit being numbered DC-21-12258, the nature of which demand is as follows:                        JENNIFER MONTEMAYOR
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If             1201   ELM STREET SUITE 3400
this citation is not served, it shall be returned unexecuted.                                                          DALLAS TX 75270
                                                                                                                       214-276-7680
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                    jmontemayor@sgptrial.com
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                           DALLAS COUNTY
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                                  Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 108 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORP.,        et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                          Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 109 of 138




FORM NO. 353-3 - CITATION                                                                                                                       ESERVE
THE STATE OF TEXAS
                                                                                                                                              CITATION

T0:    GLAXOSMITHKLINE LLC, INDIVIDUALLY AND AS SUCCESSOR—IN—INTEREST TO BLOCK DRUG
        CORPORTION, SUCCESSOR—IN—INTEREST T0 THE GOLD BOND STERILIZING POWDER                                                                 DC-21-12258
       COMPANY A/K/A THE GOLD BOND COMPANY
       BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY D/B/A CSC-
       LAWYERS INCORPORATING SERVICE COMPANY
       211 E. 7TH STREET, SUITE 620
                                                                                                                                            NAOMI WISENER
       AUSTIN, TX 78701
                                                                                                                                                    vs.
GREETINGS:                                                                                                                                 AMWAY CORP., et al
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the expiration of
twenty days after you were served this citation and petition, a default judgment may be taken against you. In addition
to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other parties of this
                                                                                                                                             ISSUED THIS
suit. These disclosures generally must be made no later than 30 days aﬁer you ﬁle your answer with the clerk. Find                  9th day of September, 2021
out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                            FELICIA PITRE
Said Plaintiff being NAOMI WISENER                                                                                                        Clerk District Courts,
                                                                                                                                          Dallas County, Texas
Filed in said Court 1st day of September, 2021 against

AMWAY CORP., et a1
                                                                                                                                      By:    GAY LANE, Deputy
For Suit, said suit being numbered DC-21-12258, the nature of which demand is as follows:
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If this citation is                      Attorney for Plaintiff
not served, it shall be returned unexecuted.                                                                                        JENNIFER MONTEMAYOR
                                                                                                                                   1201   ELM STREET SUITE 3400
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                             DALLAS TX 75270
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.                                                  214-276-7680
                                                                                                                                    jmontemayor@sgptrial.com
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas
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                                  Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 110 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORR,         et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                        Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 111 of 138




FORM NO. 353-3 - CITATION                                                                                                     ESERVE
THE STATE OF TEXAS
                                                                                                                            CITATION

To:     H-E-B, LP
        BY SERVING ABEL MARTINEZ                                                                                            DC-21-12258
        646 s FLORES STREET
        SAN ANTONIO TX 78204-1219
                                                                                                                          NAOMI WISENER
GREETINGS:                                                                                                                        vs.
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                             AMWAY CORP., et al
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial                     ISSUED THIS
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days     9th day of September, 2021
after you ﬁle your answer with the clerk. Find out more at TexasLawHelporg. Your answer should be
addressed to the clerk of the 14th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                          FELICIA PITRE
Said Plaintiff being NAOMI WISENER                                                                                      Clerk District Courts,
                                                                                                                        Dallas County, Texas
Filed in said Court 1st day of September, 2021 against

AMWAY CORR, et a1                                                                                                   By:    GAY LANE, Deputy
For Suit, said suit being numbered DC-21-12258, the nature of which demand is as follows:                               Attorney for Plaintiff
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If               JENNIFER MONTEMAYOR
this citation is not served, it shall be returned unexecuted.                                                    1201   ELM STREET SUITE 3400
                                                                                                                        DALLAS TX 75270
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                           214-276-7680
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.                          jmontemayor@sgptrial.com

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas
                                                                                                                        DALLAS COUNTY
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                                  Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 112 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORP.,        et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                        Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 113 of 138




FORM NO. 353-3 - CITATION                                                                                                              ESERVE
THE STATE OF TEXAS
                                                                                                                                     CITATION

To:     MERCK & C0., INC.
        BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM                                                                        DC-21-12258
        1999 BRYAN STREET SUITE 900
        DALLAS TX 75201-3140
                                                                                                                                   NAOMI WISENER
GREETINGS:                                                                                                                                 vs.
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                                      AMWAY CORP., et al
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
                                                                                                                                    ISSUED THIS
against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days              9th day of September, 2021
after you ﬁle your answer with the clerk. Find out more at TexasLawHelporg. Your answer should be
addressed to the clerk of the 14th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                   FELICIA PITRE
Said Plaintiff being NAOMI WISENER                                                                                               Clerk District Courts,
                                                                                                                                 Dallas County, Texas
Filed in said Court lst day of September, 2021 against

AMWAY CORR, et a1                                                                                                            By:    GAY LANE, Deputy

For Suit, said suit being numbered DC—21-12258, the nature of which demand is as follows:                                        Attorney for Plaintiff
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If                        JENNIFER MONTEMAYOR
this citation is not served, it shall be returned unexecuted.                                                             1201   ELM STREET SUITE 3400
                                                                                                                                 DALLAS TX 75270
WITNESS: FELICLA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                    214-276-7680
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.                                   jmontemayor@sgptrial.com

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                     DALLAS COUNTY
                                                                                                                                  SERVICE FEES
                                 Walla,                                                     ﬁmmm,
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                                  Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 114 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORP.,        et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                        Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 115 of 138




FORM NO. 353-3 - CITATION                                                                                                               ESERVE
THE STATE OF TEXAS
                                                                                                                                      CITATION

To:     PFIZER INC.
        BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM                                                                         DC-21-12258
        1999 BRYAN STREET SUITE 900
        DALLAS TX 75201-3140
                                                                                                                                    NAOMI WISENER
GREETINGS:                                                                                                                                  vs.
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                                       AMWAY CORP., et al
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
                                                                                                                                     ISSUED THIS
against you. In addition to ﬁling a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days               9th day of September, 2021
after you ﬁle your answer with the clerk. Find out more at TexasLawHelporg. Your answer should be
addressed to the clerk of the 14th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                    FELICIA PITRE
Said Plaintiff being NAOMI WISENER                                                                                                Clerk District Courts,
                                                                                                                                  Dallas County, Texas
Filed in said Court lst day of September, 2021 against

AMWAY CORR, et a1                                                                                                             By:    GAY LANE, Deputy

For Suit, said suit being numbered DC—21-12258, the nature of which demand is as follows:                                         Attorney for Plaintiff
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If                         JENNIFER MONTEMAYOR
this citation is not served, it shall be returned unexecuted.                                                              1201   ELM STREET SUITE 3400
                                                                                                                                  DALLAS TX 75270
WITNESS: FELICLA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                     214-276-7680
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.                                    jmontemayor@sgptrial.com

ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                      DALLAS COUNTY
                                                                                                                                   SERVICE FEES
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                          By         I
                                                                       ,Deputy
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                                  Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 116 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORP.,        et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                             Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 117 of 138




FORM NO. 353-3 - CITATION                                                                                                                          ESERVE
THE STATE OF TEXAS
                                                                                                                                                 CITATION

T0:    SANOFI—AVENTIS U.S. LLC, INDIVIDUALLY AND AS SUCCESSOR BY MERGER TO
       AVENTIS PHARMACEUTICALS INC.                                                                                                              DC-21-12258
       BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY D/B/A CSC-
       LAWYERS INCORPORATING SERVICE COMPANY
       211 E. 7TH STREET, SUITE 620
       AUSTIN, TX 78701                                                                                                                        NAOMI WISENER
GREETINGS:                                                                                                                                             vs.
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written                                                  AMWAY CORP., et al
answer with the clerk who issued this citation by 10 O'clock am. of the Monday next following the expiration of twenty days aﬁer
you were served this citation and petition, a default judgment may be taken against you. In addition to ﬁling a written answer with
the clerk, you may be required to make initial disclosures to the other parties of this suit These disclosures generally must be
made no later than 30 days after you ﬁle your answer with the clerk. Find out more at TexasLawHelp.org. Your answer Should                      ISSUED THIS
be addressed to the clerk of the 14th District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.                            9th day of September, 2021
Said Plaintiff being NAOMI WISENER

Filed in said Court lst day of September, 2021 against                                                                                         FELICIA PITRE
                                                                                                                                             Clerk District Courts,
AMWAY CORR, et a1                                                                                                                            Dallas County, Texas
For Suit, said suit being numbered DC-21-12258, the nature of which demand is as follows:
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy ofwhich accompanies this citation. If this citation is not served,
it shall be returned unexecuted.                                                                                                         By:    GAY LANE, Deputy
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.                                                     Attorney for Plaintiff
                                                                                                                                       JENNIFER MONTEMAYOR
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                          1201   ELM STREET SUITE 3400
                                                                                                                                             DALLAS TX 75270

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                                     GAY LANE
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                                                                                                                                         SERVICE FEE:
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                                  Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 118 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORR,         et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      CountYa

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                          Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 119 of 138




FORM NO. 353-3 - CITATION                                                                                                               ESERVE
THE STATE OF TEXAS
                                                                                                                                      CITATION

To: SPECIALTY MINERALS INC, INDIVIDUALLY AND AS A SUBSIDIARY
    OF MINERALS TECHNOLOGIES INC.                                                                                                     DC-21-12258
    BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM
    1999 BRYAN STREET SUITE 900
    DALLAS TX 75201-3140                                                                                                            NAOMI WISENER
                                                                                                                                            vs.
GREETINGS:                                                                                                                         AMWAY CORP., et al
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of
twenty days after you were served this citation and petition, a default judgment may be taken against you. In addition               ISSUED THIS
to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other parties of this
                                                                                                                            9th day of September, 2021
suit. These disclosures generally must be made no later than 30 days aﬁer you ﬁle your answer with the clerk. Find
out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                    FELICIA PITRE
Said Plaintiff being NAOMI WISENER                                                                                                Clerk District Courts,
                                                                                                                                  Dallas County, Texas
Filed in said Court 1st day of September, 2021 against

AMWAY CORP., et al                                                                                                            By:    GAY LANE, Deputy
For Suit, said suit being numbered DC-21-12258, the nature of which demand is as follows:
Suit on OTHER (CIVIL) etc. as shown on said petition, a copy of which accompanies this citation. If this citation is              Attorney for Plaintiff
not served, it shall be returned unexecuted.
                                                                                                                            JENNIFER MONTEMAYOR
                                                                                                                           1201   ELM STREET SUITE 3400
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                     DALLAS TX 75270
Given under my hand and the Seal of said Court at ofﬁce this 9th day of September, 2021.                                          214-276-7680
                                                                                                                            jmontemayor@sgptrial.com
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas
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                                  Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 120 of 138




                                                                              OFFICER'S RETURN
Case No.   :   DC-21-12258

Court No. 14th District Court

Style: NAOMI WISENER
vs.

AMWAY CORR,         et   a1


Came to hand on the                              day of                       ,   20             ,   at                 o'clock        .M. Executed at

within the County of                                          at                  o'clock                 .M. on the                  day of

20                       ,   by delivering to the within named



each in person, a true copy       of this Citation together with the accompanying copy of this pleading, having ﬁrst endorsed on same           date   of delivery. The distance actually traveled by
me in serving such process was                    miles and my fees are as follows: To certify which witness my hand.

                                    For serving Citation           $

                                    For mileage                    $                                      of                      County,

                                    For Notary                     $                                      By                                                   Deputy

                                                                       (Must be veriﬁed     if served outside the State of Texas.)
Signed and sworn to by the said                                           before me this                       day of                       ,   20

to certify which witness my hand and seal         of ofﬁce.


                                                                                                          Notary Public                                       County
                                    Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 121 of 138


FORM NO. 3534 CITATION                                                                                                              ESERVE (SOS)
THE STATE OF TEXAS
To:     BAYER CONSUMER CARE HOLDINGS LLC F/K/A BAYER CONSUMER CARE LLC                                                                               CITATION
        F/K/A MSD CONSUMER CARE INC.
        BY SERVING THE SECRETARY OF STATE
        OFFICE OF THE SECRETARY OF STATE                                                                                                         No.: DC-21-12258
        CITATIONS UNIT - P.O. BOX 12079                                                                                                          NAOMI WISENER
        AUSTIN, TX, 78711                                                                                                                                   VS.
                                                                                                                                                AMWAY CORP., et al
GREETINGS:
You have been sued. You may employ an attorney. If you or your attomey do not ﬁle a written answer with the clerk
who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of twenty days after you were
served this citation and ORIGINAL petition, a default judgment may be taken against you.
                                                                                                                                                  ISSUED
 In addition to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other                       ON THIS THE 9TH DAY OF
 parties of this suit. These disclosures generally must be made no later than 30 days after you ﬁle your answer with
                                                                                                                                                SEPTEMBER, 2021
 the clerk. Find out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District
 Court at 600 Commerce Street, Dallas Texas, 75202.                                                                                FELICIA PITRE
  Said PLAINTIFF being NAOMI WISENER                                                                                               Clerk District Courts,
                                                                                                                                   Dallas County, Texas
 Filed in said Court on the 1st day of September, 2021 against
                                                                                                                                    By GAY LANE, Deputy
 AMWAY CORR, ET AL
                                                                                                                                                Attorney for : Plaintiff
 For suit, said suit being numbered DC-21-12258 the nature of which demand is as follows:                                                       JENNIFER MONTEMAYOR
 Suit On OTHER (CIVIL) etc.
                                                                                                                                         1201   ELM STREET SUITE 3400
as shown on said petition a copy of which accompanies this citation. If this citation is not served, it shall be returned
                                                                                                                                                DALLAS TX 75270
                                                                                                                                                    214-276-7680
unexecuted.
                                                                                                                                            jmontemayor@sgptrial.com
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                 ﬁwm-m
 Given under my hand and the Seal of said Court at ofﬁce on this the 9th day of September, 2021                                             DALLAS COUNTY
ATTEST: FELICIA PlTRE Clerk of the District Courts of Dallas, County, Texas                                g”gsfglju-iﬁga
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                                               GAY LANE                                                                 WI
                                      Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 122 of 138



                                                                             OFFICER'S RETURN
                                                                             FOR INDIVIDUALS
Cause N0. DC—21-12258
Court No: 14th District Court

Style: NAOMI WISENER
vs.
AMWAY CORR, et al

Received this Citation the               day of                     ,   20   at                  o'clock. Executed at                       within the County of
                                                                                                                                             ,
                                                   , State     of            , on the                  day of                     , 2O      , at        o'clock, by
delivering to the Within named                                                                each in person, a copy of this Citation together with the accompanying copy of
Plaintiffs original petition, having ﬁrst indorsed on same the date of delivery.
                                                                                            000000
                                                                              OFFICER'S RETURN
                                                                             FOR CORPORATIONS
Received this Citation the               day of                     ,   20   at                  o'clock   _.M.   Executed at                     ,   within the County of
                                                   ,   State   of                       ,   on the              day of                   ,   20       , at           o'clock   _       .M.
by summoning the within named Corporation,
                                                                                                            President - Vice President - Registered Agent - in person, of the said

        a true copy   of this citation together with the accompanying copy of Plaintiffs original petition, having first indorsed on same the date of delivery.
                                                                                       000000
The distance actually traveled by me in serving such process was                   miles and my fees are as follows:         To certify which witness by my hand.
For Serving Citation     $                               Sheriff
For Mileage              $                               County of
For Notary               $                               State of
         Total Fees      $                               By
(Must be veriﬁed if served outside the State of Texas)
State of
County of
         Signed and sworn to me by the said                                         before me this                  day of                                        ,   20       ,   to certify
which witness my hand and seal of ofﬁce.

                                                    Seal                                                                            State & County of
                                    Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 123 of 138


FORM NO. 3534 CITATION                                                                                                             ESERVE (SOS)
THE STATE OF TEXAS
To:     GSK CONSUMER HEALTH, INC. F/K/A NOVARTIS CONSUMER HEALTH, INC.                                                                              CITATION
        F/K/A CIBA SELF-MEDICATION, INC.
        BY SERVING THE SECRETARY OF STATE
        OFFICE OF THE SECRETARY OF STATE                                                                                                        No.: DC-21-12258
        CITATIONS UNIT - P.O. BOX 12079                                                                                                         NAOMI WISENER
        AUSTIN, TX, 78711                                                                                                                                  VS.
                                                                                                                                               AMWAY CORP., et al
GREETINGS:
You have been sued. You may employ an attorney. If you or your attomey do not ﬁle a written answer with the clerk
who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of twenty days after you were
served this citation and ORIGINAL petition, a default judgment may be taken against you.
                                                                                                                                                 ISSUED
 In addition to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other                      ON THIS THE 9TH DAY OF
 parties of this suit. These disclosures generally must be made no later than 30 days after you ﬁle your answer with
                                                                                                                                               SEPTEMBER, 2021
 the clerk. Find out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District
 Court at 600 Commerce Street, Dallas Texas, 75202.                                                                               FELICIA PITRE
  Said PLAINTIFF being NAOMI WISENER                                                                                              Clerk District Courts,
                                                                                                                                  Dallas County, Texas
 Filed in said Court on the 1st day of September, 2021 against
                                                                                                                                   By GAY LANE, Deputy
 AMWAY CORP., ET AL
                                                                                                                                               Attorney for : Plaintiff
 For suit, said suit being numbered DC-21-12258 the nature of which demand is as follows:                                                      JENNIFER MONTEMAYOR
 Suit On OTHER (CIVIL) etc.
                                                                                                                                        1201   ELM STREET SUITE 3400
as shown on said petition a copy of which accompanies this citation. If this citation is not served, it shall be returned
                                                                                                                                               DALLAS TX 75270
                                                                                                                                                   214-276-7680
unexecuted.
                                                                                                                                           jmontemayor@sgptrial.com

WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                 wﬁﬂr
 Given under my hand and the Seal of            at ofﬁce on this the 9th day of September, 2021                                            DALLAS COUNTY
                                     said Court
ATTEST: FELICIA PlTRE Clerk of the District Courts of Dallas, County, Texas                                   ‘ {3%
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                         By        5525M                                ,   Deputy
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                                               GAY LANE                                                       “Wm...“
                                      Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 124 of 138



                                                                             OFFICER'S RETURN
                                                                             FOR INDIVIDUALS
Cause N0. DC—21-12258
Court No: 14th District Court

Style: NAOMI WISENER
vs.
AMWAY CORR, et al

Received this Citation the               day of                     ,   20   at                  o'clock. Executed at                       within the County of
                                                                                                                                             ,
                                                   , State     of            , on the                  day of                     , 2O      , at        o'clock, by
delivering to the Within named                                                                each in person, a copy of this Citation together with the accompanying copy of
Plaintiffs original petition, having ﬁrst indorsed on same the date of delivery.
                                                                                            000000
                                                                              OFFICER'S RETURN
                                                                             FOR CORPORATIONS
Received this Citation the               day of                     ,   20   at                  o'clock   _.M.   Executed at                     ,   within the County of
                                                   ,   State   of                       ,   on the              day of                   ,   20       , at           o'clock   _       .M.
by summoning the within named Corporation,
                                                                                                            President - Vice President - Registered Agent - in person, of the said

        a true copy   of this citation together with the accompanying copy of Plaintiffs original petition, having first indorsed on same the date of delivery.
                                                                                       000000
The distance actually traveled by me in serving such process was                   miles and my fees are as follows:         To certify which witness by my hand.
For Serving Citation     $                               Sheriff
For Mileage              $                               County of
For Notary               $                               State of
         Total Fees      $                               By
(Must be veriﬁed if served outside the State of Texas)
State of
County of
         Signed and sworn to me by the said                                         before me this                  day of                                        ,   20       ,   to certify
which witness my hand and seal of ofﬁce.

                                                    Seal                                                                            State & County of
                                    Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 125 of 138


FORM NO. 3534 CITATION                                                                                                          ESERVE (SOS)
THE STATE OF TEXAS
To:     HIMMEL MANAGEMENT CO. LLC A/K/A HIMNIEL GROUP FORMERLY D//B/A                                                                            CITATION
        MARTIN HIMMEL, INC. INDIVIDUALLY AND AS SUCCESSOR—IN—INTEREST TO
        BLOCK DRUG CORPORATION, SUCCESSOR—IN—INTEREST TO THE
        GOLD BOND STERILIZING POWDER COMPANY A/K/A THE GOLD BOND COMPANY                                                                     No.: DC-21-12258
        BY SERVING THE SECRETARY OF STATE                                                                                                    NAOMI WISENER
        OFFICE OF THE SECRETARY OF STATE                                                                                                                VS.
        CITATIONS UNIT - P.O. BOX 12079                                                                                                     AMWAY CORP., et al
        AUSTIN, TX, 78711
GREETINGS:
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written answer with the clerk                            ISSUED
who issued this citation by 10 o‘clock a.m. of the Monday next following the expiration of twenty days after you were                 ON THIS THE 9TH DAY OF
served this citation and ORIGINAL petition, a default judgment may be taken against you.                                                    SEPTEMBER, 2021
 In addition to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other
 parties of this suit. These disclosures generally must be made no later than 30 days after you ﬁle your answer with
                                                                                                                               FELICIA PITRE
 the clerk. Find out more at TexasLawHelporg. Your answer should be addressed to the clerk of the 14th District
                                                                                                                               Clerk District Courts,
 Court at 600 Commerce Street, Dallas Texas, 75202.                                                                            Dallas County, Texas
  Said PLAINTIFF being NAOMI WISENER
                                                                                                                                By GAY LANE, Deputy
 Filed in said Court on the 1st day of September, 2021 against
                                                                                                                                            Attorney for : Plaintiff
 AMWAY CORP., ET AL                                                                                                                         JENNIFER MONTEMAYOR
                                                                                                                                     1201   ELM STREET SUITE 3400
 For suit, said suit being numbered DC-21-12258 the nature of which demand is as follows:
                                                                                                                                            DALLAS TX 75270
                                                                                                                                                214-276-7680
 Suit On OTHER (CIVIL) etc.
as shown on said petition a copy of which accompanies this citation. If this citation is not served, it shall be returned               jmontemayor@sgptrial.com
unexecuted.
                                                                                                                                        DALLAS COUNTY
WITNESS: FELICLA PITRE, Clerk of the District Courts of Dallas, County Texas.                                     MINI":
 Given under my hand and the Seal of said Court at ofﬁce on this the 9th day of September, 2021                                          SERVICE FEES
ATTEST: FELICIA PITRE Clerk of the _Distric_t Courts of Dallas, County, Texas                               gsgl.“ll£?::%
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                         By        Wm,GAY LANE                          ,   Deputy
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                                         Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 126 of 138




                                                                                OFFICER'S RETURN
                                                                                FOR INDIVIDUALS
Cause N0. DC—21—12258
Court No: 14th District Court

Style: NAOMI WISENER
vs.
AMWAY CORR, et a1

Received this Citation the                  day of                     ,   20   at                  o'clock. Executed at                      , within the County of
                                                      ,   State   of            , on the                  day of                      , 20      , at        o'clock, by
delivering to the Within named                                                                   each in person, a copy of this Citation together with the accompanying copy of
Plaintiffs original petition, having ﬁrst indorsed on same the date of delivery.
                                                                                               000000
                                                                                 OFFICER'S RETURN
                                                                                FOR CORPORATIONS
Received this Citation the                  day of                     ,   20   at                  o'clock   _.M.   Executed at                     ,   Within the County of
                                                      ,   State   of                       ,   on the            day of                     ,   20       , at           o'clock   _       .M.
by summoning the within named Corporation,
                                                                                                               President - Vice President - Registered Agent - in person, of the said

           a true copy   of this citation together with the accompanying copy of Plaintiffs original petition, having ﬁrst indorsed on same the date of delivery.
                                                                                         000000
The distance actually traveled by me in serving such process was                     miles and my fees are as follows:          To certify which witness by my hand.
For Serving Citation     $                               Sheriff
For Mileage              $                               County of
For Notary               $                               State of
        Total Fees       $                               By
(Must be veriﬁed if served outside the State of Texas)
State of
County of
       Signed and sworn to me by the said                                             before me this                   day of                                        ,   20       ,   to certify
which witness my hand and seal of ofﬁce.

                                                      Seal                                                                             State & County of
                                    Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 127 of 138


FORM NO. 3534 CITATION                                                                                                                ESERVE (SOS)
THE STATE OF TEXAS
To:     L’OREAL USA, INC.                                                                                                                             CITATION
        BY SERVING THE SECRETARY OF STATE
        OFFICE OF THE SECRETARY OF STATE
        CITATIONS UNIT - P.O. BOX 12079                                                                                           I
                                                                                                                                                  No.: DC-21—12258
        AUSTIN, TX, 78711                                                                                                                         NAOMI WISENER
                                                                                                                                                           VS.
GREETINGS     :                                                                                                                                  AMWAY CORP., et al
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written answer with the clerk
who issued this citation by 10 o‘clock a.n1. of the Monday next following the expiration of twenty days after you were
served this citation and ORIGINAL petition, a default judgment may be taken against you.
 In addition to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other                               ISSUED
                                                                                                                                          ON THIS THE 9TH DAY OF
 parties of this suit. These disclosures generally must be made no later than 30 days after you ﬁle your answer With
 the clerk. Find out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District
                                                                                                                                                 SEPTEMBER, 2021
 Court at 600 Commerce Street, Dallas Texas, 75202.
  Said PLAINTIFF being NAOMI WISENER                                                                                              FELICIA PITRE
                                                                                                                                  Clerk District Courts,
 Filed in said Court on the 1st day of September, 2021 against                                                                    Dallas County, Texas


 AMWAY CORP., ET AL                                                                                                                   By GAY LANE, Deputy

 For suit, said suit being numbered DC-21-12258 the nature of which demand is as follows:                                                        Attorney for : Plaintiff
 Suit On OTHER (CIVIL) etc.
                                                                                                                                                 JENNIFER MONTEMAYOR
as shown on said petition a copy of which accompanies this citation. If this citation is not served, it shall be returned
                                                                                                                                          1201   ELM STREET SUITE 3400
unexecuted.
                                                                                                                                                 DALLAS TX 75270
                                                                                                                                                     214-276-7680
WITNESS: FELICLA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                               jmontemayor@sgptrial.com
 Given under my hand and the Seal of said Court at ofﬁce on this the 9th day of September, 2021                \wiwmmim
ATTEST: FELICLA PlTRE Clerk of the _Distric_t Courts of Dallas, County, Texas                               g“ {puffs}
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                         By        Wm  I



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                                      Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 128 of 138



                                                                             OFFICER'S RETURN
                                                                             FOR INDIVIDUALS
Cause N0. DC—21-12258
Court No: 14th District Court

Style: NAOMI WISENER
vs.
AMWAY CORR, et al

Received this Citation the               day of                     ,   20   at                  o'clock. Executed at                       within the County of
                                                                                                                                             ,
                                                   , State     of            , on the                  day of                     , 2O      , at        o'clock, by
delivering to the Within named                                                                each in person, a copy of this Citation together with the accompanying copy of
Plaintiffs original petition, having ﬁrst indorsed on same the date of delivery.
                                                                                            000000
                                                                              OFFICER'S RETURN
                                                                             FOR CORPORATIONS
Received this Citation the               day of                     ,   20   at                  o'clock   _.M.   Executed at                     ,   within the County of
                                                   ,   State   of                       ,   on the              day of                   ,   20       , at           o'clock   _       .M.
by summoning the within named Corporation,
                                                                                                            President - Vice President - Registered Agent - in person, of the said

        a true copy   of this citation together with the accompanying copy of Plaintiffs original petition, having first indorsed on same the date of delivery.
                                                                                       000000
The distance actually traveled by me in serving such process was                   miles and my fees are as follows:         To certify which witness by my hand.
For Serving Citation     $                               Sheriff
For Mileage              $                               County of
For Notary               $                               State of
         Total Fees      $                               By
(Must be veriﬁed if served outside the State of Texas)
State of
County of
         Signed and sworn to me by the said                                         before me this                  day of                                        ,   20       ,   to certify
which witness my hand and seal of ofﬁce.

                                                    Seal                                                                            State & County of
                                    Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 129 of 138


FORM NO. 3534 CITATION                                                                                                                     ESERVE (SOS)
THE STATE OF TEXAS
To:     MAYBELLINE LLC                                                                                                                                     CITATION
        BY SERVING THE SECRETARY OF STATE
        OFFICE OF THE SECRETARY OF STATE
        CITATIONS UNIT - P.O. BOX 12079                                                                                                I
                                                                                                                                                       No.: DC-21—12258
        AUSTIN, TX, 78711                                                                                                                              NAOMI WISENER
                                                                                                                                                                VS.
GREETINGS     :                                                                                                                                       AMWAY CORP., et al
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written answer with the clerk
who issued this citation by 10 o‘clock a.n1. of the Monday next following the expiration of twenty days after you were
served this citation and ORIGINAL petition, a default judgment may be taken against you.
 In addition to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other                                    ISSUED
                                                                                                                                               ON THIS THE 9TH DAY OF
 parties of this suit. These disclosures generally must be made no later than 30 days after you ﬁle your answer With
 the clerk. Find out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District
                                                                                                                                                      SEPTEMBER, 2021
 Court at 600 Commerce Street, Dallas Texas, 75202.
  Said PLAINTIFF being NAOMI WISENER                                                                                                   FELICIA PITRE
                                                                                                                                       Clerk District Courts,
 Filed in said Court on the 1st day of September, 2021 against                                                                         Dallas County, Texas


 AMWAY CORP., ET AL                                                                                                                        By GAY LANE, Deputy

 For suit, said suit being numbered DC-21-12258 the nature of which demand is as follows:                                                             Attorney for : Plaintiff
 Suit On OTHER (CIVIL) etc.
                                                                                                                                                      JENNIFER MONTEMAYOR
as shown on said petition a copy of which accompanies this citation. If this citation is not served, it shall be returned
                                                                                                                                               1201   ELM STREET SUITE 3400
unexecuted.
                                                                                                                                                      DALLAS TX 75270
                                                                                                                                                          214-276-7680
WITNESS: FELICLA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                                    jmontemayor@sgptrial.com
                                                                                                               \wmum-m
 Given under my hand and the Seal of said Court at ofﬁce on this the 9th day of September, 2021
                                                                                                                               '



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ATTEST: FELICLA PlTRE Clerk of the _Distric_t Courts of Dallas, County, Texas                              f5“
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                         By            I                                ,   Deputy
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                                               GAY LANE                                                              ﬂunnn!‘                        HOT PAID
                                      Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 130 of 138



                                                                             OFFICER'S RETURN
                                                                             FOR INDIVIDUALS
Cause N0. DC—21-12258
Court No: 14th District Court

Style: NAOMI WISENER
vs.
AMWAY CORR, et al

Received this Citation the               day of                     ,   20   at                  o'clock. Executed at                       within the County of
                                                                                                                                             ,
                                                   , State     of            , on the                  day of                     , 2O      , at        o'clock, by
delivering to the Within named                                                                each in person, a copy of this Citation together with the accompanying copy of
Plaintiffs original petition, having ﬁrst indorsed on same the date of delivery.
                                                                                            000000
                                                                              OFFICER'S RETURN
                                                                             FOR CORPORATIONS
Received this Citation the               day of                     ,   20   at                  o'clock   _.M.   Executed at                     ,   within the County of
                                                   ,   State   of                       ,   on the              day of                   ,   20       , at           o'clock   _       .M.
by summoning the within named Corporation,
                                                                                                            President - Vice President - Registered Agent - in person, of the said

        a true copy   of this citation together with the accompanying copy of Plaintiffs original petition, having first indorsed on same the date of delivery.
                                                                                       000000
The distance actually traveled by me in serving such process was                   miles and my fees are as follows:         To certify which witness by my hand.
For Serving Citation     $                               Sheriff
For Mileage              $                               County of
For Notary               $                               State of
         Total Fees      $                               By
(Must be veriﬁed if served outside the State of Texas)
State of
County of
         Signed and sworn to me by the said                                         before me this                  day of                                        ,   20       ,   to certify
which witness my hand and seal of ofﬁce.

                                                    Seal                                                                            State & County of
                                    Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 131 of 138


FORM NO. 3534 CITATION                                                                                                                   ESERVE (SOS)
THE STATE OF TEXAS
To:       BLOCK DRUG CORPORATION, INDIVIDUALLY AND AS SUCCESSOR—IN—INTEREST                                                                                  CITATION
          TO THE GOLD BOND STERILIZING POWDER COMPANY A/K/A
          THE GOLD BOND COMPANY
          BY SERVING THE SECRETARY 0E STATE                                                                                                           N0; DC_21_12258
          OFFICE OF THE SECRETARY OF STATE                                                                                                            NAOMI
          CITATIONS UNIT - P.O. BOX 12079
                                                                                                                                                                 XISENER
          AUSTIN’ TX’ 78711                                                                                                                          AMWAY CORR, et a1
GREETINGS:
You have been sued. You may employ an attorney. If you or your attomey do not ﬁle a written answer with the clerk
who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of twenty days after you were                                         ISSUED
served this citation and ORIGINAL petition, a default judgment may be taken against you.                                                       0N THIS THE 9TH DAY 0F
 In addition to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other                                SEPTEMBER, 2021
 parties of this suit. These disclosures generally must be made no later than 30 days after you ﬁle your answer with
 the clerk. Find out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District
 Court at 600 Commerce Street, Dallas Texas, 75202.                                                                                     FELICIA PITRE
                                                                                                                                        Clerk District Courts,
  Sald PLAINTIFF being NAOMI WISENER
      _


                                                                                                                                        Dallas County, Texas

 Filed in said Court on the 1st day of September, 2021 against                                                                           By GAY LANE, Deputy
 AMWAY CORP., ET AL                                                                                                                                  Attorney for : Plaintiff
                                                                                                                                                     JENNIFER MONTEMAYOR
 For suit, said suit being numbered DC-21-12258 the nature of which demand is as follows:                                                     1201   ELM STREET SUITE 3400
 Suit On OTHER (CIVIL) etc.                                                                                                                          DALLAS TX 75270
as shown on said petition a copy of which accompanies this citation. If this citation is not served, it shall be returned                                214-276-7680
unexecuted.                                                                                                                                      jmontemayor@sgptrial.com

WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
 Given under my hand and the Seal of said Court at ofﬁce on this the 9th day of September, 2021
                                                                                                               MMIIIIM:
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ATTEST: FELICIA PITRE Clerk of the District Courts of Dallas, County, Texas
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                         BY                                             ,   Deputy                          gyﬂfl'ﬁ'i'
                                                GAY LANE                                                       M.
                                      Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 132 of 138



                                                                             OFFICER'S RETURN
                                                                             FOR INDIVIDUALS
Cause N0. DC—21-12258
Court No: 14th District Court

Style: NAOMI WISENER
vs.
AMWAY CORR, et al

Received this Citation the               day of                     ,   20   at                  o'clock. Executed at                       within the County of
                                                                                                                                             ,
                                                   , State     of            , on the                  day of                     , 2O      , at        o'clock, by
delivering to the Within named                                                                each in person, a copy of this Citation together with the accompanying copy of
Plaintiffs original petition, having ﬁrst indorsed on same the date of delivery.
                                                                                            000000
                                                                              OFFICER'S RETURN
                                                                             FOR CORPORATIONS
Received this Citation the               day of                     ,   20   at                  o'clock   _.M.   Executed at                     ,   within the County of
                                                   ,   State   of                       ,   on the              day of                   ,   20       , at           o'clock   _       .M.
by summoning the within named Corporation,
                                                                                                            President - Vice President - Registered Agent - in person, of the said

        a true copy   of this citation together with the accompanying copy of Plaintiffs original petition, having first indorsed on same the date of delivery.
                                                                                       000000
The distance actually traveled by me in serving such process was                   miles and my fees are as follows:         To certify which witness by my hand.
For Serving Citation     $                               Sheriff
For Mileage              $                               County of
For Notary               $                               State of
         Total Fees      $                               By
(Must be veriﬁed if served outside the State of Texas)
State of
County of
         Signed and sworn to me by the said                                         before me this                  day of                                        ,   20       ,   to certify
which witness my hand and seal of ofﬁce.

                                                    Seal                                                                            State & County of
                                    Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 133 of 138


FORM NO. 3534 CITATION                                                                                                                   ESERVE (SOS)
THE STATE OF TEXAS
To:       BRENNTAG NORTH AMERICA, INC., INDIVIDUALLY AND AS SUCCESSOR—IN—INTEREST                                                                            CITATION
          TO MINERAL PIGMENT SOLUTIONS, INC. AND AS SUCCESSOR-IN-INTEREST
          TO WHITTAKER CLARK & DANIELS, INC.
          BY SERVING THE SECRETARY 0E STATE                                                                                                           N0; DC_21_12258
          OFFICE OF THE SECRETARY OF STATE                                                                                                            NAOMI
          CITATIONS UNIT - P.0. BOX 12079
                                                                                                                                                                 XISENER
          AUSTIN’ TX’ 78711                                                                                                                          AMWAY CORR, et a1
GREETINGS:
You have been sued. You may employ an attorney. If you or your attomey do not ﬁle a written answer with the clerk
who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of twenty days after you were                                         ISSUED
served this citation and ORIGINAL petition, a default judgment may be taken against you.                                                       0N THIS THE 9TH DAY 0F
 In addition to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other                                SEPTEMBER, 2021
 parties of this suit. These disclosures generally must be made no later than 30 days after you ﬁle your answer with
 the clerk. Find out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District
 Court at 600 Commerce Street, Dallas Texas, 75202.                                                                                     FELICIA PITRE
                                                                                                                                        Clerk District Courts,
  Sald PLAINTIFF being NAOMI WISENER
      _


                                                                                                                                        Dallas County, Texas

 Filed in said Court on the 1st day of September, 2021 against                                                                           By GAY LANE, Deputy
 AMWAY CORP., ET AL                                                                                                                                  Attorney for : Plaintiff
                                                                                                                                                     JENNIFER MONTEMAYOR
 For suit, said suit being numbered DC-21-12258 the nature of which demand is as follows:                                                     1201   ELM STREET SUITE 3400
 Suit On OTHER (CIVIL) etc.                                                                                                                          DALLAS TX 75270
as shown on said petition a copy of which accompanies this citation. If this citation is not served, it shall be returned                                214-276-7680
unexecuted.                                                                                                                                      jmontemayor@sgptrial.com

WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
 Given under my hand and the Seal of said Court at ofﬁce on this the 9th day of September, 2021
                                                                                                               MMIIIIM:
                                                                                                                                                 DALI-As COUNTY
ATTEST: FELICIA PITRE Clerk of the District Courts of Dallas, County, Texas
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                         BY                                             ,   Deputy                          gyﬂfl'ﬁ'i'
                                                GAY LANE                                                       M.
                                      Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 134 of 138



                                                                             OFFICER'S RETURN
                                                                             FOR INDIVIDUALS
Cause N0. DC—21-12258
Court No: 14th District Court

Style: NAOMI WISENER
vs.
AMWAY CORR, et al

Received this Citation the               day of                     ,   20   at                  o'clock. Executed at                       within the County of
                                                                                                                                             ,
                                                   , State     of            , on the                  day of                     , 2O      , at        o'clock, by
delivering to the Within named                                                                each in person, a copy of this Citation together with the accompanying copy of
Plaintiffs original petition, having ﬁrst indorsed on same the date of delivery.
                                                                                            000000
                                                                              OFFICER'S RETURN
                                                                             FOR CORPORATIONS
Received this Citation the               day of                     ,   20   at                  o'clock   _.M.   Executed at                     ,   within the County of
                                                   ,   State   of                       ,   on the              day of                   ,   20       , at           o'clock   _       .M.
by summoning the within named Corporation,
                                                                                                            President - Vice President - Registered Agent - in person, of the said

        a true copy   of this citation together with the accompanying copy of Plaintiffs original petition, having first indorsed on same the date of delivery.
                                                                                       000000
The distance actually traveled by me in serving such process was                   miles and my fees are as follows:         To certify which witness by my hand.
For Serving Citation     $                               Sheriff
For Mileage              $                               County of
For Notary               $                               State of
         Total Fees      $                               By
(Must be veriﬁed if served outside the State of Texas)
State of
County of
         Signed and sworn to me by the said                                         before me this                  day of                                        ,   20       ,   to certify
which witness my hand and seal of ofﬁce.

                                                    Seal                                                                            State & County of
                                    Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 135 of 138


FORM NO. 3534 CITATION                                                                                                                ESERVE (SOS)
THE STATE OF TEXAS
To:     CHARLES B. CHRYSTAL COMPANY, INC.                                                                                                              CITATION
        BY SERVING THE SECRETARY OF STATE
        OFFICE OF THE SECRETARY OF STATE
        CITATIONS UNIT - P.O. BOX 12079                                                                                                            No.: DC-21-12258
        AUSTIN, TX, 78711                                                                                                                          NAOMI WISENER
                                                                                                                                                              VS.
GREETINGS:                                                                                                                                        AMWAY CORP., et al
You have been sued. You may employ an attorney. If you or your attomey do not ﬁle a written answer with the clerk
who issued this citation by 10 o‘clock a.m. of the Monday next following the expiration of twenty days after you were
served this citation and ORIGINAL petition, a default judgment may be taken against you.
 In addition to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other                                 ISSUED
 parties of this suit. These disclosures generally must be made no later than 30 days after you ﬁle your answer with                        ON THIS THE 9TH DAY OF
 the clerk. Find out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District                                  SEPTEMBER, 2021
 Court at 600 Commerce Street, Dallas Texas, 75202.
  Said PLAINTIFF being NAOMI WISENER                                                                                                 FELICIA PITRE
                                                                                                                                     Clerk District Courts,
 Filed in said Court on the 1st day of September, 2021 against                                                                       Dallas County, Texas

 AMWAY CORP., ET AL                                                                                                                   By GAY LANE, Deputy

 For suit, said suit being numbered DC-21-12258 the nature of which demand is as follows:                                                         Attorney for : Plaintiff
 Suit On OTHER (CIVIL) etc.                                                                                                                       JENNIFER MONTEMAYOR
as shown on said petition a copy of which accompanies this citation. If this citation is not served, it shall be returned                  1201   ELM STREET SUITE 3400
unexecuted.                                                                                                                                       DALLAS TX 75270
                                                                                                                                                      214-276-7680
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                 wﬁﬂr                            jmontemayor@sgptrial.com
 Given under my hand and the Seal of            at ofﬁce on this the 9th day of September, 2021
                                     said Court
ATTEST: FELICIA PITRE Clerk of the _D1strlc_t Courts of Dallas, County, Texas
                                                                                                            fiﬁl-‘ {3%  3’
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                         By            .                                ,   Deputy
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                                                                                                                                               SERVICE FEES
                                               GAY LANE                                                             n                            HOT PAID
                                      Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 136 of 138



                                                                             OFFICER'S RETURN
                                                                             FOR INDIVIDUALS
Cause N0. DC—21-12258
Court No: 14th District Court

Style: NAOMI WISENER
vs.
AMWAY CORR, et al

Received this Citation the               day of                     ,   20   at                  o'clock. Executed at                       within the County of
                                                                                                                                             ,
                                                   , State     of            , on the                  day of                     , 2O      , at        o'clock, by
delivering to the Within named                                                                each in person, a copy of this Citation together with the accompanying copy of
Plaintiffs original petition, having ﬁrst indorsed on same the date of delivery.
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                                                                              OFFICER'S RETURN
                                                                             FOR CORPORATIONS
Received this Citation the               day of                     ,   20   at                  o'clock   _.M.   Executed at                     ,   within the County of
                                                   ,   State   of                       ,   on the              day of                   ,   20       , at           o'clock   _       .M.
by summoning the within named Corporation,
                                                                                                            President - Vice President - Registered Agent - in person, of the said

        a true copy   of this citation together with the accompanying copy of Plaintiffs original petition, having first indorsed on same the date of delivery.
                                                                                       000000
The distance actually traveled by me in serving such process was                   miles and my fees are as follows:         To certify which witness by my hand.
For Serving Citation     $                               Sheriff
For Mileage              $                               County of
For Notary               $                               State of
         Total Fees      $                               By
(Must be veriﬁed if served outside the State of Texas)
State of
County of
         Signed and sworn to me by the said                                         before me this                  day of                                        ,   20       ,   to certify
which witness my hand and seal of ofﬁce.

                                                    Seal                                                                            State & County of
                                    Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 137 of 138


FORM NO. 3534 CITATION                                                                                                            ESERVE (SOS)
THE STATE OF TEXAS
To:     COSMETIC SPECIALTIES, INC., INDIVIDUALLY AND FORMERLY D/B/A G&G SPECIALTY                                                                  CITATION
        PRODUCTS C0.
        BY SERVING THE SECRETARY 0E STATE
        OFFICE 0E THE SECRETARY 0F STATE                                                                                                       No.: DC-21-12258
        CITATIONS UNIT - P.0. BOX 12079                                                                                                        NAOMI WISENER
        AUSTIN, TX, 78711                                                                                                                                 VS.
                                                                                                                                              AMWAY CORP., et al
GREETINGS:
You have been sued. You may employ an attorney. If you or your attomey do not ﬁle a written answer with the clerk
who issued this citation by 10 o‘clock a.m. of the Monday next following the expiration of twenty days after you were
served this citation and ORIGINAL petition, a default judgment may be taken against you.                                                        ISSUED
 In addition to ﬁling a written answer with the clerk, you may be required to make initial disclosures to the other                     ON THIS THE 9TH DAY OF
 parties of this suit. These disclosures generally must be made no later than 30 days after you ﬁle your answer with                          SEPTEMBER, 2021
 the clerk. Find out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 14th District
 Court at 600 Commerce Street, Dallas Texas, 75202.
                                                                                                                                 FELICIA PITRE
  Said PLAINTIFF being NAOMI WISENER                                                                                             Clerk District Courts,
                                                                                                                                 Dallas County, Texas
 Filed in said Court on the 1st day of September, 2021 against
                                                                                                                                  By GAY LANE, Deputy
 AMWAY CORP., ET AL
                                                                                                                                              Attorney for : Plaintiff
 For suit, said suit being numbered DC-21-12258 the nature of which demand is as follows:                                                     JENNIFER MONTEMAYOR
 Suit On OTHER (CIVIL) etc.                                                                                                            1201   ELM STREET SUITE 3400
as shown on said petition a copy of which accompanies this citation. If this citation is not served, it shall be returned                     DALLAS TX 75270
unexecuted.                                                                                                                                       214-276-7680
                                                                                                                                          jmontemayor@sgptrial.com
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                 ﬁwm-m
 Given under my hand and the Seal of said Court at ofﬁce on this the 9th day of September, 2021
                                                                                                                             '            DALLAS COUNTY
ATTEST: FELICIA PlTRE Clerk of the District Courts of Dallas, County, Texas                                g a! \
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                                                                                                                    v- In.

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                         By            I                                a   Deputy                         $€"-»   $3}
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                                                                                                             EQﬂ-m....-S‘                    HOT PAID
                                                   GAY LANE                                                   WWW”
                                      Case 4:22-cv-00243 Document 1-2 Filed on 10/29/21 in TXSD Page 138 of 138



                                                                             OFFICER'S RETURN
                                                                             FOR INDIVIDUALS
Cause N0. DC—21-12258
Court No: 14th District Court

Style: NAOMI WISENER
vs.
AMWAY CORR, et al

Received this Citation the               day of                     ,   20   at                  o'clock. Executed at                       within the County of
                                                                                                                                             ,
                                                   , State     of            , on the                  day of                     , 2O      , at        o'clock, by
delivering to the Within named                                                                each in person, a copy of this Citation together with the accompanying copy of
Plaintiffs original petition, having ﬁrst indorsed on same the date of delivery.
                                                                                            000000
                                                                              OFFICER'S RETURN
                                                                             FOR CORPORATIONS
Received this Citation the               day of                     ,   20   at                  o'clock   _.M.   Executed at                     ,   within the County of
                                                   ,   State   of                       ,   on the              day of                   ,   20       , at           o'clock   _       .M.
by summoning the within named Corporation,
                                                                                                            President - Vice President - Registered Agent - in person, of the said

        a true copy   of this citation together with the accompanying copy of Plaintiffs original petition, having first indorsed on same the date of delivery.
                                                                                       000000
The distance actually traveled by me in serving such process was                   miles and my fees are as follows:         To certify which witness by my hand.
For Serving Citation     $                               Sheriff
For Mileage              $                               County of
For Notary               $                               State of
         Total Fees      $                               By
(Must be veriﬁed if served outside the State of Texas)
State of
County of
         Signed and sworn to me by the said                                         before me this                  day of                                        ,   20       ,   to certify
which witness my hand and seal of ofﬁce.

                                                    Seal                                                                            State & County of
